      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 1 of 149


                                                            APPEAL,ERWIN,PRISONER,REOPEN,_BG
                                                                                      Email All Attys
                                                                Email All Attys and Secondary Emails
                               U.S. District Court
              Western District of Oklahoma[LIVE] (Oklahoma City)
                CIVIL DOCKET FOR CASE #: 5:14−cv−00665−F

Glossip et al v. Chandler et al                                 Date Filed: 06/25/2014
Assigned to: Honorable Stephen P. Friot                         Jury Demand: None
Case in other court: Tenth Circuit Court of Appeals, 14−06244   Nature of Suit: 550 Prisoner: Civil Rights
                     Tenth Circuit, 19−06002                    Jurisdiction: Federal Question
                     Tenth Circuit, 21−06101
                     Tenth Circuit, 21−06129
Cause: 28:1331 Fed. Question
Plaintiff
Charles F Warner                                represented by Dale A Baich
TERMINATED: 07/06/2020                                         Federal Public Defender−PHOENIX
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Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 3 of 149




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                                           88 Guy Place


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      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 4 of 149


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                                                  James K Stronski
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                                                  PRO HAC VICE
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                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
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                                                  Michael K Robles

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      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 5 of 149


                                                 (See above for address)
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                                                 ATTORNEY TO BE NOTICED

                                                 Patti P Ghezzi
                                                 (See above for address)
                                                 TERMINATED: 11/17/2020

                                                 Pilar R. Stillwater
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                                                 TERMINATED: 09/01/2021
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Plaintiff
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                                                 PRO HAC VICE

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                                                 Emma V Rolls
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                                                 ATTORNEY TO BE NOTICED

                                                 Harry P Cohen
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                                                 ATTORNEY TO BE NOTICED

                                                 James K Stronski
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      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 6 of 149


                                                  PRO HAC VICE
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                                                  Michael W Lieberman
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                                                  Michael K Robles
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                                                  PRO HAC VICE
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                                                  Patti P Ghezzi
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                                                  TERMINATED: 11/17/2020

                                                  Pilar R. Stillwater
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                                                  TERMINATED: 09/01/2021
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Plaintiff
Carlos Cuesta−Rodriguez              represented by Randy A Bauman
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                                                  Adam Singer
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                                                  Emma V Rolls
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                                                  Harry P Cohen
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                                                  James K Stronski
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                                                  Michael W Lieberman
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      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 7 of 149


                                                  Michael K Robles
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                                                  PRO HAC VICE
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                                                  Patti P Ghezzi
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                                                  Pilar R. Stillwater
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                                                  TERMINATED: 09/01/2021
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Plaintiff
Nicholas A Davis                     represented by Randy A Bauman
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                                                  Emma V Rolls
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                                                  Harry P Cohen
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                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
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                                                  PRO HAC VICE
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                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
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                                                  Michael K Robles
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                                                  Patti P Ghezzi
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      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 8 of 149




                                                  Pilar R. Stillwater
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                                                  TERMINATED: 09/01/2021
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Plaintiff
Richard S Fairchild                  represented by Randy A Bauman
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                                                  Emma V Rolls
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                                                  Harry P Cohen
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                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
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                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
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                                                  TERMINATED: 06/30/2021
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                                                  Michael K Robles
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                                                  Patti P Ghezzi
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                                                  TERMINATED: 11/17/2020

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff


                                                                              8
     Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 9 of 149


John M Grant                        represented by Dale A Baich
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                                                Randy A Bauman
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                                                TERMINATED: 06/08/2020
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                                                Robin C Konrad
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                                                TERMINATED: 03/09/2020
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                                                PRO HAC VICE

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                                                Emma V Rolls
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                                                Harry P Cohen
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                                                James K Stronski
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                                                Michael W Lieberman
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                                                Michael K Robles
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                                                Patti P Ghezzi
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                                                Pilar R. Stillwater
                                                (See above for address)


                                                                             9
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 10 of 149


                                                   TERMINATED: 09/01/2021
                                                   PRO HAC VICE

Plaintiff
Wendell A Grissom                     represented by Randy A Bauman
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                                                   Emma V Rolls
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                                                   James K Stronski
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                                                   Michael K Robles
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                                                   Patti P Ghezzi
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                                                   Pilar R. Stillwater
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Plaintiff
Marlon D Harmon                       represented by Randy A Bauman
                                                     (See above for address)
                                                     TERMINATED: 06/08/2020


                                                                               10
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 11 of 149


                                                   LEAD ATTORNEY

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                                                   Emma V Rolls
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Plaintiff
Raymond E Johnson                     represented by Randy A Bauman
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                                                                               11
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 12 of 149


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Plaintiff
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                                                                               12
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 13 of 149


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                                                   Patti P Ghezzi
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                                                   Pilar R. Stillwater
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Plaintiff
James D Pavatt                        represented by Randy A Bauman
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                                                   James K Stronski
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                                                   ATTORNEY TO BE NOTICED

                                                   Michael W Lieberman
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                                                   TERMINATED: 06/30/2021

                                                                               13
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 14 of 149


                                                   ATTORNEY TO BE NOTICED

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                                                   Patti P Ghezzi
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                                                   TERMINATED: 11/17/2020

                                                   Pilar R. Stillwater
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                                                   TERMINATED: 09/01/2021
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Plaintiff
Kendrick A Simpson                    represented by Randy A Bauman
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                                                     TERMINATED: 06/08/2020
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                                                   James K Stronski
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                                                   Michael W Lieberman
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                                                   TERMINATED: 06/30/2021
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                                                   Michael K Robles
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                                                   Patti P Ghezzi

                                                                               14
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 15 of 149


                                                   (See above for address)
                                                   TERMINATED: 11/17/2020

                                                   Pilar R. Stillwater
                                                   (See above for address)
                                                   TERMINATED: 09/01/2021
                                                   PRO HAC VICE

Plaintiff
Kevin R Underwood                     represented by Randy A Bauman
                                                     (See above for address)
                                                     TERMINATED: 06/08/2020
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                                                   Emma V Rolls
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                                                   Harry P Cohen
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                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   James K Stronski
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                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Michael W Lieberman
                                                   (See above for address)
                                                   TERMINATED: 06/30/2021
                                                   ATTORNEY TO BE NOTICED

                                                   Michael K Robles
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                                                   Patti P Ghezzi
                                                   (See above for address)
                                                   TERMINATED: 11/17/2020

                                                   Pilar R. Stillwater
                                                   (See above for address)
                                                   TERMINATED: 09/01/2021
                                                   PRO HAC VICE


                                                                               15
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 16 of 149



Plaintiff
Brenda E Andrew                       represented by Mark L Henricksen
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                                                    Emma V Rolls
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                                                    ATTORNEY TO BE NOTICED

                                                    Harry P Cohen
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                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    James K Stronski
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                                                    PRO HAC VICE
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                                                    Michael W Lieberman
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                                                    TERMINATED: 06/30/2021
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                                                    Michael K Robles
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                                                    PRO HAC VICE
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                                                    Patti P Ghezzi
                                                    (See above for address)
                                                    TERMINATED: 11/17/2020

                                                    Pilar R. Stillwater
                                                    (See above for address)
                                                    TERMINATED: 09/01/2021
                                                    PRO HAC VICE

Plaintiff


                                                                                           16
     Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 17 of 149


Richard E Glossip                    represented by Dale A Baich
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                 Mark L Henricksen
                                                 (See above for address)
                                                 TERMINATED: 09/18/2020
                                                 LEAD ATTORNEY

                                                 Robin C Konrad
                                                 (See above for address)
                                                 TERMINATED: 03/09/2020
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE

                                                 Adam Singer
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Emma V Rolls
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Harry P Cohen
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 James K Stronski
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Jennifer M Moreno
                                                 Office of the Federal Public Defender −
                                                 District of ARIZONA
                                                 850 W Adams St
                                                 Suite 201
                                                 Phoenix, AZ 85007
                                                 602−382−2700
                                                 Fax: 602−889−3960
                                                 Email: jennifer_moreno@fd.org
                                                 ATTORNEY TO BE NOTICED

                                                 Michael W Lieberman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Michael K Robles


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                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Patti P Ghezzi
                                                   (See above for address)
                                                   TERMINATED: 11/17/2020

                                                   Pilar R. Stillwater
                                                   (See above for address)
                                                   TERMINATED: 09/01/2021
                                                   PRO HAC VICE

Plaintiff
Shelton D Jackson                     represented by Mark L Henricksen
TERMINATED: 07/06/2020                               (See above for address)
                                                     TERMINATED: 09/18/2020
                                                     LEAD ATTORNEY

                                                   Adam Singer
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Emma V Rolls
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Harry P Cohen
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   James K Stronski
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Michael W Lieberman
                                                   (See above for address)
                                                   TERMINATED: 06/30/2021
                                                   ATTORNEY TO BE NOTICED

                                                   Michael K Robles
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Patti P Ghezzi
                                                   (See above for address)
                                                   TERMINATED: 11/17/2020


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                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Phillip D Hancock                     represented by David B Autry
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                  Adam Singer
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Alexander L Kursman
                                                  Federal Community Defender −
                                                  PHILADELPHIA
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                                                  Philadelphia, PA 19106
                                                  215−928−0520
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                                                  Email: alex_kursman@fd.org
                                                  ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Harry P Cohen
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Lanita Henricksen
                                                  (See above for address)
                                                  TERMINATED: 09/18/2020

                                                  Lynne Leonard
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      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 20 of 149


                                                    ATTORNEY TO BE NOTICED

                                                    Michael W Lieberman
                                                    (See above for address)
                                                    TERMINATED: 06/30/2021
                                                    ATTORNEY TO BE NOTICED

                                                    Michael K Robles
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Patti P Ghezzi
                                                    (See above for address)
                                                    TERMINATED: 11/17/2020

                                                    Pilar R. Stillwater
                                                    (See above for address)
                                                    TERMINATED: 09/01/2021
                                                    PRO HAC VICE

Plaintiff
Julius D Jones                        represented by Mark H Barrett
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                                                    Adam Singer
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                                                    Emma V Rolls
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Harry P Cohen
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    James K Stronski
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED


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                                                    Michael W Lieberman
                                                    (See above for address)
                                                    TERMINATED: 06/30/2021
                                                    ATTORNEY TO BE NOTICED

                                                    Michael K Robles
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Patti P Ghezzi
                                                    (See above for address)
                                                    TERMINATED: 11/17/2020

                                                    Pilar R. Stillwater
                                                    (See above for address)
                                                    TERMINATED: 09/01/2021
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Plaintiff
Alfred B Mitchell                     represented by Fred L Staggs
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                                                    Adam Singer
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                                                    Emma V Rolls
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Harry P Cohen
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    James K Stronski
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Michael W Lieberman
                                                    (See above for address)
                                                    TERMINATED: 06/30/2021
                                                    ATTORNEY TO BE NOTICED


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                                                  Michael K Robles
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Patti P Ghezzi
                                                  (See above for address)
                                                  TERMINATED: 11/17/2020

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Tremane Wood                          represented by Dale A Baich
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Robin C Konrad
                                                  (See above for address)
                                                  TERMINATED: 03/09/2020
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE

                                                  Adam Singer
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Harry P Cohen
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
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                                                  ATTORNEY TO BE NOTICED

                                                  Kelly L Culshaw
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                                                  850 W Adams St
                                                  Suite 201
                                                  Phoenix, AZ 85007
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                                                                                    22
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 23 of 149


                                                  Email: kelly_culshaw@fd.org
                                                  TERMINATED: 12/05/2014

                                                  Michael W Lieberman
                                                  (See above for address)
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                                                  Michael K Robles
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Patti P Ghezzi
                                                  (See above for address)
                                                  TERMINATED: 11/17/2020

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Wade Lay                              represented by James K Stronski
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

Plaintiff
Ronson Kyle Bush                      represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED


                                                                                23
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                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Donald Anthony Grant                  represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Scott Eizember                        represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)


                                                                               24
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 25 of 149


                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
John F Hanson                         represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Mica Alexander Martinez               represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED



                                                                               25
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 26 of 149


                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Ricky Ray Malone                      represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Jimmy Dean Harris                     represented by Adam Singer
TERMINATED: 06/30/2021                               (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021


                                                                               26
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 27 of 149


                                                  PRO HAC VICE

Plaintiff
Patrick Murphy                        represented by Adam Singer
TERMINATED: 05/10/2021                               (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Clarance Goode                        represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff


                                                                               27
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 28 of 149


Anthony Sanchez                       represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Emma V Rolls
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     James K Stronski
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Michael W Lieberman
                                                     (See above for address)
                                                     TERMINATED: 06/30/2021
                                                     ATTORNEY TO BE NOTICED

                                                     Pilar R. Stillwater
                                                     (See above for address)
                                                     TERMINATED: 09/01/2021
                                                     PRO HAC VICE

Plaintiff
Gilbert Ray Postelle                  represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Emma V Rolls
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     James K Stronski
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Michael W Lieberman
                                                     (See above for address)
                                                     TERMINATED: 06/30/2021
                                                     ATTORNEY TO BE NOTICED

                                                     Pilar R. Stillwater
                                                     (See above for address)
                                                     TERMINATED: 09/01/2021
                                                     PRO HAC VICE

Plaintiff
Michael Dewayne Smith                 represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE


                                                                               28
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 29 of 149


                                                  ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
James Ryder                           represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Richard Rojem                         represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls


                                                                               29
      Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 30 of 149


                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Jemaine Cannon                        represented by Adam Singer
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  James K Stronski
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Michael W Lieberman
                                                  (See above for address)
                                                  TERMINATED: 06/30/2021
                                                  ATTORNEY TO BE NOTICED

                                                  Pilar R. Stillwater
                                                  (See above for address)
                                                  TERMINATED: 09/01/2021
                                                  PRO HAC VICE

Plaintiff
Rhonda Kemp                           represented by James K Stronski
next friend for plaintiff Wade Lay                   (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Emma V Rolls
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED


                                                                               30
     Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 31 of 149




V.
Defendant
Kevin J Gross                        represented by Aaron J Stewart
Member of the Oklahoma Board of                     Attorney General's Ofc−NE
Corrections                                         21STREET−OKC
TERMINATED: 07/06/2020                              313 NE 21st St
                                                    Oklahoma City, OK 73105
                                                    405−521−3921
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                                                    Email: aj_stewart@okwd.uscourts.gov
                                                    TERMINATED: 03/09/2016

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                                                   Oklahoma City, OK 73105
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                                                   Fax: 405−521−4518
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                                                   TERMINATED: 03/03/2020

                                                   John D Hadden
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                                                   Oklahoma City, OK 73105
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                                                   TERMINATED: 02/04/2019


                                                                                          31
     Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 32 of 149


                                                  Mithun S Mansinghani
                                                  Attorney General's Ofc−NE
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                                                  Randall J Yates
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                                                  Email: zach.west@oag.ok.gov
                                                  ATTORNEY TO BE NOTICED

Defendant
Michael W Roach                      represented by Aaron J Stewart
Member of the Oklahoma Board of                     (See above for address)
Corrections                                         TERMINATED: 03/09/2016
TERMINATED: 07/06/2020
                                                  Andy N Ferguson
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Bryan G Cleveland
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Jeb E Joseph
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  John D Hadden
                                                  (See above for address)
                                                  TERMINATED: 02/04/2019

                                                  Mithun S Mansinghani
                                                  (See above for address)

                                                                                         32
     Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 33 of 149


                                                  ATTORNEY TO BE NOTICED

                                                  Randall J Yates
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Zachary P West
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Steve Burrage                        represented by Aaron J Stewart
TERMINATED: 08/11/2015                              (See above for address)
                                                    TERMINATED: 03/09/2016

                                                  Jeb E Joseph
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  John D Hadden
                                                  (See above for address)
                                                  TERMINATED: 02/04/2019

Defendant
Gene Haynes                          represented by Aaron J Stewart
Member of the Oklahoma Board of                     (See above for address)
Corrections                                         TERMINATED: 03/09/2016
TERMINATED: 07/06/2020
                                                  Andy N Ferguson
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Bryan G Cleveland
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Jeb E Joseph
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  John D Hadden
                                                  (See above for address)
                                                  TERMINATED: 02/04/2019

                                                  Mithun S Mansinghani
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Randall J Yates
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED


                                                                              33
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                                                  Zachary P West
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Frazier Henke                        represented by Aaron J Stewart
Member of the Oklahoma Board of                     (See above for address)
Corrections                                         TERMINATED: 03/09/2016
TERMINATED: 07/06/2020
                                                  Andy N Ferguson
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Bryan G Cleveland
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Jeb E Joseph
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  John D Hadden
                                                  (See above for address)
                                                  TERMINATED: 02/04/2019

                                                  Mithun S Mansinghani
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Randall J Yates
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Zachary P West
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Linda K Neal                         represented by Aaron J Stewart
TERMINATED: 08/11/2015                              (See above for address)
                                                    TERMINATED: 03/09/2016

                                                  Jeb E Joseph
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  John D Hadden
                                                  (See above for address)
                                                  TERMINATED: 02/04/2019



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Defendant
Earnest D Ware                           represented by Aaron J Stewart
TERMINATED: 08/11/2015                                  (See above for address)
                                                        TERMINATED: 03/09/2016

                                                      Jeb E Joseph
                                                      (See above for address)
                                                      TERMINATED: 03/03/2020

                                                      John D Hadden
                                                      (See above for address)
                                                      TERMINATED: 02/04/2019

Defendant
Robert C Patton                          represented by Aaron J Stewart
Director of the Oklahoma Department of                  (See above for address)
Corrections                                             TERMINATED: 03/09/2016
TERMINATED: 07/06/2020
                                                      Andy N Ferguson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Bryan G Cleveland
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jeb E Joseph
                                                      (See above for address)
                                                      TERMINATED: 03/03/2020

                                                      John D Hadden
                                                      (See above for address)
                                                      TERMINATED: 02/04/2019

                                                      Lexie P Norwood
                                                      Attorney General's Ofc−NE
                                                      21STREET−OKC
                                                      313 NE 21st St
                                                      Oklahoma City, OK 73105
                                                      405−521−3921
                                                      Fax: 405−521−4518
                                                      Email: lexie.norwood@ou.edu
                                                      TERMINATED: 03/03/2020

                                                      Mithun S Mansinghani
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Randall J Yates
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


                                                                                    35
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                                                  Richard Mann
                                                  Municipal Counselor's Office−OKC
                                                  200 N Walker Ave
                                                  Suite 400
                                                  Oklahoma City, OK 73102
                                                  405−297−2451
                                                  Fax: 405−297−3851
                                                  Email: richard.mann@okc.gov
                                                  TERMINATED: 03/03/2020

                                                  Zachary P West
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Anita K Trammell                     represented by Aaron J Stewart
Warden Oklahoma State Penitentiary                  (See above for address)
TERMINATED: 07/06/2020                              TERMINATED: 03/09/2016

                                                  Andy N Ferguson
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Bryan G Cleveland
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Jeb E Joseph
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  John D Hadden
                                                  (See above for address)
                                                  TERMINATED: 02/04/2019

                                                  Lexie P Norwood
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  Mithun S Mansinghani
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Randall J Yates
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Richard Mann
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020


                                                                                     36
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                                                      Zachary P West
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Doctor X
TERMINATED: 10/31/2014

Defendant
Executioner #1
TERMINATED: 10/31/2014

Defendant
Executioner #2
TERMINATED: 10/31/2014

Defendant
Executioner #3
TERMINATED: 10/31/2014

Defendant
Paramedic Y
TERMINATED: 10/31/2014

Defendant
Edward Evans                             represented by Aaron J Stewart
Associate Director of Field Operations                  (See above for address)
TERMINATED: 07/06/2020                                  TERMINATED: 03/09/2016

                                                      Andy N Ferguson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Bryan G Cleveland
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jeb E Joseph
                                                      (See above for address)
                                                      TERMINATED: 03/03/2020

                                                      John D Hadden
                                                      (See above for address)
                                                      TERMINATED: 02/04/2019

                                                      Lexie P Norwood
                                                      (See above for address)
                                                      TERMINATED: 03/03/2020



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                                                  Mithun S Mansinghani
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Randall J Yates
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Richard Mann
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  Zachary P West
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
H−unit Section Chief X
TERMINATED: 08/11/2015

Defendant
John Doe Executioners #1−10
TERMINATED: 08/11/2015

Defendant
John T Holder                        represented by Aaron J Stewart
Member of the Oklahoma Board of                     (See above for address)
Corrections                                         TERMINATED: 03/09/2016
TERMINATED: 07/06/2020
                                                  Andy N Ferguson
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Bryan G Cleveland
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Jeb E Joseph
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  John D Hadden
                                                  (See above for address)
                                                  TERMINATED: 02/04/2019

                                                  Lexie P Norwood
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  Mithun S Mansinghani
                                                  (See above for address)

                                                                              38
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                                                  ATTORNEY TO BE NOTICED

                                                  Randall J Yates
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Richard Mann
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  Zachary P West
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Defendant
Irma J Newburn                       represented by Aaron J Stewart
Member of the Oklahoma Board of                     (See above for address)
Corrections                                         TERMINATED: 03/09/2016
TERMINATED: 07/06/2020
                                                  Andy N Ferguson
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Bryan G Cleveland
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Jeb E Joseph
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  John D Hadden
                                                  (See above for address)
                                                  TERMINATED: 02/04/2019

                                                  Lexie P Norwood
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  Mithun S Mansinghani
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Randall J Yates
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Richard Mann
                                                  (See above for address)
                                                  TERMINATED: 03/03/2020

                                                  Zachary P West

                                                                              39
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                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
James M Tilly                           represented by Aaron J Stewart
Member of the Oklahoma Board of                        (See above for address)
Corrections                                            TERMINATED: 03/09/2016
TERMINATED: 07/06/2020
                                                     Andy N Ferguson
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Bryan G Cleveland
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Jeb E Joseph
                                                     (See above for address)
                                                     TERMINATED: 03/03/2020

                                                     John D Hadden
                                                     (See above for address)
                                                     TERMINATED: 02/04/2019

                                                     Lexie P Norwood
                                                     (See above for address)
                                                     TERMINATED: 03/03/2020

                                                     Mithun S Mansinghani
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Randall J Yates
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Richard Mann
                                                     (See above for address)
                                                     TERMINATED: 03/03/2020

                                                     Zachary P West
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
David Parker                            represented by Aaron J Stewart
Division Manager of East Institutions                  (See above for address)
TERMINATED: 07/06/2020                                 TERMINATED: 03/09/2016

                                                     Andy N Ferguson
                                                     (See above for address)


                                                                                 40
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                                                     ATTORNEY TO BE NOTICED

                                                     Bryan G Cleveland
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Jeb E Joseph
                                                     (See above for address)
                                                     TERMINATED: 03/03/2020

                                                     John D Hadden
                                                     (See above for address)
                                                     TERMINATED: 02/04/2019

                                                     Lexie P Norwood
                                                     (See above for address)
                                                     TERMINATED: 03/03/2020

                                                     Mithun S Mansinghani
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Randall J Yates
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Richard Mann
                                                     (See above for address)
                                                     TERMINATED: 03/03/2020

                                                     Zachary P West
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Greg Williams                           represented by Aaron J Stewart
Division Manager of West Institutions                  (See above for address)
TERMINATED: 07/06/2020                                 TERMINATED: 03/09/2016

                                                     Andy N Ferguson
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Bryan G Cleveland
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Jeb E Joseph
                                                     (See above for address)
                                                     TERMINATED: 03/03/2020

                                                     John D Hadden

                                                                                 41
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                                                 (See above for address)
                                                 TERMINATED: 02/04/2019

                                                 Lexie P Norwood
                                                 (See above for address)
                                                 TERMINATED: 03/03/2020

                                                 Mithun S Mansinghani
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Randall J Yates
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Richard Mann
                                                 (See above for address)
                                                 TERMINATED: 03/03/2020

                                                 Zachary P West
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
H−Unit Section Chief
whose identity is unknown, in his official
capacity as Employee, Contractor and/or
Agent of the Oklahoma Department of
Corrections
TERMINATED: 07/06/2020

Defendant
IV Team Leader
whose identities are unknown, in their
official capacities as Employees,
Contractors, and/or Agents of the
Oklahoma Department of Corrections
TERMINATED: 07/06/2020

Defendant
Special Operations Team Leader
whose identities are unknown, in their
official capacities as Employees,
Contractors, and/or Agents of the
Oklahoma Department of Corrections
TERMINATED: 07/06/2020

Defendant
IV Team Members #1−10
whose identities are unknown, in their


                                                                           42
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official capacities as Employees,
Contractors, and/or Agents of the
Oklahoma Department of Corrections
TERMINATED: 07/06/2020

Defendant
Special Operations Team Members
#1−10
whose identities are unknown, in their
official capacities as Employees,
Contractors, and/or Agents of the
Oklahoma Department of Corrections
TERMINATED: 07/06/2020

Defendant
Scott Crow                                 represented by Andy N Ferguson
Director, ODOC, in his official capacity                  (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Bryan G Cleveland
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Mithun S Mansinghani
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Randall J Yates
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Zachary P West
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Charles A Dickson , III
                                                       Attorney General's Ofc−NE
                                                       21STREET−OKC
                                                       313 NE 21st St
                                                       Oklahoma City, OK 73105
                                                       405/521−3921
                                                       Fax: 405/521−4518
                                                       Email: charles.dickson@oag.ok.gov
                                                       ATTORNEY TO BE NOTICED

                                                       Jennifer L Crabb


                                                                                           43
     Case 5:14-cv-00665-F Document 536-1 Filed 10/25/21 Page 44 of 149


                                                   Attorney General's Ofc−NE
                                                   21STREET−OKC
                                                   313 NE 21st St
                                                   Oklahoma City, OK 73105
                                                   405−521−3921
                                                   Fax: 405−522−4534
                                                   Email: jennifer.crabb@oag.ok.gov
                                                   ATTORNEY TO BE NOTICED

Defendant
Randy Chandler                         represented by Andy N Ferguson
Oklahoma Board of Correction, in his                  (See above for address)
official capacity                                     LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Bryan G Cleveland
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Mithun S Mansinghani
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Randall J Yates
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Zachary P West
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Charles A Dickson , III
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jennifer L Crabb
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
Betty Gesell                           represented by Andy N Ferguson
Oklahoma Board of Correction, in her                  (See above for address)
official capacity                                     LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Bryan G Cleveland
                                                   (See above for address)


                                                                                      44
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                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Mithun S Mansinghani
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Randall J Yates
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Zachary P West
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Charles A Dickson , III
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jennifer L Crabb
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
Joseph Griffin                         represented by Andy N Ferguson
Oklahoma Board of Correction, in his                  (See above for address)
official capacity                                     LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Bryan G Cleveland
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Mithun S Mansinghani
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Randall J Yates
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Zachary P West
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED


                                                                                45
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                                                      Charles A Dickson , III
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jennifer L Crabb
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
F Lynn Haueter                            represented by Andy N Ferguson
Oklahoma Board of Correction, in his or                  (See above for address)
her official capacity                                    LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Bryan G Cleveland
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Mithun S Mansinghani
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Randall J Yates
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Zachary P West
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Charles A Dickson , III
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jennifer L Crabb
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Kathryn A LaFortune                       represented by Andy N Ferguson
Oklahoma Board of Correction, in her                     (See above for address)
official capacity                                        LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Bryan G Cleveland
                                                      (See above for address)
                                                      LEAD ATTORNEY


                                                                                   46
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                                                   ATTORNEY TO BE NOTICED

                                                   Mithun S Mansinghani
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Randall J Yates
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Zachary P West
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Charles A Dickson , III
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jennifer L Crabb
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
Stephan Moore                          represented by Andy N Ferguson
Oklahoma Board of Correction, in his                  (See above for address)
official capacity                                     LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Bryan G Cleveland
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Mithun S Mansinghani
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Randall J Yates
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Zachary P West
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Charles A Dickson , III

                                                                                47
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                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Jennifer L Crabb
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
Calvin Prince                           represented by Andy N Ferguson
Oklahoma Board of Correction, in his                   (See above for address)
official capacity                                      LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Bryan G Cleveland
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Mithun S Mansinghani
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Randall J Yates
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Zachary P West
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Charles A Dickson , III
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Jennifer L Crabb
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
T Hastings Siegfried                    represented by Andy N Ferguson
Oklahoma Board of Corrections, in his                  (See above for address)
official capacity                                      LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Bryan G Cleveland
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED


                                                                                 48
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                                                   Mithun S Mansinghani
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Randall J Yates
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Zachary P West
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Charles A Dickson , III
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Jennifer L Crabb
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

Defendant
Daryl Woodard                          represented by Andy N Ferguson
Oklahoma Board of Correction, in his                  (See above for address)
official capacity                                     LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                   Bryan G Cleveland
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Mithun S Mansinghani
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Randall J Yates
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Zachary P West
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Charles A Dickson , III
                                                   (See above for address)

                                                                                49
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                                                    ATTORNEY TO BE NOTICED

                                                    Jennifer L Crabb
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
Tommy Sharp                             represented by Andy N Ferguson
Warden, OSP, in his official capacity                  (See above for address)
TERMINATED: 10/05/2021                                 LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Bryan G Cleveland
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Mithun S Mansinghani
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Randall J Yates
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Zachary P West
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Charles A Dickson , III
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
Aboutanaa El Habti                      represented by Andy N Ferguson
Warden, Mabel Bassett Correctional                     (See above for address)
Center, in her official capacity                       ATTORNEY TO BE NOTICED

                                                    Bryan G Cleveland
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Charles A Dickson , III
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Jennifer L Crabb
                                                    (See above for address)


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                                                      ATTORNEY TO BE NOTICED

                                                      Mithun S Mansinghani
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Randall J Yates
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Zachary P West
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Justin Farris                             represented by Andy N Ferguson
Acting Chief of Staff, ODOC, in his                      (See above for address)
official capacity                                        ATTORNEY TO BE NOTICED

                                                      Bryan G Cleveland
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Charles A Dickson , III
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jennifer L Crabb
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Mithun S Mansinghani
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Randall J Yates
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Zachary P West
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Michael Carpenter                         represented by Andy N Ferguson
Chief of Field Operations, ODOC, in his                  (See above for address)
official capacity                                        ATTORNEY TO BE NOTICED

                                                      Bryan G Cleveland
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


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                                                 Charles A Dickson , III
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Jennifer L Crabb
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Mithun S Mansinghani
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Randall J Yates
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Zachary P West
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
Justin Giudice                       represented by Andy N Ferguson
Employee Assistance Program                         (See above for address)
Coordinator, ODOC, in his official                  ATTORNEY TO BE NOTICED
capacity
                                                 Bryan G Cleveland
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Charles A Dickson , III
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Jennifer L Crabb
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Mithun S Mansinghani
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Randall J Yates
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Zachary P West
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant


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John Does I−X
ODOC, in their official capacities

Defendant
Jim Farris                                      represented by Andy N Ferguson
Warden, OSP, in his official capacity                          (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                Bryan G Cleveland
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Charles A Dickson , III
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Mithun S Mansinghani
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Randall J Yates
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Zachary P West
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Movant
Ziva Branstetter                                represented by Robert D Nelon
                                                               Hall Estill−OKC
                                                               100 N Broadway Ave
                                                               Suite 2900
                                                               Oklahoma City, OK 73102
                                                               405−553−2828
                                                               Fax: 405−232−8004
                                                               Email: bnelon@hallestill.com
                                                               ATTORNEY TO BE NOTICED


 Date Filed        #   Page Docket Text
 06/25/2014        1         COMPLAINT against All Defendants filed by All Plaintiffs. (Attachments: #
                             1 Attachment 1 − List of Plaintiffs, # 2 Attachment 2 − List of Plaintiffs
                             Attorneys, # 3 Exhibit 3 − List of Defendants, # 4 Civil Cover Sheet)(cpp)


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                     (Entered: 06/25/2014)
06/25/2014    2      Summons Issued Electronically as to Kevin J Gross. (cpp) (Entered:
                     06/25/2014)
06/25/2014    3      Summons Issued Electronically as to Michael W Roach. (cpp) (Entered:
                     06/25/2014)
06/25/2014    4      Summons Issued Electronically as to Steve Burrage. (cpp) (Main Document 4
                     replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014    5      Summons Issued Electronically as to Gene Haynes. (cpp) (Main Document 5
                     replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014    6      Summons Issued Electronically as to Frazier Henke. (cpp) (Main Document 6
                     replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014    7      Summons Issued Electronically as to Linda K Neal. (cpp) (Main Document 7
                     replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014    8      Summons Issued Electronically as to Earnest D Ware. (cpp) (Main Document
                     8 replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014    9      Summons Issued Electronically as to Robert C Patton. (cpp) (Main Document
                     9 replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014   10      Summons Issued Electronically as to Anita K Trammell. (cpp) (Main
                     Document 10 replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014   11      Summons Issued Electronically as to Doctor X. (cpp) (Main Document 11
                     replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014   12      Summons Issued Electronically as to Paramedic Y. (cpp) (Main Document 12
                     replaced on 6/25/2014) (cpp). (Entered: 06/25/2014)
06/25/2014   13      ENTRY of Appearance by David B Autry on behalf of Phillip D Hancock
                     (Autry, David) (Entered: 06/25/2014)
06/25/2014   14      Summons Issued Electronically as to Executioner #1. (cpp) (Entered:
                     06/25/2014)
06/25/2014   15      Summons Issued Electronically as to Executioner #2. (cpp) (Entered:
                     06/25/2014)
06/25/2014   16      Summons Issued Electronically as to Executioner #3. (cpp) (Entered:
                     06/25/2014)
06/25/2014   17      ENTRY of Appearance by Patti P Ghezzi on behalf of Benjamin R Cole,
                     Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S Fairchild, John M
                     Grant, Wendell A Grissom, Marlon D Harmon, Raymond E Johnson,
                     Emmanuel A Littlejohn, James D Pavatt, Kendrick A Simpson, Kevin R
                     Underwood (Ghezzi, Patti) (Entered: 06/25/2014)
06/25/2014   18      ENTRY of Appearance by Randy A Bauman on behalf of Benjamin R Cole,
                     Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S Fairchild, John M
                     Grant, Wendell A Grissom, Marlon D Harmon, Raymond E Johnson,
                     Emmanuel A Littlejohn, James D Pavatt, Kendrick A Simpson, Kevin R
                     Underwood (Bauman, Randy) (Entered: 06/25/2014)

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06/25/2014   19      ENTRY of Appearance by Gary S Peterson on behalf of Charles F Warner
                     (Peterson, Gary) (Entered: 06/25/2014)
06/26/2014   20      ENTRY of Appearance by Fred L Staggs on behalf of Alfred B Mitchell
                     (Staggs, Fred) (Entered: 06/26/2014)
06/26/2014   21      ENTRY of Appearance by Dale A Baich on behalf of Tremane Wood (Baich,
                     Dale) (Entered: 06/26/2014)
06/26/2014   22      ENTRY of Appearance by Kelly L Schneider on behalf of Tremane Wood
                     (Schneider, Kelly) (Entered: 06/26/2014)
06/26/2014   23      ENTRY of Appearance by Robin C Konrad on behalf of Tremane Wood
                     (Konrad, Robin) (Entered: 06/26/2014)
06/26/2014   24      Receipt for Money Received from Dale M Baich on behalf of Tremane Wood
                     in the amount of $400.00, receipt number OKW500040501 regarding 1
                     Complaint. (cpp) (Entered: 06/26/2014)
06/26/2014   25      ENTRY of Appearance by David B Autry on behalf of James A Coddington
                     (Autry, David) (Entered: 06/26/2014)
06/27/2014   26      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard
                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Kevin
                     J Gross served on 6/25/2014. (Ghezzi, Patti) (Entered: 06/27/2014)
06/27/2014   27      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard
                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis.
                     Michael W Roach served on 6/25/2014. (Ghezzi, Patti) (Entered: 06/27/2014)
06/27/2014   28      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard
                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Steve
                     Burrage served on 6/25/2014. (Ghezzi, Patti) (Entered: 06/27/2014)
06/27/2014   29      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard
                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Gene
                     Haynes served on 6/25/2014. (Ghezzi, Patti) (Entered: 06/27/2014)
06/27/2014   30      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard

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                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Frazier
                     Henke served on 6/25/2014. (Ghezzi, Patti) (Entered: 06/27/2014)
06/27/2014   31      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard
                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Linda
                     K Neal served on 6/25/2014. (Ghezzi, Patti) (Entered: 06/27/2014)
06/27/2014   32      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard
                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Earnest
                     D Ware served on 6/25/2014. (Ghezzi, Patti) (Entered: 06/27/2014)
06/27/2014   33      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard
                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Robert
                     C Patton served on 6/25/2014. (Ghezzi, Patti) (Entered: 06/27/2014)
06/30/2014   34      ENTRY of Appearance by Mark L Henricksen on behalf of Richard E Glossip
                     (Henricksen, Mark) (Entered: 06/30/2014)
06/30/2014   35      ENTRY of Appearance by Mark L Henricksen on behalf of Brenda E Andrew
                     (Henricksen, Mark) (Entered: 06/30/2014)
06/30/2014   36      ENTRY of Appearance by Mark L Henricksen on behalf of Shelton D Jackson
                     (Henricksen, Mark) (Entered: 06/30/2014)
06/30/2014   37      ORDER REASSIGNING CASE. Case reassigned to Honorable Stephen P.
                     Friot for all further proceedings. Honorable Robin J. Cauthron no longer
                     assigned to case. Signed by deputy clerk on 6/30/14. (lg) (Entered:
                     06/30/2014)
07/16/2014   38      ENTRY of Appearance by Aaron J Stewart on behalf of Steve Burrage, Kevin
                     J Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware (Stewart, Aaron)
                     (Entered: 07/16/2014)
07/16/2014   39      ENTRY of Appearance by John D Hadden on behalf of Steve Burrage, Kevin
                     J Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware (Hadden, John)
                     (Entered: 07/16/2014)
07/16/2014   40


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                     MOTION to Dismiss and Brief in Support by Steve Burrage, Kevin J Gross,
                     Gene Haynes, Frazier Henke, Linda K Neal, Michael W Roach, Earnest D
                     Ware. (Attachments: # 1 Exhibit Executive Order 2014−11, # 2 Exhibit
                     Executive Order 2014−10, # 3 Exhibit Death Row Report, # 4 Exhibit
                     OSP−040401−01, # 5 Attachment Benevides v City of OKC (unpubished
                     case), # 6 Attachment Lockett v Evans (unpublished case))(Hadden, John)
                     (Entered: 07/16/2014)
07/16/2014   41      ANSWER to Complaint by Robert C Patton, Anita K Trammell.(Hadden,
                     John) (Entered: 07/16/2014)
07/16/2014   42      MOTION to Stay Case and Brief in Support by Robert C Patton, Anita K
                     Trammell. (Attachments: # 1 Exhibit Death Row Report, # 2 Exhibit
                     Executive Order 2014−11, # 3 Exhibit Executive Order 2014−10)(Hadden,
                     John) (Entered: 07/16/2014)
07/25/2014   43      SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Charles F Warner, Phillip D Hancock, Richard
                     E Glossip, Kevin R Underwood, Alfred B Mitchell, Raymond E Johnson,
                     Emmanuel A Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin
                     R Cole, Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A
                     Grissom, Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Anita
                     K Trammell served on 6/26/2014. (Ghezzi, Patti) (Entered: 07/25/2014)
08/05/2014   44      ENTRY of Appearance by Lanita Henricksen on behalf of Phillip D Hancock
                     (Henricksen, Lanita) (Entered: 08/05/2014)
08/06/2014   45      RESPONSE to Motion re 42 MOTION to Stay Case and Brief in Support, 40
                     MOTION to Dismiss and Brief in Support filed by All Plaintiffs.
                     (Attachments: # 1 Exhibit 1) Board of Corrections Policy P−040100, # 2
                     Exhibit 2) Dept of Corr Operating Policy P−040301, # 3 Exhibit 3) OSP
                     Policy OSP−040301, # 4 Exhibit 4) Addendum to OSP−040301, # 5 Exhibit 5)
                     BOC Minutes 5−14−10, # 6 Exhibit 6) BOC Minutes 6−18−10, # 7 Exhibit 7)
                     BOC Minutes 10−22−10, # 8 Exhibit 8) BOC Minutes 10−21−11, # 9 Exhibit
                     9) BOC Minutes 5−1−14, # 10 Exhibit 10) BOC Minutes 6−5−14, # 11
                     Exhibit 11) BOC Minutes 4−25−13, # 12 Exhibit 12) BOC Minutes
                     4−3−14)(Ghezzi, Patti) (Entered: 08/06/2014)
08/12/2014   46      ORDER Setting Hearing on 42 MOTION to Stay Case and Brief in Support:
                     Motion Hearing set for 9/18/2014 09:00 AM in Courtroom 305 before
                     Honorable Stephen P. Friot (as fully set out in this order). Signed by
                     Honorable Stephen P. Friot on 8/12/14. (llg) (Entered: 08/12/2014)
08/13/2014   47      REPLY to Response to Motion re 40 MOTION to Dismiss and Brief in
                     Support, 42 MOTION to Stay Case and Brief in Support filed by Steve
                     Burrage, Kevin J Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C
                     Patton, Michael W Roach, Anita K Trammell, Earnest D Ware. (Hadden,
                     John) (Entered: 08/13/2014)
09/09/2014   48      ORDER. Ct notes that a report entitled "The Execution of Clayton Lockett,"
                     Case No. 14−0189SI, has been rendered by Okla DPS. To facilitate the ct's
                     consideration of, among other things, the mtns that are now pndg in this action
                     (& to facilitate any necessary consideration of the matter by a reviewing ct),
                     dfts Patton & Trammell are DIRECTED to file a copy of that report in this
                     action by 9/26/14. That filing shall be accompanied by a representation, by

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                     counsel for dfts, as to whether dfts Patton or Trammell believe that Part III of
                     the report (pp. 8−25) contains any materially incorrect factual stmts. If there
                     are any such stmts believed by dfts Patton or Trammell to be materially
                     incorrect, dfts' filing shall itemize them, & may provide such addl explanation
                     as those dfts shall consider to be appropriate or advisable. Signed by
                     Honorable Stephen P. Friot on 9/9/14. (llg) (Entered: 09/09/2014)
09/16/2014   49      RESPONSE TO ORDER TO SHOW CAUSE filed by All Defendants.
                     (Attachments: # 1 Exhibit DPS Report)(Hadden, John) (Entered: 09/16/2014)
09/18/2014   50      Minute Order. Proceedings held before Honorable Stephen P. Friot: Motion
                     Hearing held on 9/18/2014. 42 MOTION to Stay Case and Brief in Support
                     filed by Robert C Patton, Anita K Trammell is DENIED. (Court Reporter
                     Jeanne Ring.) (llg) (Entered: 09/18/2014)
09/18/2014   51      ENTRY of Appearance by Jeb E Joseph on behalf of Steve Burrage, Kevin J
                     Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael
                     W Roach, Anita K Trammell, Earnest D Ware (Joseph, Jeb) (Entered:
                     09/18/2014)
09/23/2014   52      SUBPOENA RETURNED EXECUTED as to Non−Party Commissioner
                     Michael Thompson, DPS, filed by Plaintiffs Brenda E Andrew, James A
                     Coddington, Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis,
                     Richard S Fairchild, Richard E Glossip, John M Grant, Wendell A Grissom,
                     Phillip D Hancock, Marlon D Harmon, Shelton D Jackson, Raymond E
                     Johnson, Julius D Jones, Emmanuel A Littlejohn, Alfred B Mitchell, James D
                     Pavatt, Kendrick A Simpson, Kevin R Underwood, Charles F Warner,
                     Tremane Wood. (Ghezzi, Patti) (Entered: 09/23/2014)
09/23/2014   53      SUBPOENA RETURNED EXECUTED as to Non−Party Eric Pfeifer, MD,
                     Oklahoma Office of Chief Medical Examiner, filed by Plaintiffs Brenda E
                     Andrew, James A Coddington, Benjamin R Cole, Carlos Cuesta−Rodriguez,
                     Nicholas A Davis, Richard S Fairchild, Richard E Glossip, John M Grant,
                     Wendell A Grissom, Phillip D Hancock, Marlon D Harmon, Shelton D
                     Jackson, Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Alfred
                     B Mitchell, James D Pavatt, Kendrick A Simpson, Kevin R Underwood,
                     Charles F Warner, Tremane Wood. (Ghezzi, Patti) (Entered: 09/23/2014)
09/30/2014   54      ORDER denying 40 Defendants' Motion to Dismiss. Signed by Honorable
                     Stephen P. Friot on 9/30/14. (llg) (Entered: 09/30/2014)
10/01/2014   55      NOTICE (other) by Oklahoma Department of Corrections (Attachments: # 1
                     Exhibit OP−040301 − Execution of Offenders Sentenced to Death)(Hadden,
                     John) (Entered: 10/01/2014)
10/08/2014   56      ENTER ORDER. Status Conference set for 10/15/2014 01:30 PM in
                     Chambers before Honorable Stephen P. Friot. Entered at the direction of
                     Honorable Stephen P. Friot on 10/8/14. (llg) (Entered: 10/08/2014)
10/10/2014   57      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                     September 18, 2014 before Judge Stephen Friot. Court Reporter: B. Jeanne
                     Ring, Telephone number (405) 820−2067/jeanne@mbo.net. Transcript of:
                     Motion to Stay Volume: I of I Transcript may be viewed at the court public
                     terminal or purchased through the Court Reporter/Transcriber before the
                     deadline for Release of Transcript Restriction. After that date it may be


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                     obtained through PACER. Redaction Request due 10/31/2014. Redacted
                     Transcript Deadline set for 11/10/2014. Release of Transcript Restriction set
                     for 1/8/2015. (jr, ) (Entered: 10/10/2014)
10/10/2014   58      BRIEF IN SUPPORT re 56 Order, Set Hearings Plaintiffs' Memorandum of
                     Law by All Plaintiffs. (Attachments: # 1 Exhibit 1) Aff of Anita
                     Trammell)(Ghezzi, Patti) (Entered: 10/10/2014)
10/10/2014   59      SECOND MOTION to Dismiss and Brief in Support by Steve Burrage, Gene
                     Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach,
                     Anita K Trammell, Earnest D Ware. (Hadden, John) (Entered: 10/10/2014)
10/10/2014   60      ANSWER to Complaint by Steve Burrage, Kevin J Gross, Gene Haynes,
                     Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach, Anita K
                     Trammell, Earnest D Ware.(Hadden, John) (Entered: 10/10/2014)
10/10/2014   61      NOTICE (other) by State of Oklahoma (Attachments: # 1 Exhibit State's
                     Notice Regarding Scheduled Execution Dates)(Hadden, John) (Entered:
                     10/10/2014)
10/10/2014   62      NOTICE (other) by State of Oklahoma (Attachments: # 1 Exhibit Application
                     for Execution Date)(Hadden, John) (Entered: 10/10/2014)
10/14/2014   63      AMENDED ENTER ORDER. Status Conference RESET for 10/15/2014
                     01:00 PM in Chambers before Honorable Stephen P. Friot. Entered at the
                     direction of Honorable Stephen P. Friot on 10/14/14. (llg) (Entered:
                     10/14/2014)
10/14/2014   64      MOTION for Protective Order and Brief in Support by Steve Burrage, Kevin J
                     Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael
                     W Roach, Anita K Trammell, Earnest D Ware. (Attachments: # 1 Exhibit
                     OP−060212 − Maintenance & Access of Offender Records, # 2 Exhibit
                     OP−140108 − Privacy of Protected Health Information, # 3 Exhibit Proposed
                     Protective Order, # 4 Exhibit Apothoecarry Email, # 5 Exhibit Complaint in
                     Taylor v. Apothocare Shoppe, # 6 Exhibit Woodlands Letter)(Stewart, Aaron)
                     (Entered: 10/14/2014)
10/15/2014   65      MOTION for Contempt and Other Relief by All Plaintiffs. (Attachments: # 1
                     Exhibit Subpoena 9−23−14, # 2 Exhibit Letter to DPS 5−23−14, # 3 Exhibit
                     Letter of Objection)(Ghezzi, Patti) (Entered: 10/15/2014)
10/15/2014   66      MOTION for Contempt and Other Relief by All Plaintiffs. (Attachments: # 1
                     Exhibit Subpoena 9−23−14, # 2 Exhibit Letter to OCME 5−23−14, # 3 Exhibit
                     Letter of Objection 10−8−14, # 4 Exhibit Email 10−14−14)(Ghezzi, Patti)
                     (Entered: 10/15/2014)
10/15/2014   67      Minute Entry for proceedings held before Honorable Stephen P. Friot: Status
                     Conference held on 10/15/2014 (as fully set out on the minute sheet). (Court
                     Reporter Tracy Washbourne.) (llg) (Entered: 10/15/2014)
10/21/2014   68      RESPONSE in Opposition re 64 MOTION for Protective Order and Brief in
                     Support filed by All Plaintiffs. (Attachments: # 1 Exhibit Opinion, # 2 Exhibit
                     Protective Order, # 3 Exhibit Protective Order)(Ghezzi, Patti) (Entered:
                     10/21/2014)
10/22/2014   69


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                     ENTRY of Appearance by Tiffany J Wythe on behalf of Office of the Chief
                     Medical Examiner, State of Oklahoma (Wythe, Tiffany) (Entered: 10/22/2014)
10/23/2014   70      MOTION for Leave to File a Supplemental Brief in Support of Motion for
                     Protective Order and Brief in Support by Steve Burrage, Kevin J Gross, Gene
                     Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach,
                     Anita K Trammell, Earnest D Ware. (Hadden, John) (Entered: 10/23/2014)
10/24/2014   71      NOTICE (other) by Oklahoma State of (Attachments: # 1 Exhibit Orders
                     Setting Executions)(Stewart, Aaron) (Entered: 10/24/2014)
10/27/2014   72      ORDER granting 70 Defendants Burrage, Gross, Haynes, Henke, Neal, Patton,
                     Roach, Trammell and Ware's Request for Leave to File a Supplemental Brief
                     in Support of Their 64 Motion for Protective Order. Supplemental brief, not to
                     exceed 20 pgs, due 10/29/14. Plfs are permitted to respond to the supplemental
                     brief by 11/5/14. Signed by Honorable Stephen P. Friot on 10/27/14. (llg)
                     (Entered: 10/27/2014)
10/29/2014   73      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                     10/15/14 before Judge Friot. Court Reporter: Tracy Washbourne, Telephone
                     number 405−609−5505. Transcript of: Status conference Transcript may be
                     viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                     After that date it may be obtained through PACER. Redaction Request due
                     11/19/2014. Redacted Transcript Deadline set for 12/1/2014. Release of
                     Transcript Restriction set for 1/27/2015. (tw, ) (Entered: 10/29/2014)
10/29/2014   74      SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION for Protective Order
                     and Brief in Support by Steve Burrage, Kevin J Gross, Gene Haynes, Frazier
                     Henke, Linda K Neal, Robert C Patton, Michael W Roach, Anita K Trammell,
                     Earnest D Ware. (Attachments: # 1 Exhibit Plaintiffs' Requests for Production,
                     # 2 Exhibit Plaintiff's 1st Set of Interrogatories to Defendant Trammell, # 3
                     Exhibit Death Row Statistics)(Hadden, John) Modified on 10/30/2014 (llg).
                     (Entered: 10/29/2014)
10/30/2014           Docket Annotation: The docket text for doc. no. 74 has been corrected to
                     reflect that the filing is a "Supplemental Brief in Support of Motion" as
                     opposed to a "Supplemental Motion." (llg) (Entered: 10/30/2014)
10/31/2014   75      AMENDED COMPLAINT against All Defendants filed by All
                     Plaintiffs.(Ghezzi, Patti) (Entered: 10/31/2014)
10/31/2014   76      RESPONSE to Motion re 59 SECOND MOTION to Dismiss and Brief in
                     Support filed by All Plaintiffs. (Ghezzi, Patti) (Entered: 10/31/2014)
11/03/2014   77      ORDER Setting Hearing on 64 Defendants' MOTION for Protective Order
                     and Brief in Support, 65 Plaintiffs' MOTION for Contempt and Other Relief,
                     66 Plaintiffs' MOTION for Contempt and Other Relief: Motion Hearing set for
                     11/13/2014 01:30 PM in Courtroom 305 before Honorable Stephen P. Friot.
                     Signed by Honorable Stephen P. Friot on 11/3/14. (llg) (Entered: 11/03/2014)
11/03/2014   78      ORDER striking as moot 59 Defendants' Second Motion to Dismiss, based on
                     the filing of the Amended Complaint. Signed by Honorable Stephen P. Friot
                     on 11/3/14. (llg) (Entered: 11/03/2014)
11/04/2014   79

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                     PRELIMINARY SCHEDULING ORDER. Any mtn for preliminary
                     injunction shall be filed by 11/10/14. A mtn for preliminary injunction filed
                     after that date may be stricken. The mtn need not be supported by a brief,
                     because the court will, if a mtn for preliminary injunction is timely filed, enter
                     a scheduling order which will include a provision for the filing of trial briefs &
                     proposed findings of fact & conclusions of law in advance of the hrg on the
                     mtn for preliminary injunction. However, the mtn for preliminary injunction
                     must state precisely & in detail the nature & scope of the preliminary
                     injunctive relief sought. Signed by Honorable Stephen P. Friot on 11/4/14.
                     (llg) (Entered: 11/04/2014)
11/04/2014   80      UNOPPOSED MOTION for Leave /Unopposed Motion by Counsel for
                     Plaintiff Tremane Wood to Appear Telephonically at Hearing on 11/13/14 at
                     1:30 p.m. by Tremane Wood. (Attachments: # 1 Attachment Proposed
                     Order)(Konrad, Robin) (Entered: 11/04/2014)
11/04/2014           NOTICE from the Court re 80 Unopposed Motion by Counsel for Plaintiff
                     Tremane Wood to Appear Telephonically at Hearing on 11/13/14 at 1:30 p.m..
                     Counsel for Tremane Wood is DIRECTED to submit the proposed order for
                     said motion via email, in compliance with ECF Policies & Procedures Manual,
                     Section II.G. (llg) (Entered: 11/04/2014)
11/05/2014   81      ENTRY of Appearance by Devan A Pederson on behalf of Office of the Chief
                     Medical Examiner, State of Oklahoma, Eric Pfeifer, MD (Pederson, Devan)
                     (Entered: 11/05/2014)
11/05/2014   82      RESPONSE in Opposition re 74 SUPPLEMENTAL MOTION for Protective
                     Order and Brief in Support filed by All Plaintiffs. (Ghezzi, Patti) (Entered:
                     11/05/2014)
11/05/2014   83      UNOPPOSED MOTION for Order for Authorization to Release Records by
                     Office of the Chief Medical Examiner, State of Oklahoma, Eric Pfeifer, MD.
                     (Pederson, Devan) (Entered: 11/05/2014)
11/05/2014   84      RESPONSE to Motion re 66 MOTION for Contempt and Other Relief filed by
                     Office of the Chief Medical Examiner, State of Oklahoma, Eric Pfeifer, MD.
                     (Pederson, Devan) (Entered: 11/05/2014)
11/05/2014   85      ENTRY of Appearance by Stephen J Krise on behalf of Michael Thompson
                     (Krise, Stephen) Modified on 11/5/2014 (llg). (Entered: 11/05/2014)
11/05/2014   86      RESPONSE to Motion re 65 MOTION for Contempt and Other Relief filed by
                     Oklahoma State of. (Krise, Stephen) (Entered: 11/05/2014)
11/05/2014           Docket Annotation: The docket text for 85 Entry of Appearance by Stephen J
                     Krise has been modified to correctly reflect that the appearance was made on
                     behalf of Michael Thompson rather than the State of Oklahoma. (llg) (Entered:
                     11/05/2014)
11/05/2014   87      JOINT MOTION for Protective Order by Steve Burrage, Kevin J Gross, Gene
                     Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach,
                     Anita K Trammell, Earnest D Ware. (Stewart, Aaron) (Entered: 11/05/2014)
11/06/2014   88      SCHEDULING ORDER re PRELIMINARY INJUNCTION: Pla−Dft
                     preliminary witness & exhibit lists & copies of exhibits to opposing counsel
                     due 11/14/14; Pla disclose expert testimony by 11/26/14; Dft disclose expert

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                     testimony by 12/2/14; Pla−Dft final witness & exhibit lists & copies of addl
                     exhibits to opposing counsel due 12/8/14; Discovery completion 12/10/14;
                     Pla−Dft Proposed Findings of Fact and Conclusions due 12/12/14; Pla−Dft
                     trial briefs due 12/12/14; Pretrial Conference 12/15/2014 at 01:30 PM;
                     Hearing on application for preliminary injunction Dec. 17−19, 2014, at 09:00
                     AM. Signed by Honorable Stephen P. Friot on 11/6/14. (llg) (Entered:
                     11/06/2014)
11/06/2014           Set/Reset Hearings: Pretrial Conference set for 12/15/2014 01:30 PM in
                     Courtroom 305 before Honorable Stephen P. Friot. Preliminary Injunction
                     Hearing set for 12/17/2014 thru 12/19/2014 09:00 AM in Courtroom 305
                     before Honorable Stephen P. Friot. (llg) Modified on 11/6/2014 (llg).
                     (Entered: 11/06/2014)
11/06/2014   89      ORDER granting 83 Eric Pfeifer, M.D., Oklahoma Office of the Chief
                     Medical Examiner's Unopposed Motion for Authorization to Release Records;
                     denying as moot, w/o prejudice to filing a motion to compel, 66 Motion of
                     Plaintiffs for Holding of Contempt as to Eric Pfeifer, M.D., Oklahoma Office
                     of the Chief Medical Examiner. Signed by Honorable Stephen P. Friot on
                     11/6/14. (llg) (Entered: 11/06/2014)
11/06/2014   90      AGREED PROTECTIVE ORDER. Signed by Honorable Stephen P. Friot on
                     11/6/14. (llg) (Entered: 11/06/2014)
11/06/2014   91      ORDER granting 80 Unopposed Motion by Counsel for Plaintiff Tremane
                     Wood to Appear Telephonically at Hearing on November 18, 2014, at 1:30
                     p.m. (as fully set out in this order). Signed by Honorable Stephen P. Friot on
                     11/6/14. (llg) (Entered: 11/06/2014)
11/10/2014   92      MOTION for Preliminary Injunction by Benjamin R Cole, Richard E Glossip,
                     John M Grant, Charles F Warner. (Ghezzi, Patti) (Entered: 11/10/2014)
11/13/2014   93      Minute Order. Proceedings held before Honorable Stephen P. Friot: Motion
                     Hearing held on 11/13/2014. 65 MOTION for Contempt and Other Relief filed
                     by Emmanuel A Littlejohn, James A Coddington, Nicholas A Davis, Tremane
                     Wood, Wendell A Grissom, Richard S Fairchild, Phillip D Hancock, Kendrick
                     A Simpson, Carlos Cuesta−Rodriguez, Julius D Jones, John M Grant, Kevin R
                     Underwood, James D Pavatt, Brenda E Andrew, Alfred B Mitchell, Shelton D
                     Jackson, Charles F Warner, Raymond E Johnson, Benjamin R Cole, Richard E
                     Glossip, Marlon D Harmon is DENIED IN PART and GRANTED IN PART,
                     as set out on the minute sheet & on the record. Status Conference set for
                     11/24/2014 09:00 AM in Courtroom 305 before Honorable Stephen P. Friot
                     for the purpose of (i) ascertaining the status of the Commissioner's compliance
                     with this order, & (ii) addressing the arrangements for the production of
                     digitally stored emails. 64 MOTION for Protective Order and Brief in Support
                     filed by Linda K Neal, Robert C Patton, Michael W Roach, Gene Haynes,
                     Anita K Trammell, Earnest D Ware, Steve Burrage, Frazier Henke, Kevin J
                     Gross is rendered MOOT IN PART, GRANTED IN PART and DENIED IN
                     PART, as set out on the minute sheet & on the record. (Court Reporter Tracy
                     Washbourne.) (llg) (Entered: 11/14/2014)
11/14/2014   94      ORDER memorializing the court's mandatory and prohibitory orders entered
                     at 11/13/14 motion hearing re 64 MOTION for Protective Order and Brief in
                     Support, 65 MOTION for Contempt and Other Relief. Follows oral order of


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                     11/13/14. Signed by Honorable Stephen P. Friot on 11/14/14. (llg) (Entered:
                     11/14/2014)
11/14/2014    95     NOTICE of Change of Address by Stephen J Krise (Krise, Stephen) (Entered:
                     11/14/2014)
11/14/2014    96     ANSWER to 75 Amended Complaint by Steve Burrage, Kevin J Gross, Gene
                     Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach,
                     Anita K Trammell.(Stewart, Aaron) (Entered: 11/14/2014)
11/14/2014    97     MOTION to Dismiss Plaintiffs' Amended Complaint and Brief in Support by
                     Kevin J Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware. (Attachments: # 1
                     Exhibit Order Dismissing − Lockett v. Patton −O−2014−361, # 2 Exhibit
                     Petition in Lockett v Patton − CV−14−637)(Stewart, Aaron) (Entered:
                     11/14/2014)
11/14/2014    98     Exhibit List / Witness List (Preliminary) by Defendants Steve Burrage, Kevin
                     J Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware. (Stewart, Aaron)
                     (Entered: 11/14/2014)
11/14/2014    99     Exhibit List / Witness List Preliminary by Plaintiffs Benjamin R Cole, Richard
                     E Glossip, John M Grant, Charles F Warner. (Ghezzi, Patti) (Entered:
                     11/14/2014)
11/16/2014   100     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                     11/13/14 before Judge Friot. Court Reporter: Tracy Washbourne, Telephone
                     number 405−609−5505. Transcript of: Motion for contempt Transcript may be
                     viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                     After that date it may be obtained through PACER. Redaction Request due
                     12/8/2014. Redacted Transcript Deadline set for 12/17/2014. Release of
                     Transcript Restriction set for 2/17/2015. (tw, ) (Entered: 11/16/2014)
11/18/2014   101     MOTION to Expedite Response to Defendants' First Interrogatories, Requests
                     for Production and Requests for Admission by Steve Burrage, Kevin J Gross,
                     Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael W
                     Roach, Anita K Trammell, Earnest D Ware. (Hadden, John) (Entered:
                     11/18/2014)
11/18/2014   102     ENTRY of Appearance by Lanita Henricksen on behalf of Charles F Warner
                     (Henricksen, Lanita) (Entered: 11/18/2014)
11/19/2014   103     OBJECTIONS re 101 MOTION to Expedite Response to Defendants' First
                     Interrogatories, Requests for Production and Requests for Admission filed by
                     All Plaintiffs. (Attachments: # 1 Exhibit Letter 4−30−14, # 2 Exhibit Letter
                     5−1−14, # 3 Exhibit Letter 5−6−14)(Ghezzi, Patti) (Entered: 11/19/2014)
11/19/2014   104     ORDER granting in part and denying in part 101 Motion for Expedited
                     Response to Defendants' First Interrogatories, Requests for Production, and
                     Requests for Admission, as fully set out in this order. Signed by Honorable
                     Stephen P. Friot on 11/19/14. (llg) (Entered: 11/19/2014)
11/19/2014   105     MOTION to Withdraw by Susanna M. Gattoni and Seth A. Day as Counsel by
                     James A Coddington, Charles F Warner. (Attachments: # 1 Attachment

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                     Proposed Order)(Gattoni, Susanna) Modified on 11/19/2014 (llg). (Entered:
                     11/19/2014)
11/19/2014   106     ORDER granting 105 Motion to Withdraw as Attorney. Attorney Seth A Day
                     and Susanna M Gattoni terminated as counsel for Charles F Warner, James
                     Coddington. Lanita Henricksen will continue her representation of Charles F.
                     Warner. David Autry will continue his representation of James Coddington.
                     Signed by Honorable Stephen P. Friot on 11/19/14. (llg) (Entered: 11/19/2014)
11/20/2014   107     MOTION to Add Party (Motion for Additional Plaintiff to Proceedings by BJ
                     Stouffer). (kr) (Entered: 11/20/2014)
11/20/2014   108     LETTER from B.J. Stouffer (Attachments: # 1 Envelope) (kr) (Entered:
                     11/20/2014)
11/20/2014   109     UNOPPOSED MOTION for Order to Release Records by All Plaintiffs.
                     (Ghezzi, Patti) (Entered: 11/20/2014)
11/21/2014   110     ORDER granting 109 Plaintiffs' Unopposed Motion for Authorization to
                     Release Records. Signed by Honorable Stephen P. Friot on 11/21/14. (llg)
                     (Entered: 11/21/2014)
11/21/2014   111     NOTICE to Take Deposition of Dr. Eric Katz, Dr. David Lubarsky, Dr. Larry
                     Sasich & Dr. Joseph Cohen by Steve Burrage, Kevin J Gross, Gene Haynes,
                     Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach, Anita K
                     Trammell, Earnest D Ware. (Hadden, John) (Entered: 11/21/2014)
11/22/2014   112     MOTION to Quash Subpoenas by All Plaintiffs. (Ghezzi, Patti) (Entered:
                     11/22/2014)
11/24/2014   113     Minute Entry for proceedings held before Honorable Stephen P. Friot: Status
                     Conference held on 11/24/2014 re Commissioner of DPS' production of
                     discovery as ordered at 11/13/2014 hrg. (Court Reporter Tracy Washbourne.)
                     (llg) (Entered: 11/24/2014)
11/24/2014   114     UNOPPOSED MOTION for Order to Release Records by All Plaintiffs.
                     (Ghezzi, Patti) (Entered: 11/24/2014)
11/24/2014   115     ORDER granting 114 Plaintiffs' Unopposed Motion for Authorization to
                     Release Records. Signed by Honorable Stephen P. Friot on 11/24/14. (llg)
                     (Entered: 11/24/2014)
12/01/2014   116     MOTION for Extension of Time to File Response/Reply to Defendants'
                     Motion to Dismiss by All Plaintiffs. (Ghezzi, Patti) (Entered: 12/01/2014)
12/01/2014   117     RESPONSE to Motion re 92 MOTION for Preliminary Injunction filed by
                     Steve Burrage, Kevin J Gross, Gene Haynes, Frazier Henke, Linda K Neal,
                     Robert C Patton, Michael W Roach, Anita K Trammell, Earnest D Ware.
                     (Attachments: # 1 Exhibit Attachment D to OP−040301, # 2 Exhibit
                     OP−040301, # 3 Attachment Osborn v. Shillinger (unpublished table
                     decision))(Stewart, Aaron) (Entered: 12/01/2014)
12/02/2014   118     ORDER. Any objection by dfts to 116 Plaintiffs' Motion for Request for
                     Additional Time to Respond to 97 Defendants' Motion to Dismiss shall be
                     filed within 3 business days of this date. No reply permitted at this time.
                     Signed by Honorable Stephen P. Friot on 12/2/14. (llg) Modified on 12/2/2014


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                     (llg). (Entered: 12/02/2014)
12/03/2014   119     OBJECTIONS re 116 MOTION for Extension of Time to File
                     Response/Reply to Defendants' Motion to Dismiss filed by Steve Burrage,
                     Kevin J Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware. (Attachments: # 1
                     Exhibit Letter)(Stewart, Aaron) (Entered: 12/03/2014)
12/03/2014   120     ORDER granting in part and denying in part 116 Plaintiffs' Motion for
                     Additional Time to Respond to 97 Defendants' MOTION to Dismiss Plaintiffs'
                     Amended Complaint and Brief in Support. Plfs' ddl for responding to dfts' mtn
                     to dismiss is extended to 12/8/2014 at 10:00 AM. Signed by Honorable
                     Stephen P. Friot on 12/3/14. (llg) (Entered: 12/03/2014)
12/05/2014   121     MOTION to Withdraw as Attorney by Tremane Wood. (Attachments: # 1
                     Attachment Proposed Order)(Culshaw, Kelly) Modified on 12/5/2014 (llg).
                     (Entered: 12/05/2014)
12/05/2014   122     ORDER granting 121 Motion to Withdraw as Attorney. Attorney Kelly L
                     Culshaw terminated as counsel for plf Tremane Wood. Signed by Honorable
                     Stephen P. Friot on 12/5/14. (llg) (Entered: 12/05/2014)
12/06/2014   123     NOTICE of Conventional Filing Plaintiffs' Expedited Motion to Unseal by
                     Patti P Ghezzi on behalf of All Plaintiffs (Ghezzi, Patti) (STRICKEN by
                     12/8/2014 Notice from the Court.) Modified on 12/8/2014 (llg). (Entered:
                     12/06/2014)
12/06/2014   124     NOTICE of Conventional Filing Plaintiffs' Expedited Motion to Unseal by
                     Patti P Ghezzi on behalf of All Plaintiffs (Ghezzi, Patti) (Entered: 12/06/2014)
12/08/2014   125     RESPONSE to Motion re 97 MOTION to Dismiss Plaintiffs' Amended
                     Complaint and Brief in Support filed by All Plaintiffs. (Ghezzi, Patti)
                     (Entered: 12/08/2014)
12/08/2014           NOTICE from the Court STRIKING 123 Notice of Conventional Filing, as it
                     is a blank document and has been correctly refiled at doc. no. 124. (llg)
                     (Entered: 12/08/2014)
12/08/2014   126     SEALED MOTION by Brenda E Andrew, James A Coddington, Benjamin R
                     Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S Fairchild,
                     Richard E Glossip, John M Grant, Wendell A Grissom, Phillip D Hancock,
                     Marlon D Harmon, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                     Emmanuel A Littlejohn, Alfred B Mitchell, James D Pavatt, Kendrick A
                     Simpson, Kevin R Underwood, Charles F Warner, Tremane Wood.(llg)
                     (Entered: 12/08/2014)
12/08/2014   127     ORDER denying 126 Sealed Expedited Motion to Unseal, as fully set out in
                     this order. Signed by Honorable Stephen P. Friot on 12/8/14. (llg) (Entered:
                     12/08/2014)
12/08/2014   128     Exhibit List / Witness List (Final) by Defendants Steve Burrage, Kevin J
                     Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael
                     W Roach, Anita K Trammell, Earnest D Ware. (Stewart, Aaron) (Entered:
                     12/08/2014)
12/08/2014   129


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                     Exhibit List by Plaintiffs Brenda E Andrew, James A Coddington, Benjamin R
                     Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S Fairchild,
                     Richard E Glossip, John M Grant, Wendell A Grissom, Phillip D Hancock,
                     Marlon D Harmon, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                     Emmanuel A Littlejohn, Alfred B Mitchell, James D Pavatt, Kendrick A
                     Simpson, Kevin R Underwood, Charles F Warner, Tremane Wood. (Ghezzi,
                     Patti) (Entered: 12/08/2014)
12/08/2014   130     Witness List by Plaintiffs Brenda E Andrew, James A Coddington, Benjamin
                     R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S Fairchild,
                     Richard E Glossip, John M Grant, Wendell A Grissom, Phillip D Hancock,
                     Marlon D Harmon, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                     Emmanuel A Littlejohn, Alfred B Mitchell, James D Pavatt, Kendrick A
                     Simpson, Kevin R Underwood, Charles F Warner, Tremane Wood. (Ghezzi,
                     Patti) (Entered: 12/08/2014)
12/09/2014   131     FIRST MOTION to Compel Discovery by All Plaintiffs. (Attachments: # 1
                     Exhibit 1) Patton Interrogatory Answers, # 2 Exhibit 2) Trammell
                     Interrogatory Answers, # 3 Exhibit 3) Trammell Affidavit)(Ghezzi, Patti)
                     (Entered: 12/09/2014)
12/09/2014   132     SECOND MOTION to Compel Discovery by All Plaintiffs. (Ghezzi, Patti)
                     (Entered: 12/09/2014)
12/09/2014   133     BRIEF IN SUPPORT re 132 SECOND MOTION to Compel Discovery by All
                     Plaintiffs. (Attachments: # 1 A) Defendants' Responses to First Requests for
                     Documents, # 2 B) Plaintiffs' First Requests for Production of
                     Documents)(Ghezzi, Patti) (Entered: 12/09/2014)
12/09/2014   134     UNOPPOSED MOTION for Leave to File Excess Pages by All Plaintiffs.
                     (Ghezzi, Patti) (Entered: 12/09/2014)
12/09/2014   135     UNOPPOSED MOTION for Order to Allow Video Testimony by All Plaintiffs.
                     (Ghezzi, Patti) (Entered: 12/09/2014)
12/09/2014   136     ORDER re 131 FIRST MOTION to Compel 132 SECOND MOTION to
                     Compel Discovery: The motions are set for hearing on December 12, 2014, at
                     2:00 p.m. Defendants shall respond to the motions not later than December
                     11, 2014 at noon. In order to facilitate the courts determination of any
                     privilege or immunity issues raised by the motion at doc. no. 132, the
                     defendants are DIRECTED to deliver to the chambers of the undersigned
                     judge, not later than noon on December 11, copies of all documents that are
                     placed in issue by the motion at doc. no. 132 as to which work product
                     immunity or any privilege is asserted by or on behalf of the defendants. If the
                     issues presented by the motions are resolved by agreement, counsel shall
                     immediately so notify the court. Signed by Honorable Stephen P. Friot on
                     12/9/14. (kr) (Entered: 12/09/2014)
12/09/2014   137     ORDER granting 134 Motion for Leave to File Excess Pages. Signed by
                     Honorable Stephen P. Friot on 12/9/14. (kr) (Entered: 12/09/2014)
12/09/2014   138     ORDER granting 135 Motion for Order. IT IS THEREFORE ORDERED that
                     the Unopposed Motion to Allow Video Testimony is hereby granted and Dr.
                     Cohen and Dr. Lubarsky may appear via video at the preliminary injunction
                     hearing. Signed by Honorable Stephen P. Friot on 12/9/14. (kr) (Entered:


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                     12/09/2014)
12/09/2014   139     NOTICE of Conventional Filing Plaintiffs' Brief on Privilege Issues on Second
                     Motion to Compel Discovery by Patti P Ghezzi on behalf of All Plaintiffs
                     (Ghezzi, Patti) (Entered: 12/09/2014)
12/09/2014   140     MOTION for Protective Order by Steve Burrage, Gene Haynes, Frazier
                     Henke, Linda K Neal, Robert C Patton, Michael W Roach, Anita K Trammell,
                     Earnest D Ware. (Stewart, Aaron) (Entered: 12/09/2014)
12/09/2014   141     SEALED DOCUMENT by Benjamin R Cole, Carlos Cuesta−Rodriguez,
                     Nicholas A Davis, Richard S Fairchild, John M Grant, Wendell A Grissom,
                     Marlon D Harmon, Raymond E Johnson, Emmanuel A Littlejohn, James D
                     Pavatt, Kendrick A Simpson, Kevin R Underwood(Re: 139 Notice of
                     Conventional Filing )(Rose, Kathy) (Entered: 12/10/2014)
12/09/2014           Set/Reset Deadlines as to 131 FIRST MOTION to Compel Discovery, 132
                     SECOND MOTION to Compel Discovery. Responses due by noon on
                     12/11/2014. Motion Hearing set for 12/12/2014 02:00 PM in Courtroom 305
                     before Honorable Stephen P. Friot. (llg) (Entered: 12/10/2014)
12/10/2014   142     ORDER. Parties are DIRECTED to provide copies of their testifying experts'
                     Rule 26(a)(2) reports to the court, by delivery to the judge's courtroom deputy,
                     not later than 11:00 AM on 12/11/14. Signed by Honorable Stephen P. Friot
                     on 12/10/14. (llg) (Entered: 12/10/2014)
12/10/2014   143     UNOPPOSED MOTION for Leave /Unopposed Motion by Counsel for
                     Plaintiff Tremane Wood to Appear Telephonically at Hearing on December
                     12, 2014 at 2:00 p.m. by Tremane Wood. (Konrad, Robin) (Entered:
                     12/10/2014)
12/10/2014   144     ORDER granting 143 Unopposed Motion by Counsel for Plaintiff Tremane
                     Wood to Appear Telephonically at Hearing on December 12, 2014, at 2:00
                     p.m. Signed by Honorable Stephen P. Friot on 12/10/14. (llg) (Entered:
                     12/10/2014)
12/10/2014   145     ORDER denying 140 Defendants' Motion for Protective Order, as fully set out
                     in this order. Signed by Honorable Stephen P. Friot on 12/10/14. (llg)
                     (Entered: 12/10/2014)
12/11/2014   146     MOTION to Seal Document Response to Plaintiffs' [Doc. 141] by Steve
                     Burrage, Kevin J Gross, Gene Haynes, Frazier Henke, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware. (Stewart, Aaron)
                     (Entered: 12/11/2014)
12/11/2014   147     ORDER granting 146 Defendants' Motion for Leave of Court to File
                     Documents Under Seal. Signed by Honorable Stephen P. Friot on 12/11/14.
                     (llg) (Entered: 12/11/2014)
12/11/2014   148     RESPONSE to Motion re 131 FIRST MOTION to Compel Discovery filed by
                     Steve Burrage, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware. (Stewart, Aaron)
                     (Entered: 12/11/2014)
12/11/2014   149     RESPONSE to Motion re 132 SECOND MOTION to Compel Discovery filed
                     by Steve Burrage, Kevin J Gross, Gene Haynes, Frazier Henke, Linda K Neal,


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                     Robert C Patton, Michael W Roach, Anita K Trammell, Earnest D Ware.
                     (Attachments: # 1 Exhibit Document Log, # 2 Exhibit 11/24/2014 Discovery
                     ltr, # 3 Exhibit 11/26/2014 Discovery ltr, # 4 Exhibit 12/02/2014 Discovery ltr,
                     # 5 Exhibit 12/08/2014 Discovery ltr, # 6 Exhibit Privilege Log)(Stewart,
                     Aaron) (Entered: 12/11/2014)
12/11/2014   150     SEALED DOCUMENT by Steve Burrage, Kevin J Gross, Gene Haynes,
                     Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach, Anita K
                     Trammell, Earnest D Ware(Re: 132 SECOND MOTION to Compel Discovery
                     )(Rose, Kathy) (Entered: 12/11/2014)
12/11/2014   151     RESPONSE to Motion re 107 MOTION to Add Party filed by Steve Burrage,
                     Edward Evans, Kevin J Gross, Gene Haynes, Frazier Henke, Linda K Neal,
                     Robert C Patton, Michael W Roach, Anita K Trammell, Earnest D Ware.
                     (Stewart, Aaron) (Entered: 12/11/2014)
12/11/2014   152     NOTICE of Conventional Filing of Second Motion to Unseal by Patti P Ghezzi
                     on behalf of All Plaintiffs (Ghezzi, Patti) (Entered: 12/11/2014)
12/12/2014   153     REPLY by Plaintiffs Brenda E Andrew, James A Coddington, Benjamin R
                     Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S Fairchild,
                     Richard E Glossip, John M Grant, Wendell A Grissom, Phillip D Hancock,
                     Marlon D Harmon, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                     Emmanuel A Littlejohn, Alfred B Mitchell, James D Pavatt, Kendrick A
                     Simpson, Kevin R Underwood, Charles F Warner, Tremane Wood re 150
                     Sealed Document Response to Privilege Brief filed by All Plaintiffs.
                     (Attachments: # 1 Exhibit Executive Order)(Ghezzi, Patti) (Entered:
                     12/12/2014)
12/12/2014   154     SEALED MOTION by Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas
                     A Davis, Richard S Fairchild, John M Grant, Wendell A Grissom, Phillip D
                     Hancock, Marlon D Harmon, Raymond E Johnson, Julius D Jones, Emmanuel
                     A Littlejohn, James D Pavatt, Kendrick A Simpson, Kevin R Underwood,
                     Charles F Warner, Tremane Wood.(Re: 90 Protective Order )(Rose, Kathy)
                     (Entered: 12/12/2014)
12/12/2014   155     ORDER denying 97 Motion to Dismiss. After careful consideration,
                     defendants motion to dismiss is DENIED without prejudice to the possible
                     re−urging of some of defendants arguments at another stage, if and when
                     appropriate, with arguments carefully tailored to the evidence as it standsat
                     that time. Signed by Honorable Stephen P. Friot on 12/12/14. (kr) (Entered:
                     12/12/2014)
12/12/2014   156     Minute Entry for proceedings held before Honorable Stephen P. Friot: Hearing
                     on 131 Plaintiffs' First Motion to Compel Discovery and 132 Plaintiffs' Second
                     Motion to Compel Discovery. Motions denied as set forth in the minute.(Court
                     Reporter Tracy Washbourne.) (jy) (Entered: 12/12/2014)
12/12/2014   157     Proposed Findings of Fact by Defendants Steve Burrage, Kevin J Gross, Gene
                     Haynes, Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach,
                     Anita K Trammell, Earnest D Ware. (Stewart, Aaron) (Entered: 12/12/2014)
12/12/2014   158     TRIAL BRIEF by Defendants Steve Burrage, Kevin J Gross, Gene Haynes,
                     Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach, Anita K
                     Trammell, Earnest D Ware. (Stewart, Aaron) (Entered: 12/12/2014)


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12/12/2014   159     Proposed Findings of Fact by Plaintiffs Brenda E Andrew, James A
                     Coddington, Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis,
                     Richard S Fairchild, Richard E Glossip, John M Grant, Wendell A Grissom,
                     Phillip D Hancock, Marlon D Harmon, Shelton D Jackson, Raymond E
                     Johnson, Julius D Jones, Emmanuel A Littlejohn, Alfred B Mitchell, James D
                     Pavatt, Kendrick A Simpson, Kevin R Underwood, Charles F Warner,
                     Tremane Wood. (Ghezzi, Patti) (Entered: 12/12/2014)
12/12/2014   160     TRIAL BRIEF Preliminary Hearing Brief by Plaintiffs Brenda E Andrew,
                     James A Coddington, Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas
                     A Davis, Richard S Fairchild, Richard E Glossip, John M Grant, Wendell A
                     Grissom, Phillip D Hancock, Marlon D Harmon, Shelton D Jackson, Raymond
                     E Johnson, Julius D Jones, Emmanuel A Littlejohn, Alfred B Mitchell, James
                     D Pavatt, Kendrick A Simpson, Kevin R Underwood, Charles F Warner,
                     Tremane Wood. (Ghezzi, Patti) (Entered: 12/12/2014)
12/15/2014   161     MOTION in Limine and Brief in Support by All Plaintiffs. (Ghezzi, Patti)
                     (Entered: 12/15/2014)
12/15/2014   162     Minute Order. Proceedings held before Honorable Stephen P. Friot: Pretrial
                     Conference re Preliminary Injunction Hearing held on 12/15/2014. (Court
                     Reporter Tracy Washbourne.) (llg) (Entered: 12/15/2014)
12/16/2014   163     ENTER ORDER striking as moot 112 Plaintiffs' Motion to Quash Subpoenas.
                     Entered at the direction of Honorable Stephen P. Friot on 12/16/14. (llg)
                     (Entered: 12/16/2014)
12/16/2014   164     ENTRY of Appearance by Kim Max Rytter on behalf of Michael Thompson,
                     Stephen J Krise (Rytter, Kim) Modified on 12/16/2014 (llg). (Entered:
                     12/16/2014)
12/16/2014   165     MOTION to Quash Subpoena by Michael Thompson, Stephen J Krise.
                     (Rytter, Kim) Modified on 12/16/2014 (llg). (Entered: 12/16/2014)
12/16/2014           Docket Annotation: The docket text for doc. nos. 164 and 165 has been
                     modified to reflect that both filings were made on behalf of both Michael
                     Thompson and Stephen J Krise. (llg) (Entered: 12/16/2014)
12/16/2014   166     RESPONSE to Motion re 165 MOTION to Quash Subpoena filed by All
                     Plaintiffs. (Ghezzi, Patti) (Entered: 12/16/2014)
12/17/2014   167     ENTRY of Appearance by Robert D Nelon on behalf of Ziva Branstetter
                     (Nelon, Robert) (Entered: 12/17/2014)
12/17/2014   168     MOTION for Order for Objection to Sequestration Order and Request for
                     Relief by Ziva Branstetter. (Nelon, Robert) (Entered: 12/17/2014)
12/19/2014   169     REPLY re 151 Response to Motion by B.J. Stouffer (Attachments: # 1
                     Envelope)(kr) (Entered: 12/19/2014)
12/19/2014   170     Minute Order. Proceedings held before Honorable Stephen P. Friot:
                     Preliminary Injunction Hearing held on 12/17/2014, 12/18/2014 and
                     12/19/2014. 92 MOTION for Preliminary Injunction filed by John M Grant,
                     Charles F Warner, Benjamin R Cole, Richard E Glossip is TAKEN UNDER
                     ADVISEMENT. As to 168 Objection to Sequestration Order and Request for
                     Relief filed by Ziva Branstetter, court rules that Ms. Branstetter will be


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                     permitted to remain in the courtroom. 165 MOTION to Quash Subpoena filed
                     by Stephen J Krise, Michael Thompson is STRICKEN AS MOOT. Court will
                     rule from the bench on the motion for preliminary injunction at 3:00 PM on
                     12/22/2014 in Courtroom 305. (Court Reporter Tracy Washbourne.) (llg)
                     (Entered: 12/22/2014)
12/22/2014   171     ORDER denying 107 Motion for Additional Plaintiff to Proceedings by Bigler
                     J Stouffer II. Signed by Honorable Stephen P. Friot on 12/22/14. (llg)
                     (Entered: 12/22/2014)
12/22/2014   172     Minute Order. Proceedings held before Honorable Stephen P. Friot:
                     Preliminary Injunction Hearing completed on 12/22/2014. 161 Plaintiffs'
                     MOTION in Limine and Brief in Support as to the testimony of Dr. R. Lee
                     Evans is DENIED. 92 MOTION for Preliminary Injunction filed by John M
                     Grant, Charles F Warner, Benjamin R Cole, Richard E Glossip is without
                     merit and is in all things DENIED. Brief written order to follow. Parties'
                     exhibits are WITHDRAWN. (Court Reporter Tracy Washbourne.) (llg)
                     (Entered: 12/22/2014)
12/22/2014   173     ORDER denying 92 MOTION for Preliminary Injunction. Follows oral order
                     of 12/22/14. Signed by Honorable Stephen P. Friot on 12/22/14. (llg) (Entered:
                     12/22/2014)
12/23/2014   174     MOTION to Appoint Counsel by All Plaintiffs. (Ghezzi, Patti) (Entered:
                     12/23/2014)
12/23/2014   175     RESPONSE to Motion re 154 SEALED MOTION by Benjamin R Cole,
                     Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S Fairchild, John M
                     Grant, Wendell A Grissom, Phillip D Hancock, Marlon D Harmon, Raymond
                     E Johnson, Julius D Jones, Emmanuel A Littlejohn, James D Pavatt, Kendrick
                     A filed by Steve Burrage, Kevin J Gross, Gene Haynes, Frazier Henke, Linda
                     K Neal, Robert C Patton, Michael W Roach, Anita K Trammell, Earnest D
                     Ware. (Stewart, Aaron) (Entered: 12/23/2014)
12/23/2014   176     NOTICE OF APPEAL as to 173 Order − Written Order Following Oral Order
                     on Motion by Benjamin R Cole, Richard E Glossip, John M Grant, Charles F
                     Warner. (Ghezzi, Patti) (Entered: 12/23/2014)
12/23/2014   177     ORDER granting 174 Motion to Appoint Counsel. Signed by Honorable
                     Stephen P. Friot on 12/23/14. (kr) (Entered: 12/23/2014)
12/23/2014   178     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                     12/17/14, 12/18/14, 12/19/14 before Judge Friot. Court Reporter: Tracy
                     Washbourne, Telephone number 405−609−5505. Transcript of: Preliminary
                     Injunction Hearing Transcript may be viewed at the court public terminal or
                     purchased through the Court Reporter/Transcriber before the deadline for
                     Release of Transcript Restriction. After that date it may be obtained through
                     PACER. Redaction Request due 1/13/2015. Redacted Transcript Deadline set
                     for 1/23/2015. Release of Transcript Restriction set for 3/23/2015. (tw, )
                     (Entered: 12/23/2014)
12/23/2014   179     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                     12/22/14 before Judge Friot. Court Reporter: Tracy Washbourne, Telephone
                     number 405−609−5505. Transcript of: Court's Ruling Transcript may be
                     viewed at the court public terminal or purchased through the Court


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                     Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                     After that date it may be obtained through PACER. Redaction Request due
                     1/13/2015. Redacted Transcript Deadline set for 1/23/2015. Release of
                     Transcript Restriction set for 3/23/2015. (tw, ) (Entered: 12/23/2014)
12/23/2014   180     PRELIMINARY RECORD LETTER − Electronic Transmission of Notice of
                     Appeal with Preliminary Record sent to Tenth Circuit Court of Appeals re 176
                     Notice of Appeal (kr) (Entered: 12/23/2014)
12/23/2014   181     Tenth Circuit Court of Appeals USCA Case Number 14−6244 for 176 Notice
                     of Appeal filed by John M Grant, Charles F Warner, Benjamin R Cole,
                     Richard E Glossip. (kr) (Entered: 12/24/2014)
12/24/2014   182     USCA Appeal Fee received in the amount of $ 505, receipt number
                     OKW500043906, re 176 Notice of Appeal filed by John M Grant, Charles F
                     Warner, Benjamin R Cole, Richard E Glossip (kr) (Entered: 12/24/2014)
12/24/2014   183     DESIGNATION of Record on Appeal by Benjamin R Cole, Richard E
                     Glossip, John M Grant, Charles F Warner re 176 Notice of Appeal
                     (Attachments: # 1 Attachment Docket Sheet)(Ghezzi, Patti) (Entered:
                     12/24/2014)
12/24/2014   184     LETTER − Record Sent Electronically to USCA Volume(s) 3 re 176 Notice of
                     Appeal (kr) (Entered: 12/24/2014)
12/30/2014   185     STATUS/SCHEDULING CONFERENCE DOCKET: Scheduling Conference
                     set for 2/2/2015 09:00 AM in Chambers before Honorable Stephen P. Friot.
                     Status Report due by 1/29/2015. (llg) (Entered: 12/30/2014)
01/06/2015   186     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                     12/15/14 before Judge Friot. Court Reporter: Tracy Washbourne, Telephone
                     number 405−609−5505. re 176 Notice of Appeal filed by John M Grant,
                     Charles F Warner, Benjamin R Cole, Richard E Glossip Transcript of: Pretrial
                     conference hearing Transcript may be viewed at the court public terminal or
                     purchased through the Court Reporter/Transcriber before the deadline for
                     Release of Transcript Restriction. After that date it may be obtained through
                     PACER. Redaction Request due 1/27/2015. Redacted Transcript Deadline set
                     for 2/6/2015. Release of Transcript Restriction set for 4/6/2015. (tw, )
                     (Entered: 01/06/2015)
01/12/2015   187     USCA OPINION as to 176 Notice of Appeal filed by John M Grant, Charles F
                     Warner, Benjamin R Cole, Richard E Glossip. The district court's order
                     denying a preliminary injunction is AFFIRMED. Plaintiffs' emergency motion
                     for a stay of execution pending appeal is DENIED. (kr) Modified on
                     1/13/2015 (kr). (Entered: 01/13/2015)
01/12/2015   188     USCA JUDGMENT as to 176 Notice of Appeal filed by John M Grant,
                     Charles F Warner, Benjamin R Cole, Richard E Glossip. This case originated
                     in the Western District of Oklahoma and was submitted on the briefs at the
                     direction of the court. The judgment of that court is affirmed. (kr) (Entered:
                     01/13/2015)
01/13/2015           Docket Annotation: Doc. 187 docket text changed to correct spelling error.
                     (kr) Modified on 1/13/2015 (llg). (Entered: 01/13/2015)
01/14/2015   189

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                     PETITION FOR WRIT OF CERTIORARI re Supreme Court Number:
                     14−7955. (kr) (Entered: 01/15/2015)
01/15/2015   190     STAY OF EXECUTION Denied. (kr) Modified on 1/16/2015 (kr). (Entered:
                     01/16/2015)
01/16/2015           Docket Annotation:Docket text changed on Doc. 190 to properly reflect the
                     pleading. (kr) (Entered: 01/16/2015)
01/20/2015   191     ORDER regarding 154 Plaintiffs' Sealed Second Motion to Unseal Pursuant to
                     the Protective Order (as fully set out in this order). Signed by Honorable
                     Stephen P. Friot on 1/20/15. (llg) (Entered: 01/20/2015)
01/22/2015   192     NOTICE (other) by Steve Burrage, Kevin J Gross, Gene Haynes, Frazier
                     Henke, Linda K Neal, Robert C Patton, Michael W Roach, Anita K Trammell,
                     Earnest D Ware re 191 Order on Sealed Motion (Stewart, Aaron) (Entered:
                     01/22/2015)
01/23/2015   194     PETITION FOR WRIT OF CERTIORARI Granted. The motion of petitioners
                     for leave to proceed in forma pauperis and the petition for a writ of certiorari
                     are granted. (kr) (Entered: 01/26/2015)
01/26/2015   193     ENTER ORDER striking 2/2/15 status/scheduling conference, striking 1/29/15
                     ddl for filing of jt status report, to be reset at a later date. Entered at the
                     direction of Honorable Stephen P. Friot on 1/26/15. (llg) (Entered:
                     01/26/2015)
01/28/2015   195     ORDER of United States Supreme Court as to 176 Notice of Appeal filed by
                     John M Grant, Charles F Warner, Benjamin R Cole, Richard E Glossip.
                     Respondents application for stays of execution of sentences of death presented
                     to Justice Sotomayor and by her referred to the Court is granted and it is
                     hereby ordered that petitioners executions using midazolam are stayed pending
                     final disposition of this case. (kr) (Entered: 01/28/2015)
02/03/2015   196     ORDER of USCA as to 176 Notice of Appeal filed by John M Grant, Charles
                     F Warner, Benjamin R Cole, Richard E Glossip. In light of the grant of
                     certiorari review in this matter, the mandate of this court is stayed pending the
                     United States Supreme Courts final disposition. See Fed. R. App. P.
                     41(d)(2)(B). (kr) (Entered: 02/04/2015)
02/24/2015   197     SEALED DOCUMENT by Brenda E Andrew, James A Coddington,
                     Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S
                     Fairchild, Richard E Glossip, John M Grant, Wendell A Grissom, Phillip D
                     Hancock, Marlon D Harmon, Shelton D Jackson, Raymond E Johnson, Julius
                     D Jones, Emmanuel A Littlejohn, Alfred B Mitchell, James D Pavatt,
                     Kendrick A Simpson, Kevin R Underwood, Charles F Warner, Tremane
                     Wood(Re: 175 Response to Motion, )(Rose, Kathy) (Entered: 02/25/2015)
03/04/2015   198     SEALED DOCUMENT by Steve Burrage, Kevin J Gross, Gene Haynes,
                     Frazier Henke, Linda K Neal, Robert C Patton, Michael W Roach, Anita K
                     Trammell, Earnest D Ware(Re: 191 Order on Sealed Motion )(Rose, Kathy)
                     (Entered: 03/04/2015)
03/16/2015   199     SEALED DOCUMENT by Brenda E Andrew, James A Coddington,
                     Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Richard S
                     Fairchild, Richard E Glossip, John M Grant, Wendell A Grissom, Phillip D

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                     Hancock, Marlon D Harmon, Shelton D Jackson, Raymond E Johnson, Julius
                     D Jones, Emmanuel A Littlejohn, Alfred B Mitchell, James D Pavatt,
                     Kendrick A Simpson, Kevin R Underwood, Charles F Warner, Tremane
                     Wood(Re: 198 Sealed Document)(llg) (Entered: 03/16/2015)
03/17/2015   200     NOTICE (other) by Kevin J Gross, Gene Haynes, Frazier Henke, Linda K
                     Neal, Robert C Patton, Michael W Roach, Anita K Trammell, Earnest D Ware
                     re 191 Order on Sealed Motion Regarding Production (Stewart, Aaron)
                     (Entered: 03/17/2015)
03/18/2015   201     RESPONSE re 200 Notice (other) Notice to the Court filed by All Plaintiffs.
                     (Ghezzi, Patti) (Entered: 03/18/2015)
03/19/2015   202     USCA LETTER re 195 USCA Order. (kr) (Entered: 03/19/2015)
03/27/2015   203     ORDER granting in part and denying in part, as stated in this order, 154
                     Plaintiffs' Sealed Second Motion to Unseal Pursuant to the Protective Order.
                     The restraint of the protective order in this case shall not apply to the passages
                     that the court has, in this order, determined shall not be redacted. Signed by
                     Honorable Stephen P. Friot on 3/27/15. (llg) (Entered: 03/27/2015)
06/29/2015   204     Opinion of the Court, affirming the judgment of the Court of Appeals for the
                     Tenth Circuit.(kr) Modified on 6/30/2015 (kr). (Entered: 06/30/2015)
06/30/2015           Docket Annotation:Docket text of Doc. 204 corrected to reflect correct
                     pleading. (kr) (Entered: 06/30/2015)
07/01/2015   205     UNOPPOSED MOTION for Leave to File Excess Pages by Steve Burrage,
                     Kevin J Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware. (Hadden, John)
                     (Entered: 07/01/2015)
07/01/2015   206     ORDER granting 205 Defendants' Unopposed Motion to File Oversized Brief.
                     Signed by Honorable Stephen P. Friot on 7/1/15. (llg) (Main Document 206
                     replaced on 7/1/2015) (llg). (Entered: 07/01/2015)
07/01/2015           Docket Annotation: The document attached at doc. no. 206 has been replaced
                     with a corrected document. The nef for doc. no. 206 will be regenerated. (llg)
                     (Entered: 07/01/2015)
07/01/2015   207     ENTER ORDER. Status/Scheduling Conference set for 7/7/2015 11:00 AM in
                     Chambers before Honorable Stephen P. Friot. Entered at the direction of
                     Honorable Stephen P. Friot on 7/1/15. (llg) (Entered: 07/01/2015)
07/06/2015   208     NOTICE (other) by Kevin J Gross, Gene Haynes, Frazier Henke, Linda K
                     Neal, Robert C Patton, Michael W Roach, Anita K Trammell, Earnest D Ware
                     Regarding Execution Protocol (Attachments: # 1 Exhibit 1 − OP−040301 −
                     Effective 6.30.15, # 2 Exhibit 2 − Summary of Changes to Protocol)(Hadden,
                     John) (Entered: 07/06/2015)
07/07/2015   209     SCHEDULING ORDER: Motions to join due 8/1/15; Motions to amend due
                     8/1/15; Pla expert witness list and expert reports due 11/20/15; Dft expert
                     witness list and expert reports due 21 days t/a; Pla witness list due 12/10/15;
                     Dft witness list due 14 days t/a; Pla exhibit list due 12/10/15; Dft exhibit list
                     due 14 days t/a; Motions in limine due 3/22/16; Trial briefs due 3/22/16;
                     Proposed Findings of Fact and Conclusions due 3/22/16; Bench Trial set for


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                     4/12/2016 09:30 AM in Courtroom 305 before Honorable Stephen P. Friot.
                     Discovery due by 3/15/2016. Dispositive & Daubert Motions due by 1/1/2016.
                     Pretrial Report due by 3/22/2016. The scheduling that is put in place by this
                     Scheduling Order is not indicative of the appropriateness of entry of a stay of
                     execution by this court as to any present or future plfs in this action. Both sides
                     are granted leave to file dispositive mtns & responses to dispositive mts of up
                     to 50 pgs in length. From this point forward, the style of this case shall be
                     Richard E. Glossip, et al. v. Kevin J. Gross, et al. Entered at the direction of
                     Honorable Stephen P. Friot on 7/7/15. (llg) (Entered: 07/07/2015)
07/08/2015   210     NOTICE (other) by Steve Burrage, Kevin J Gross, Gene Haynes, Frazier
                     Henke, Robert C Patton, Michael W Roach, Anita K Trammell, Earnest D
                     Ware of Execution Dates (Attachments: # 1 Exhibit 1 − Okla. Court of Crim.
                     App. Orders Setting Executions of Glossip, Cole & Grant)(Joseph, Jeb)
                     (Entered: 07/08/2015)
08/03/2015   211     MOTION to Amend/Correct Complaint and to Name Additional Defendants
                     by Brenda E Andrew, James A Coddington, Benjamin R Cole, Carlos
                     Cuesta−Rodriguez, Nicholas A Davis, Richard S Fairchild, Richard E Glossip,
                     John M Grant, Wendell A Grissom, Phillip D Hancock, Marlon D Harmon,
                     Shelton D Jackson, Raymond E Johnson, Julius D Jones, Emmanuel A
                     Littlejohn, Alfred B Mitchell, James D Pavatt, Kendrick A Simpson, Kevin R
                     Underwood, Tremane Wood. (Attachments: # 1 Attachment Second Amended
                     Complaint)(Ghezzi, Patti) (Entered: 08/03/2015)
08/07/2015   212     RESPONSE in Opposition re 211 MOTION to Amend/Correct Complaint and
                     to Name Additional Defendants and Brief in Support filed by Steve Burrage,
                     Kevin J Gross, Gene Haynes, Frazier Henke, Linda K Neal, Robert C Patton,
                     Michael W Roach, Anita K Trammell, Earnest D Ware. (Hadden, John)
                     (Entered: 08/07/2015)
08/10/2015   213     REPLY to Response to Motion re 211 MOTION to Amend/Correct Complaint
                     and to Name Additional Defendants filed by All Plaintiffs. (Ghezzi, Patti)
                     (Entered: 08/10/2015)
08/11/2015   214     ORDER granting 211 Plaintiff's Motion for Leave to Amend Complaint and to
                     Name Additional Defendants. Plfs may file their Second Amended Complaint
                     within 3 business days of this date. If they fail to do so, this action will
                     proceed under the First Amended Complaint. Signed by Honorable Stephen P.
                     Friot on 8/11/15. (llg) (Entered: 08/11/2015)
08/11/2015   215     AMENDED COMPLAINT Second against All Defendants filed by All
                     Plaintiffs.(Ghezzi, Patti) (Entered: 08/11/2015)
08/12/2015   216     Summons Issued Electronically as to Edward Evans, John T Holder, Irma J
                     Newburn, David Parker, James M Tilly, Greg Williams. (kr) (Entered:
                     08/12/2015)
08/12/2015   217     SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Phillip D Hancock, Richard E Glossip, Kevin
                     R Underwood, Alfred B Mitchell, Raymond E Johnson, Emmanuel A
                     Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin R Cole,
                     Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A Grissom,
                     Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Edward Evans
                     served on 8/12/2015. (Ghezzi, Patti) (Entered: 08/12/2015)

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08/12/2015   218     SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Phillip D Hancock, Richard E Glossip, Kevin
                     R Underwood, Alfred B Mitchell, Raymond E Johnson, Emmanuel A
                     Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin R Cole,
                     Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A Grissom,
                     Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. John T Holder
                     served on 8/12/2015. (Ghezzi, Patti) (Entered: 08/12/2015)
08/12/2015   219     SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Phillip D Hancock, Richard E Glossip, Kevin
                     R Underwood, Alfred B Mitchell, Raymond E Johnson, Emmanuel A
                     Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin R Cole,
                     Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A Grissom,
                     Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Irma J Newburn
                     served on 8/12/2015. (Ghezzi, Patti) (Entered: 08/12/2015)
08/12/2015   220     SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Phillip D Hancock, Richard E Glossip, Kevin
                     R Underwood, Alfred B Mitchell, Raymond E Johnson, Emmanuel A
                     Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin R Cole,
                     Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A Grissom,
                     Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. David Parker
                     served on 8/12/2015. (Ghezzi, Patti) (Entered: 08/12/2015)
08/12/2015   221     SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Phillip D Hancock, Richard E Glossip, Kevin
                     R Underwood, Alfred B Mitchell, Raymond E Johnson, Emmanuel A
                     Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin R Cole,
                     Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A Grissom,
                     Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. James M Tilly
                     served on 8/12/2015. (Ghezzi, Patti) (Entered: 08/12/2015)
08/12/2015   222     SUMMONS Returned Executed by Tremane Wood, John M Grant, Shelton D
                     Jackson, James A Coddington, Phillip D Hancock, Richard E Glossip, Kevin
                     R Underwood, Alfred B Mitchell, Raymond E Johnson, Emmanuel A
                     Littlejohn, Kendrick A Simpson, Richard S Fairchild, Benjamin R Cole,
                     Marlon D Harmon, James D Pavatt, Brenda E Andrew, Wendell A Grissom,
                     Carlos Cuesta−Rodriguez, Julius D Jones, Nicholas A Davis. Greg Williams
                     served on 8/12/2015. (Ghezzi, Patti) (Entered: 08/12/2015)
08/18/2015   223     MOTION for Summary Judgment as Fairchild's Claims and Brief in Support
                     by Robert C Patton. (Attachments: # 1 Exhibit 1 − 2015−08−11 − Ghezzie ltr
                     re drugs to use in execution, # 2 Exhibit 2 − Transcript of Prelim. Injunct
                     Hearing, # 3 Exhibit 3 − Warner Execution Timeline dated 1.15.15, # 4
                     Attachment Osborn v Shillinger (unpublished case))(Stewart, Aaron)
                     (STRICKEN AS WITHDRAWN pursuant to doc. no. 252 and 10/2/2015
                     Notice from the Court.) Modified on 10/2/2015 (llg). (Entered: 08/18/2015)
08/19/2015   224     ORDER. The court notes the filing of 223 Director Patton's Motion for
                     Summary Judgment as to Plaintiff Fairchild's Claims. Under the circumstances
                     of this case, the court will observe, at least preliminarily, that it does not
                     appear that the filing of multiple mtns under Rule 56 by any one dft would be
                     necessary or desirable. The court will, of course, proceed to address Director
                     Patton's mtn in due course, after it is at issue. However, the court gives no

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                     assurance that it will permit the filing of multiple mtns, by any one dft, under
                     Rule 56. Signed by Honorable Stephen P. Friot on 8/19/15. (llg) (Entered:
                     08/19/2015)
08/24/2015   225     ENTRY of Appearance by John D Hadden on behalf of Edward Evans, John T
                     Holder, Irma J Newburn, David Parker, James M Tilly, Greg Williams
                     (Hadden, John) (Entered: 08/24/2015)
08/24/2015   226     ENTRY of Appearance by Jeb E Joseph on behalf of Edward Evans, John T
                     Holder, Irma J Newburn, David Parker, James M Tilly, Greg Williams
                     (Joseph, Jeb) (Entered: 08/24/2015)
08/24/2015   227     ENTRY of Appearance by Aaron J Stewart on behalf of Edward Evans, John
                     T Holder, Irma J Newburn, David Parker, James M Tilly, Greg Williams
                     (Stewart, Aaron) (Entered: 08/24/2015)
08/24/2015   228     ANSWER to 215 Amended Complaint by Steve Burrage, Edward Evans,
                     Kevin J Gross, Gene Haynes, Frazier Henke, John T Holder, Linda K Neal,
                     Irma J Newburn, David Parker, Robert C Patton, Michael W Roach, James M
                     Tilly, Anita K Trammell, Earnest D Ware, Greg Williams.(Stewart, Aaron)
                     (Entered: 08/24/2015)
08/28/2015   229     ORDER of Supreme Court. Rehearings Denied. (kr) (Entered: 08/28/2015)
08/28/2015   230     USCA MANDATE Issued re 176 Notice of Appeal filed by John M Grant,
                     Charles F Warner, Benjamin R Cole, Richard E Glossip (kr) (Entered:
                     08/28/2015)
09/08/2015   231     UNOPPOSED MOTION for Extension of Time to File Response/Reply to
                     Defendant Patton's Motion for Summary Judgment by Richard S Fairchild.
                     (Ghezzi, Patti) (Entered: 09/08/2015)
09/08/2015   232     ORDER granting 231 Unopposed Motion by Plaintiff Richard Fairchild to
                     Extend Time to File Response to 223 Defendant Patton's MOTION for
                     Summary Judgment as to Fairchild's Claims and Brief in Support. Response
                     due by 9/11/2015. Signed by Honorable Stephen P. Friot on 9/8/15. (llg)
                     (Entered: 09/08/2015)
09/09/2015   233     SECOND MOTION for Extension of Time to File Response/Reply to
                     Defendant Patton's Motion for Summary Judgment by Richard S Fairchild.
                     (Ghezzi, Patti) (Entered: 09/09/2015)
09/09/2015   234     ORDER granting 233 Second Unopposed Motion by Plaintiff Richard
                     Fairchild to Extend Time to File Response to 223 Defendant Patton's
                     MOTION for Summary Judgment as to Fairchild's Claims and Brief in
                     Support. Response due by 9/14/2015. Signed by Honorable Stephen P. Friot
                     on 9/9/15. (llg) (Entered: 09/09/2015)
09/15/2015   235     RESPONSE in Opposition re 223 MOTION for Summary Judgment as
                     Fairchild's Claims and Brief in Support filed by Richard S Fairchild.
                     (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, #
                     6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, #
                     12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17
                     Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21 Exhibit, # 22 Exhibit, #
                     23 Exhibit, # 24 Exhibit)(Ghezzi, Patti) (Entered: 09/14/2015)


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09/15/2015           NOTICE from the Court re 235 Plaintiff Richard Fairchild's Opposition to
                     Defendant Patton's Motion for Summary Judgment. Counsel for plaintiff
                     Richard Fairchild is DIRECTED, in future filings, to comply with the court's
                     ECF Policies & Procedures Manual, Section II.A.4.a. − "... A description
                     [more than just the exhibit no.] of the numbered exhibit must be provided in
                     the docket entry...." Failure to comply in the future may result in filings being
                     stricken. (llg) (Entered: 09/15/2015)
09/16/2015   236     EMERGENCY MOTION for Preliminary Injunction by Richard E Glossip.
                     (Attachments: # 1 Exhibit Letter to Patti Ghezzi from Jeb Joseph regarding
                     discovery, dated September 15, 2015, # 2 Exhibit Letter to Jeb Joseph from
                     Patti Ghezzi−Redacted, dated September 15, 2015, # 3 Exhibit Email to Jeb
                     Joseph from Patti Ghezzi, # 4 Exhibit Expert Report of Craig Stevens, Ph.D.,
                     Determination of the Intravenous Dose of Midazolam that Produces a Ceiling
                     Effect in the Human Brain, September 10, 2015, # 5 Exhibit Declaration of
                     Kimberly Ludwig, dated September 11, 2015, # 6 Exhibit Declaration of Julie
                     Gardner, dated September 11, 2015, # 7 Exhibit Execution List 2015, Death
                     Penalty Information Center, # 8 Exhibit Texas Department of Criminal Justice,
                     Executed Offenders, # 9 Exhibit Letter to Patti Ghezzi from Jeb Joseph, dated
                     September 16, 2015)(Ghezzi, Patti) (Entered: 09/16/2015)
09/16/2015   237     ORDER Setting Hearing on 236 Plaintiff Richard E. Glossip's EMERGENCY
                     MOTION for Preliminary Injunction: Motion Hearing set for 9/25/2015 08:00
                     AM in Courtroom 305 before Honorable Stephen P. Friot. Responses due by
                     9/23/2015. Signed by Honorable Stephen P. Friot on 9/16/15. (llg) (Entered:
                     09/16/2015)
09/16/2015   238     NOTICE (other) by Richard E Glossip (Attachments: # 1 Exhibit Order
                     Granting Emergency Request for Stay of Execution and Resetting Execution
                     Date)(Ghezzi, Patti) (Entered: 09/16/2015)
09/16/2015   239     MOTION for Extension of Time to File Reply by Robert C Patton. (Stewart,
                     Aaron) Modified on 9/16/2015 (llg). (Entered: 09/16/2015)
09/16/2015   240     ORDER granting 239 Defendant's Motion for Extension of Time to File Reply
                     re 223 MOTION for Summary Judgment as to Fairchild's Claims and Brief in
                     Support. Reply due by 9/23/2015. Signed by Honorable Stephen P. Friot on
                     9/16/15. (llg) (Entered: 09/16/2015)
09/22/2015   241     MOTION to Quash Subpoena by Robert C Patton. (Attachments: # 1 Exhibit 1
                     − Subpoena to Testify at Depo to Director Patton, # 2 Exhibit 2 − Email dated
                     9/03/15, # 3 Exhibit 3 − Email dated 9/11/15 at 1:25:44pm, # 4 Exhibit 4 −
                     Email dated 9/11/15 at 2:21:18pm, # 5 Exhibit 5 − Excerpts of OP−040301 −
                     Effective 9/30/14)(Joseph, Jeb) (Entered: 09/22/2015)
09/22/2015   242     RESPONSE to Motion re 241 MOTION to Quash Subpoena filed by Richard
                     E Glossip. (Ghezzi, Patti) (Entered: 09/22/2015)
09/22/2015   243     ENTER ORDER striking as moot 241 Defendant Robert Patton's Objection
                     and Motion to Quash Subpoena and Brief in Support. Entered at the direction
                     of Honorable Stephen P. Friot on 9/22/15. (llg) (Entered: 09/22/2015)
09/22/2015   244     NOTICE (other) by Richard E Glossip (Ghezzi, Patti) (Entered: 09/22/2015)
09/23/2015   245


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                     ENTER ORDER. In light of the filing of 244 Notice of Withdrawal of
                     Emergency Motion for Preliminary Injunction on behalf of Richard E. Glossip,
                     the court STRIKES AS WITHDRAWN 236 Emergency Motion for
                     Preliminary Injunction on behalf of Plaintiff Richard E. Glossip and STRIKES
                     9/25/15 hearing on same. Entered at the direction of Honorable Stephen P.
                     Friot on 9/23/15. (llg) (Entered: 09/23/2015)
09/23/2015   246     REPLY to Response to Motion re 223 MOTION for Summary Judgment as
                     Fairchild's Claims and Brief in Support filed by Robert C Patton.
                     (Attachments: # 1 Exhibit 1 − Affidavit of Shawn Dodson, # 2 Exhibit 2 −
                     Affidavit of David Parker, # 3 Exhibit 3 − Petition − Lockett v Patton −
                     CV−14−637, # 4 Exhibit 4 − Order − Lockett v Patton − O−14−361)(Stewart,
                     Aaron) (Entered: 09/23/2015)
09/24/2015   247     UNOPPOSED MOTION to Supplement Opposition to Defendant Patton's
                     Motion for Summary Judgment by Richard S Fairchild. (Attachments: # 1
                     Exhibit 24) Decl. of Robert Lee, # 2 Exhibit 24−A) Letter from VDOC dated
                     9−16−15, # 3 Exhibit 24−B) DEA receipt, # 4 Exhibit 24−C) photo of pento
                     bottles, # 5 Exhibit 25) Decl. of Patti Ghezzi, # 6 Exhibit 25−A) Email dated
                     8−19−15, # 7 Exhibit 25−B) Email dated 8−21−15, # 8 Exhibit 25−C) Email
                     dated 8−21−15, # 9 Exhibit 25−D) Email dated 8−25−15, # 10 Exhibit 25−E)
                     Email dated 9−3−15, # 11 Exhibit 25−F) Email dated 9−23−15, # 12 Exhibit
                     25−G) Email dated 9−18−15)(Ghezzi, Patti) (Entered: 09/24/2015)
09/25/2015   248     ORDER granting 247 Plaintiff Fairchild's Motion to Supplement His
                     Opposition to Defendant Patton's Motion for Summary Judgment. The
                     supplement shall be filed within 3 business days of this date. Any response to
                     the supplement which is necessary shall be filed within 7 days of the filing of
                     the supplement. Signed by Honorable Stephen P. Friot on 9/25/15. (llg)
                     (Entered: 09/25/2015)
09/30/2015   249     RESPONSE in Opposition re 223 MOTION for Summary Judgment as
                     Fairchild's Claims and Brief in Support Supplement filed by Richard S
                     Fairchild. (Attachments: # 1 Exhibit Dec of R Lee, # 2 Exhibit Ltr from
                     VDOC 9−16−15, # 3 Exhibit DEA Receipt, # 4 Exhibit photos of pento
                     bottles, # 5 Exhibit 2nd Dec of P Ghezzi, # 6 Exhibit Email dated 8−19−15, #
                     7 Exhibit Email dated 8−21−15, # 8 Exhibit Email dated 8−21−15, # 9 Exhibit
                     Email dated 8−25−15, # 10 Exhibit Email dated 9−3−15, # 11 Exhibit Email
                     dated 9−23−15, # 12 Exhibit Email dated 9−18−15, # 13 Exhibit Email JJ to
                     PG 9−25−15, # 14 Exhibit Email PG to JJ 9−25−15, # 15 Exhibit TDCJ
                     Execution dates)(Ghezzi, Patti) (Entered: 09/30/2015)
10/01/2015   250     NOTICE (other) by Steve Burrage, Edward Evans, Kevin J Gross, Gene
                     Haynes, Frazier Henke, John T Holder, Linda K Neal, Irma J Newburn, David
                     Parker, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell, Earnest D Ware, Greg Williams (Attachments: # 1 Exhibit State's
                     Notice and Request for Stay of Execution Dates)(Hadden, John) (Entered:
                     10/01/2015)
10/02/2015   251     NOTICE (other) by Steve Burrage, Edward Evans, Kevin J Gross, Gene
                     Haynes, Frazier Henke, John T Holder, Linda K Neal, Irma J Newburn, David
                     Parker, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell, Earnest D Ware, Greg Williams (Attachments: # 1 Exhibit 1 −
                     OCCA Order)(Hadden, John) (Entered: 10/02/2015)

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10/02/2015   252     NOTICE (other) by Robert C Patton of Withdraw of Motion for Summary
                     Judgment (Stewart, Aaron) (Entered: 10/02/2015)
10/02/2015           NOTICE from the Court. In light of the filing of 252 Defendant Patton's
                     Notice of Withdrawal of Motion for Summary Judgment, the court STRIKES
                     AS WITHDRAWN 223 Defendant Patton's MOTION for Summary Judgment
                     as to Fairchild's Claims and Brief in Support. (llg) (Entered: 10/02/2015)
10/08/2015   253     MOTION for Leave to Amend Answer [Doc. 228] by Steve Burrage, Edward
                     Evans, Kevin J Gross, Gene Haynes, Frazier Henke, John T Holder, Linda K
                     Neal, Irma J Newburn, David Parker, Robert C Patton, Michael W Roach,
                     James M Tilly, Anita K Trammell, Earnest D Ware, Greg Williams. (Stewart,
                     Aaron) (Entered: 10/08/2015)
10/09/2015   254     RESPONSE in Opposition re 253 MOTION for Leave to Amend Answer
                     [Doc. 228] to Second Amended Complaint and Plaintiffs' Request for Status
                     Conference filed by All Plaintiffs. (Ghezzi, Patti) (Entered: 10/09/2015)
10/09/2015   255     ORDER granting 253 Motion for Leave to Amend Answer. Defendants
                     amended answer is DUE within fourteen days of the date of this order.
                     Plaintiffs response brief includes a request for the court to set another
                     statusconference. The court declines to set another status conference at this
                     time. Accordingly,plaintiffs request (which is improperly embedded in
                     plaintiffs response brief, see LCvR7.1(c)) is DENIED. A party who wishes to
                     raise any scheduling matters may do so by motion. Signed by Honorable
                     Stephen P. Friot on 10/9/15. (kr) (Entered: 10/09/2015)
10/13/2015   256     MOTION for Leave to File Sealed Ex Parte Motion for Relief by Steve
                     Burrage, Edward Evans, Kevin J Gross, Gene Haynes, Frazier Henke, John T
                     Holder, Linda K Neal, Irma J Newburn, David Parker, Robert C Patton,
                     Michael W Roach, James M Tilly, Anita K Trammell, Earnest D Ware, Greg
                     Williams. (Stewart, Aaron) (Entered: 10/13/2015)
10/13/2015   257     RESPONSE to Motion re 256 MOTION for Leave to File Sealed Ex Parte
                     Motion for Relief filed by Richard E Glossip. (Ghezzi, Patti) (Entered:
                     10/13/2015)
10/14/2015   258     ORDER granting 256 Defendants' Motion for Leave to File Sealed Ex Parte
                     Motion for Relief. Signed by Honorable Stephen P. Friot on 10/14/15. (llg)
                     (Entered: 10/14/2015)
10/16/2015   259     NOTICE (other) by All Plaintiffs Joint Stipulation for Administrative Closing
                     of Case (Konrad, Robin) (Entered: 10/16/2015)
10/16/2015   260     ADMINISTRATIVE CLOSING ORDER granting 259 Joint Stipulation for
                     Administrative Closing of Case, as fully set out in this order. Signed by
                     Honorable Stephen P. Friot on 10/16/15. (llg) (Entered: 10/16/2015)
11/08/2018   261     MOTION to Join filed by Wade Lay. (Attachments: # 1 Exhibit 1 Court
                     Documents Regarding Lay, # 2 Exhibit 2 Misc. Documents Regarding
                     CIV−17−1224−D, # 3 Envelope)(kr) Modified on 11/15/2018 (llg). (Entered:
                     11/09/2018)
11/15/2018   262     ORDER striking 261 MOTION to Join filed by Wade Lay, w/o prejudice to
                     refiling at such time as this action is reopened, or if & when any steps are
                     taken by the State of Okla or any of its employees, contractors or agents, or by

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                     any of the dfts in this action, to set an execution date specific to Mr. Lay or to
                     otherwise proceed with Mr. Lay's execution. If any such event occurs, then
                     Mr. Lay may, at that time, file a new mtn seeking leave to intervene in this
                     action as a party plf. The clerk is DIRECTED to return Mr. Lay's original
                     papers to him & to send Mr. Lay a copy of 260 Administrative Closing Order,
                     along with a copy of this order. Signed by Honorable Stephen P. Friot on
                     11/15/2018. (llg) (Entered: 11/15/2018)
12/06/2018   263     MOTION to Join filed by Wade Lay. (Attachments: # 1 Envelope)(kr)
                     (Entered: 12/07/2018)
12/06/2018   264     MOTION for Evidentiary Hearing and Necessary Order of Protection filed by
                     Wade Lay. (Attachments: # 1 Envelope)(kr) (Entered: 12/07/2018)
12/10/2018   265     ORDER denying 263 Wade Lay's Motion for Joinder of Parties; denying 264
                     Wade Lay's Motion for Evidentiary Hearing and Necessary Order of
                     Protection. Signed by Honorable Stephen P. Friot on 12/10/2018. (llg)
                     (Entered: 12/10/2018)
12/10/2018   266     ADDENDUM to Motion for Evidentiary Hearing and Necessary Injunctive
                     Relief filed by Wade Lay. (Attachments: # 1 Envelope)(kr) Modified on
                     12/11/2018 (llg). (Entered: 12/11/2018)
12/11/2018           Docket Annotation: The docket text for doc. no. 266 has been modified to
                     reflect that the filing is an "Addendum" to Motion for Evidentiary Hearing and
                     Necessary Injunctive Relief. (llg) (Entered: 12/11/2018)
01/02/2019   267     NOTICE OF APPEAL as to 262 Order, 265 Order on Motion for Order, Order
                     on Motion for Hearing filed by Wade Lay. (Attachments: # 1 Envelope)(ac)
                     (Entered: 01/04/2019)
01/04/2019   268     ORDER re 267 Notice of Appeal by Wade Lay. The court has DIRECTED the
                     Clerk of this Court to docket Mr. Lay's latest submission as a Notice of Appeal
                     to the Tenth Circuit Court of Appeals. The submission repeatedly refers to this
                     "notice of appeal" or to this "appeal," and appears to challenge orders which
                     have been entered in this action. See, e.g., references to this court's orders
                     (doc. nos. 260, 262) on the second page of Mr. Lay's submission. Mr. Lay is
                     not currently a party in this action. Signed by Honorable Stephen P. Friot on
                     1/4/2019. (llg) (Entered: 01/04/2019)
01/04/2019   269     PRELIMINARY RECORD LETTER − Electronic Transmission of Notice of
                     Appeal with Preliminary Record sent to Tenth Circuit Court of Appeals re 267
                     Notice of Appeal (ac) (Entered: 01/04/2019)
01/07/2019   270     Tenth Circuit USCA Case Number 19−6002 for 267 Notice of Appeal.
                     Prisoner case docketed. DATE RECEIVED: 01/04/2009. Fee or 1915 forms
                     due 02/06/2019 for Wade Lay. Notice of appearance due on 02/06/2019 for
                     Wade Lay, and Notice of appearance due on 01/22/2019 for Brenda E.
                     Andrew, James A. Coddington, Benjamin R. Cole, Carlos Cuesta−Rodriguez,
                     Nicholas Alexander Davis, Edward Evans, Warden, Richard S. Fairchild,
                     Richard E. Glossip, John M. Grant, Wendell A. Grissom, Kevin J. Gross,
                     Phillip D. Handock, Marlon D. Harmon, Gene Haynes, Frazier Henke, John T.
                     Holder, Shelton D. Jackson, Raymond E. Johnson, Julius D. Jones, Emmanuel
                     A. Littlejohn, Alfred B. Mitchell, Irma J. Newburn, David Parker, Robert C
                     Patton, James D. Pavatt, Michael W. Roach, Kendrick A. Simpson, James M.


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                     Tilly, Anita K. Trammell, Kevin R. Underwood, Greg Williams and Tremane
                     Wood. [19−6002] (ac) (Entered: 01/08/2019)
01/18/2019   271     MOTION for Order by Wade Lay titled Motion for Related Documents. (ac)
                     (Entered: 01/23/2019)
01/23/2019   272     (TEXT ONLY) ORDER terminating as moot 271 Motion for Related
                     Documents filed by Wade Lay. The motion has been addressed by the clerk's
                     correspondence with Mr. Lay. Entered at the direction of Honorable Stephen
                     P. Friot on 1/23/2019. (llg) (Entered: 01/23/2019)
01/29/2019   273     NOTICE (other) by Wade Lay re 267 Notice of Appeal (Attachments: # 1
                     Envelope)(ac) (Entered: 01/29/2019)
02/01/2019   274     ENTRY of Appearance by Richard N Mann on behalf of Edward Evans, John
                     T Holder, Irma J Newburn, David Parker, Robert C Patton, James M Tilly,
                     Anita K Trammell, Greg Williams (Mann, Richard) (Entered: 02/01/2019)
02/01/2019   275     ENTRY of Appearance by Lexie P Norwood on behalf of Edward Evans, John
                     T Holder, Irma J Newburn, David Parker, Robert C Patton, James M Tilly,
                     Anita K Trammell, Greg Williams (Norwood, Lexie) (Entered: 02/01/2019)
02/01/2019   276     MOTION to Withdraw Allow Withdrawal and Substitution of Counsel by
                     Edward Evans, John T Holder, Irma J Newburn, David Parker, Robert C
                     Patton, James M Tilly, Anita K Trammell, Greg Williams. (Mann, Richard)
                     Modified on 2/4/2019 (llg). (Entered: 02/01/2019)
02/04/2019   277     ORDER granting 276 Motion to Allow Withdrawal and Substitution of
                     Counsel. Attorney John D Hadden withdrawn. Richard N Mann substituted.
                     Signed by Honorable Stephen P. Friot on 2/4/2019. (llg) (Entered: 02/04/2019)
02/08/2019           Docket Annotation: Mailed documents 267 and 273 to the Supreme Court of
                     the United StatesAtt: Clerk of Court1 First St, NEWashington, DC 20543 (ac)
                     (Entered: 02/08/2019)
02/08/2019   278     ORDER of USCA as to 267 Notice of Appeal. Frap 42; Procedural
                     termination without judicial action; Clerk of the Court. [19−6002 (ac)
                     (Entered: 02/11/2019)
02/08/2019   279     USCA MANDATE Issued re 267 Notice of Appeal. Mandate issued.
                     [19−6002] (ac) (Entered: 02/11/2019)
02/12/2019   280     ORDER AND JUDGMENT of USCA as to 267 Notice of Appeal. Frap 42;
                     Procedural termination without judicial action; Clerk of the Court. [19−6002]
                     (ac) (Entered: 02/13/2019)
02/27/2020   281     ENTRY of Appearance by Michael W Lieberman on behalf of All Plaintiffs
                     (Lieberman, Michael) (Entered: 02/27/2020)
02/27/2020   282     ENTRY of Appearance by Emma V Rolls on behalf of All Plaintiffs (Rolls,
                     Emma) (Entered: 02/27/2020)
02/27/2020   283     MOTION to Reopen Case by All Plaintiffs. (Attachments: # 1 Exhibit ODOC
                     Policy No. OP−040301, # 2 Exhibit Interim Grand Jury Report, # 3 Exhibit
                     2−13−2020 letter to P. Ghezzi from M. Mansinghani)(Lieberman, Michael)
                     (Entered: 02/27/2020)


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03/03/2020   284     MOTION for Extension of Time to File Second Amended Complaint by All
                     Plaintiffs. (Lieberman, Michael) (Entered: 03/03/2020)
03/03/2020   285     MOTION for Leave to Appear Pro Hac Vice of Harry P. Cohen by All
                     Plaintiffs. (Attachments: # 1 Attachment Request for Admission Pro Hac
                     Vice)(Lieberman, Michael) (Entered: 03/03/2020)
03/03/2020   286     MOTION for Leave to Appear Pro Hac Vice of James Stronski by All
                     Plaintiffs. (Attachments: # 1 Attachment Request for Admission Pro Hac
                     Vice)(Lieberman, Michael) (Entered: 03/03/2020)
03/03/2020   287     MOTION for Leave to Appear Pro Hac Vice of Michael K. Robles by All
                     Plaintiffs. (Attachments: # 1 Attachment Request for Admission Pro Hac
                     Vice)(Lieberman, Michael) (Entered: 03/03/2020)
03/03/2020   288     Receipt for Money Received from All Plaintiffs in the amount of $150.00,
                     receipt number OKW500078901 regarding 286 MOTION for Leave to Appear
                     Pro Hac Vice of James Stronski, 285 MOTION for Leave to Appear Pro Hac
                     Vice of Harry P. Cohen, 287 MOTION for Leave to Appear Pro Hac Vice of
                     Michael K. Robles (rb) (Entered: 03/03/2020)
03/03/2020   289     ENTRY of Appearance by Mithun S Mansinghani on behalf of Edward Evans,
                     Kevin J Gross, Gene Haynes, Frazier Henke, John T Holder, Irma J Newburn,
                     David Parker, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell, Greg Williams (Mansinghani, Mithun) (Entered: 03/03/2020)
03/03/2020   290     ENTRY of Appearance by Randall J Yates on behalf of Edward Evans, Kevin
                     J Gross, Gene Haynes, Frazier Henke, John T Holder, Irma J Newburn, David
                     Parker, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell, Greg Williams (Yates, Randall) (Entered: 03/03/2020)
03/03/2020   291     ENTRY of Appearance by Zachary P West on behalf of Edward Evans, Kevin
                     J Gross, Gene Haynes, Frazier Henke, John T Holder, Irma J Newburn, David
                     Parker, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell, Greg Williams (West, Zachary) (Entered: 03/03/2020)
03/03/2020   292     ENTRY of Appearance by Bryan G Cleveland on behalf of Edward Evans,
                     Kevin J Gross, Gene Haynes, Frazier Henke, John T Holder, Irma J Newburn,
                     David Parker, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell, Greg Williams (Cleveland, Bryan) (Entered: 03/03/2020)
03/03/2020   293     ENTRY of Appearance by Andy N Ferguson on behalf of Edward Evans,
                     Kevin J Gross, Gene Haynes, Frazier Henke, John T Holder, Irma J Newburn,
                     David Parker, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell, Greg Williams (Ferguson, Andy) (Entered: 03/03/2020)
03/03/2020   294     MOTION to Withdraw and Substitution of Counsel by Edward Evans, Kevin J
                     Gross, Gene Haynes, Frazier Henke, John T Holder, Irma J Newburn, David
                     Parker, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell, Greg Williams. (Joseph, Jeb) Modified on 3/3/2020 (llg). (Entered:
                     03/03/2020)
03/03/2020   295     ORDER granting 285 Motion to Appear Pro Hac Vice, granting 286 Motion
                     to Appear Pro Hac Vice, granting 287 Motion to Appear Pro Hac Vice;
                     provided that Messrs. Cohen, Stronski and Robles submit ECF registration
                     forms and file entries of appearance, consistent with LCvR83.4. Signed by

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                     Honorable Stephen P. Friot on 3/3/2020. (llg) (Entered: 03/03/2020)
03/03/2020   296     ORDER granting 294 Defendants' Motion to Allow Withdrawal and
                     Substitution of Counsel. Attorneys Lexie P Norwood, Jeb E Joseph and
                     Richard N Mann withdrawn as counsel for defendants. Signed by Honorable
                     Stephen P. Friot on 3/3/2020. (llg) (Entered: 03/03/2020)
03/04/2020   297     ORDER re 284 Plaintiffs' Partially Unopposed MOTION for Extension of
                     Time to File Second Amended Complaint. Scheduling Conference set for
                     3/12/2020 01:30 PM in Chambers before Honorable Stephen P. Friot (as fully
                     set out in this order). Signed by Honorable Stephen P. Friot on 3/4/2020. (llg)
                     (Entered: 03/04/2020)
03/05/2020   298     ENTRY of Appearance by Michael K Robles on behalf of All Plaintiffs
                     (Robles, Michael) (Entered: 03/05/2020)
03/05/2020   299     ENTRY of Appearance by Harry P Cohen on behalf of All Plaintiffs (Cohen,
                     Harry) (Entered: 03/05/2020)
03/05/2020   300     ENTRY of Appearance by James K Stronski on behalf of All Plaintiffs
                     (Stronski, James) (Entered: 03/05/2020)
03/11/2020   301     MOTION to Withdraw as Attorney by Wythe and Pederson and by Office of
                     the Chief Medical Examiner, State of Oklahoma, Eric Pfeifer MD. (Pederson,
                     Devan) (Entered: 03/11/2020)
03/11/2020   302     ORDER granting 301 Motion to Withdraw as Counsel for Nonparties Eric
                     Pfeifer and the Office of the Chief Medical Examiner. Attorneys Devan A
                     Pederson and Tiffany J Wythe withdrawn. Signed by Honorable Stephen P.
                     Friot on 3/11/2020. (llg) (Entered: 03/11/2020)
03/11/2020   304     MOTION titled "Co−Plaintiff's (Wade Lay) Motion for Stay of Execution and
                     Evidentiary Hearing (With Brief in Support)" filed by Wade Lay.
                     (Attachments: # 1 Envelope)(ank) (Entered: 03/12/2020)
03/12/2020   303     MOTION to Enforce the Terms of the Court's Order Granting Joint
                     Stipulation by All Plaintiffs. (Attachments: # 1 Exhibit 1 − Protocol
                     OP−040301 − Effective 6−30−15, # 2 Exhibit 2 − OP−040301 − Protocol
                     Effective 2−20−20, # 3 Exhibit 3 − Interim Grand Jury Report 5−19−16, # 4
                     Exhibit 4 − 2−13−20 Notice to P. Ghezzi)(Lieberman, Michael) (Entered:
                     03/12/2020)
03/12/2020   305     Minute Order. Proceedings held before Honorable Stephen P. Friot:
                     Scheduling Conference held on 3/12/2020. As to Wade Lay, the court grants
                     an oral motion, through Mr. Wade's new counsel Jim Stronski, for Mr. Lay to
                     intervene as a plf. 304 Wade Lay's Motion for Stay of Execution and
                     Evidentiary Hearing is STRICKEN. 283 Plaintiffs' MOTION to Reopen
                     Action Which Was Administratively Closed and 303 Plaintiffs' MOTION to
                     Enforce the Terms of the Court's Order Granting Joint Stipulation are set for
                     hearing on 5/5/2020 01:30 PM in Courtroom 401 before Honorable Stephen P.
                     Friot. (llg) (Entered: 03/12/2020)
03/19/2020   306     RESPONSE to Motion re 283 MOTION to Reopen Case filed by Edward
                     Evans, Kevin J Gross, Gene Haynes, Frazier Henke, John T Holder, Irma J
                     Newburn, David Parker, Robert C Patton, Michael W Roach, James M Tilly,
                     Anita K Trammell, Greg Williams. (Mansinghani, Mithun) (Entered:

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                     03/19/2020)
03/19/2020   307     ENTER ORDER REOPENING CASE granting 283 Plaintiffs' MOTION to
                     Reopen Action Which Was Administratively Closed. The matters raised in 303
                     Plaintiffs' Motion to Enforce the Terms of the Court's Order Granting Joint
                     Stipulation will be addressed at the hearing on 5/5/2020. Entered at the
                     direction of Honorable Stephen P. Friot on 3/19/2020. (llg) (Entered:
                     03/19/2020)
03/24/2020   308     RESPONSE to Motion re 284 MOTION for Extension of Time to File Second
                     Amended Complaint filed by Edward Evans, Kevin J Gross, Gene Haynes,
                     Frazier Henke, John T Holder, Irma J Newburn, David Parker, Robert C
                     Patton, Michael W Roach, James M Tilly, Anita K Trammell, Greg Williams.
                     (Mansinghani, Mithun) (Entered: 03/24/2020)
03/25/2020   309     ENTER ORDER Setting Hearing on 284 Plaintiffs' Partially Unopposed
                     MOTION for Extension of Time to File Second Amended Complaint: Motion
                     Hearing set for 5/5/2020 01:30 PM in Courtroom 401 before Honorable
                     Stephen P. Friot. Entered at the direction of Honorable Stephen P. Friot on
                     3/25/2020. (llg) (Entered: 03/25/2020)
03/26/2020   310     (STRICKEN by 3/26/2020 Notice from the Court) ENTRY of Appearance
                     by Jennifer M Moreno on behalf of Richard E Glossip (Moreno, Jennifer)
                     Modified on 3/26/2020 (llg). (Entered: 03/26/2020)
03/26/2020           NOTICE from the Court STRIKING 310 Entry of Appearance by Jennifer
                     M Moreno on behalf of Richard E Glossip. It appears from the document that
                     it was intended to be filed on behalf of all plaintiffs; however, it was filed only
                     on behalf of plaintiff Richard E Glossip. Attorney Moreno is DIRECTED to
                     refile the Entry of Appearance, selecting All Plaintiffs as opposed to just Mr.
                     Glossip. (llg) (Entered: 03/26/2020)
03/26/2020   311     (STRICKEN by 3/26/2020 Notice from the Court) ENTRY of Appearance
                     by Jennifer M Moreno on behalf of Richard E Glossip (Moreno, Jennifer)
                     Modified on 3/26/2020 (llg). (Entered: 03/26/2020)
03/26/2020           NOTICE from the Court STRIKING 311 Entry of Appearance by Jennifer
                     M Moreno on behalf of Richard E Glossip. Once again, it appears from the
                     document that it was intended to be filed on behalf of all plaintiffs; however, it
                     was ONCE AGAIN filed only on behalf of plaintiff Richard E Glossip.
                     Attorney Moreno is DIRECTED to refile the Entry of Appearance, selecting
                     All Plaintiffs as opposed to just Mr. Glossip. (llg) (Entered: 03/26/2020)
03/26/2020   312     (STRICKEN by 3/26/2020 Notice from the Court) ENTRY of Appearance
                     by Jennifer M Moreno on behalf of Richard E Glossip (Moreno, Jennifer)
                     Modified on 3/26/2020 (llg). (Entered: 03/26/2020)
03/26/2020           NOTICE from the Court STRIKING 312 Entry of Appearance by Jennifer
                     M Moreno on behalf of Richard E Glossip. Once again, it appears from the
                     document that it was intended to be filed on behalf of all plaintiffs; however, it
                     was ONCE AGAIN filed only on behalf of plaintiff Richard E Glossip. If
                     attorney Moreno intends to file the Entry of Appearance only on behalf of Mr.
                     Glossip, the Entry of Appearance document should accurately reflect that.
                     Attorney Moreno is DIRECTED to correctly refile the Entry of Appearance.
                     (llg) (Entered: 03/26/2020)


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03/26/2020   313     ENTRY of Appearance by Jennifer M Moreno on behalf of Richard E Glossip
                     (Moreno, Jennifer) (Entered: 03/26/2020)
03/31/2020   314     REPLY to Response to Motion re 284 MOTION for Extension of Time to File
                     Second Amended Complaint filed by All Plaintiffs. (Lieberman, Michael)
                     (Entered: 03/31/2020)
04/02/2020   315     RESPONSE to Motion re 303 MOTION to Enforce the Terms of the Court's
                     Order Granting Joint Stipulation filed by Edward Evans, Kevin J Gross, Gene
                     Haynes, Frazier Henke, John T Holder, Irma J Newburn, David Parker, Robert
                     C Patton, Michael W Roach, James M Tilly, Anita K Trammell, Greg
                     Williams. (Attachments: # 1 Exhibit 1 − 2016.07.14 Final Report, # 2 Exhibit
                     2 − Recipient List, # 3 Exhibit 3 − 2018.11.15 Interim Report)(Mansinghani,
                     Mithun) (Entered: 04/02/2020)
04/09/2020   316     REPLY to Response to Motion re 303 MOTION to Enforce the Terms of the
                     Court's Order Granting Joint Stipulation filed by All Plaintiffs. (Attachments:
                     # 1 Exhibit 2−13−20 Press Conference Transcript, # 2 Exhibit 3−18−20 ltr to
                     Mansinghani, # 3 Exhibit 3−24−20 Mansinghani email)(Lieberman, Michael)
                     (Entered: 04/09/2020)
04/27/2020   317     ENTRY of Appearance by Alexander L Kursman on behalf of Phillip D
                     Hancock (Kursman, Alexander) (Entered: 04/27/2020)
05/01/2020   318     NOTICE (other) by All Plaintiffs of Telephonic Appearance for May 5, 2020
                     hearing (Baich, Dale) (Entered: 05/01/2020)
05/05/2020   319     Minute Order. Proceedings held before Honorable Stephen P. Friot: Motion
                     Hearing held on 5/5/2020. 284 Plaintiffs' Partially Unopposed MOTION for
                     Extension of Time to File Second Amended Complaint is STRICKEN as moot.
                     303 Plaintiffs' MOTION to Enforce the Terms of the Court's Order Granting
                     Joint Stipulation is DENIED. Dfts' supplementation of production of docs re
                     the training program due 6/5/2020. Plfs' Second Amended Complaint due
                     7/6/2020. Dfts' response to Second Amended Complaint due within 21 days
                     after the filing of the Second Amended Complaint. (Court Reporter Tracy
                     Thompson.) (llg) (Entered: 05/05/2020)
05/06/2020   320     MEMORANDUM. Follows oral order of 5/5/2020. Signed by Honorable
                     Stephen P. Friot on 5/6/2020. (llg) (Entered: 05/06/2020)
05/21/2020   321     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                     5/5/20 before Judge Friot. Court Reporter: Tracy Thompson, Telephone
                     number 405−314−5431. Transcript of: Motion hearing Transcript may be
                     viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                     After that date it may be obtained through PACER. Redaction Request due
                     6/11/2020. Redacted Transcript Deadline set for 6/22/2020. Release of
                     Transcript Restriction set for 8/19/2020. (tw, ) (Entered: 05/21/2020)
06/05/2020   322     NOTICE (other) by Edward Evans, Kevin J Gross, Gene Haynes, Frazier
                     Henke, John T Holder, Irma J Newburn, David Parker, Robert C Patton,
                     Michael W Roach, James M Tilly, Anita K Trammell, Greg Williams re 319
                     Order on Motion for Extension of Time to File, Order on Motion to Enforce,
                     Motion Hearing,,,,,, OF COMPLIANCE (Mansinghani, Mithun) (Entered:
                     06/05/2020)


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06/05/2020   323     MOTION to Withdraw as Attorney (Randy A. Bauman) by All Plaintiffs.
                     (Lieberman, Michael) (Entered: 06/05/2020)
06/08/2020   324     ORDER granting 323 Motion to Withdraw as Attorney. Attorney Randy A
                     Bauman withdrawn as counsel of record. Signed by Honorable Stephen P.
                     Friot on 6/8/2020. (llg) (Entered: 06/08/2020)
07/06/2020   325     AMENDED COMPLAINT (THIRD) against John Doe Executioners #1−10,
                     Scott Crow, Randy Chandler, Betty Gesell, Joseph Griffin, F. Lynn Haueter,
                     Kathryn LaFortune, Stephan Moore, Calvin Prince, T. Hastings Siegfried,
                     Darryl Woodard, Tommy Sharp, Aboutanaa El Habti, Justin Farris, Michael
                     Carpenter, Justin Giudice filed by All Plaintiffs.(Lieberman, Michael)
                     (Entered: 07/06/2020)
07/06/2020   326     AMENDED COMPLAINT against All Defendants filed by Wade Lay.
                     (Attachments: # 1 Attachment 1 − Legal Arguments, # 2 Exhibit 1 − A: Letter
                     from Counsel, # 3 Exhibit 2 − B: Letter to U.S. Attorney Exh. 977−B, # 4
                     Envelope)(ank) (Entered: 07/07/2020)
07/20/2020           IMPORTANT NOTICE: The United States District Court for the Western
                     District of Oklahoma (OKWD) is upgrading its current CM/ECF system to the
                     Next Generation of CM/ECF (NextGen CM/ECF) on Monday, August 3,
                     2020. Complete information regarding the OKWD NextGen CM/ECF
                     implementation is available at
                     http://www.okwd.uscourts.gov/nextgen−information.****Currently, you may
                     share a single PACER account with other attorneys in your firm. With the new
                     OKWD NextGen CM/ECF system, sharing of individual PACER accounts is
                     prohibited. You must have an individual upgraded PACER account linked to
                     your e−filing account. Once again, shared PACER accounts cannot be used by
                     OKWD e−filing attorneys. ****Preparing for NextGen CM/ECF is a two−step
                     process. Step one is to upgrade your PACER account and step two is to link
                     your upgraded PACER account to the OKWD e−filing account in the
                     upgraded NextGen CM/ECF system. This notice only addresses the first step
                     because the second step cannot be completed until on or after August 3, 2020.
                     ****Many PACER accounts have already been upgraded. The first step is to
                     determine whether you have an "Upgraded" PACER account. If any of the
                     following is true, you have an upgraded PACER account and no action is
                     required until after the OKWD NextGen CM/ECF upgrade on August 3, 2020:
                     1) You have an upgraded PACER account for another NextGen court or 2)
                     Your PACER account was created after August 10, 2014. If neither of these is
                     true, you must upgrade your legacy PACER account before you can link your
                     PACER account to your new NextGen CM/ECF account. ****OKWDs
                     current CM/ECF system will NOT be available from 11:00 AM on 07/31/20
                     until 8:00 AM on 08/03/20 due to the upgrade. ****Additional notices will be
                     sent at a later date regarding the second step of this process. If you have
                     questions, please contact the PACER Service Center at 800−676−6856 or the
                     OKWD Clerk's Office CM/ECF Help Desk at 405−609−5555. (Pigott,
                     William) (ADI) (Entered: 07/20/2020)
07/21/2020   327     NOTICE (other) by Wade Lay Notice of Withdrawal as Counsel for Plaintiff
                     Wade Lay (Lieberman, Michael) (Entered: 07/21/2020)
07/27/2020   328     ENTRY of Appearance by Mithun S Mansinghani on behalf of Michael
                     Carpenter, Aboutanaa El Habti, Justin Farris, Justin Giudice (Mansinghani,

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                     Mithun) (Entered: 07/27/2020)
07/27/2020   329     ENTRY of Appearance by Randall J Yates on behalf of Michael Carpenter,
                     Aboutanaa El Habti, Justin Farris, Justin Giudice (Yates, Randall) (Entered:
                     07/27/2020)
07/27/2020   330     ENTRY of Appearance by Zachary P West on behalf of Michael Carpenter,
                     Aboutanaa El Habti, Justin Farris, Justin Giudice (West, Zachary) (Entered:
                     07/27/2020)
07/27/2020   331     ENTRY of Appearance by Bryan G Cleveland on behalf of Michael
                     Carpenter, Aboutanaa El Habti, Justin Farris, Justin Giudice (Cleveland,
                     Bryan) (Entered: 07/27/2020)
07/27/2020   332     ENTRY of Appearance by Andy N Ferguson on behalf of Michael Carpenter,
                     Aboutanaa El Habti, Justin Farris, Justin Giudice (Ferguson, Andy) (Entered:
                     07/27/2020)
07/27/2020   333     MOTION to Dismiss and Brief in Support by Michael Carpenter, Aboutanaa
                     El Habti, Justin Farris, Justin Giudice, Kevin J Gross, Gene Haynes, Frazier
                     Henke, John T Holder, Irma J Newburn, Robert C Patton, Michael W Roach,
                     James M Tilly, Anita K Trammell. (Mansinghani, Mithun) (Entered:
                     07/27/2020)
07/27/2020   334     MOTION to Strike 326 Amended Complaint or Dismiss pro se complaint and
                     brief in support by Michael Carpenter, Aboutanaa El Habti, Justin Farris,
                     Justin Giudice, Kevin J Gross, Gene Haynes, Frazier Henke, John T Holder,
                     Irma J Newburn, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell. (Mansinghani, Mithun) (Entered: 07/27/2020)
07/27/2020   335     ANSWER to 325 Amended Complaint, by Michael Carpenter, Aboutanaa El
                     Habti, Justin Farris, Justin Giudice, Kevin J Gross, Gene Haynes, Frazier
                     Henke, John T Holder, Irma J Newburn, Robert C Patton, Michael W Roach,
                     James M Tilly, Anita K Trammell.(Mansinghani, Mithun) (Entered:
                     07/27/2020)
07/27/2020   336     ANSWER to 326 Amended Complaint by Michael Carpenter, Aboutanaa El
                     Habti, Justin Farris, Justin Giudice, Kevin J Gross, Gene Haynes, Frazier
                     Henke, John T Holder, Irma J Newburn, Robert C Patton, Michael W Roach,
                     James M Tilly, Anita K Trammell.(Mansinghani, Mithun) (Entered:
                     07/27/2020)
07/28/2020   337     ORDER FOR SCHEDULING CONFERENCE. Telephonic Scheduling
                     Conference set for 8/10/2020 10:00 AM before Honorable Stephen P. Friot (as
                     fully set out in this order). Signed by Honorable Stephen P. Friot on
                     7/28/2020. (Attachment: # 1 Exhibit 1 − List of events)(llg) (Entered:
                     07/28/2020)
07/28/2020   338     ORDER re 328 Entry of Appearance, 329 Entry of Appearance, 330 Entry of
                     Appearance, 331 Entry of Appearance, 332 Entry of Appearance, 333
                     MOTION to Dismiss and Brief in Support, 335 Answer to Amended
                     Complaint. The referenced documents do not include a certificate of service
                     showing service of a paper copy on pro se plf Wade Lay, as required by the
                     local rules and the ECF policies of this court. Defense counsel are
                     REQUIRED to serve these filings on Mr. Lay. They are further required to


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                     file, by 7/30/2020, the required certificate of service, evidencing such service
                     on Mr. Lay. All counsel are advised that the obligation to attach a certificate of
                     service to electronically filed documents which shows service of a paper copy
                     on Mr. Lay pertains not only to the filings addressed in this order but also to
                     future filings, so long as Mr. Lay remains in this action as a pro se plf who is
                     not a registered participant in the ECF system. Failure to include the required
                     certificate of service may be grounds to strike future filings. Signed by
                     Honorable Stephen P. Friot on 7/28/2020. (llg) (Entered: 07/28/2020)
07/29/2020   339     CERTIFICATE OF SERVICE by Defendants Michael Carpenter, Aboutanaa
                     El Habti, Justin Farris, Justin Giudice, Kevin J Gross, Gene Haynes, Frazier
                     Henke, John T Holder, Irma J Newburn, Robert C Patton, Michael W Roach,
                     James M Tilly, Anita K Trammell re 328 Entry of Appearance, 335 Answer to
                     Amended Complaint, 329 Entry of Appearance, 333 MOTION to Dismiss and
                     Brief in Support, 330 Entry of Appearance, 332 Entry of Appearance, 331
                     Entry of Appearance (Mansinghani, Mithun) (Entered: 07/29/2020)
08/10/2020   340     Minute Entry for proceedings held before Honorable Stephen P. Friot:
                     Scheduling Conference held on 8/10/2020 (as fully set out on the minute
                     sheet). (llg) (Main Document 340 replaced on 8/11/2020) (llg). (Entered:
                     08/10/2020)
08/14/2020   341     SCHEDULING ORDER (as fully set out in the order). Bench Trial set for
                     5/3/2021 09:00 AM in Courtroom 401 before Honorable Stephen P. Friot.
                     Signed by Honorable Stephen P. Friot on 8/14/2020. (llg) (Entered:
                     08/14/2020)
08/14/2020   342     MOTION for Injunctive Relief by Wade Lay. (Attachments: # 1
                     Envelope)(dtb) (Entered: 08/17/2020)
08/17/2020   343     RESPONSE in Opposition re 333 MOTION to Dismiss and Brief in Support
                     filed by All Plaintiffs. (Lieberman, Michael) (Entered: 08/17/2020)
08/19/2020   344     MOTION for Leave to Respond to the Claim of the Oklahoma Attorney
                     General document 334 335 336 by Wade Lay. (Attachments: # 1
                     Envelope)(dtb) (Entered: 08/20/2020)
08/24/2020   345     REPLY to Response to Motion re 333 MOTION to Dismiss and Brief in
                     Support filed by Michael Carpenter, Aboutanaa El Habti, Justin Farris, Justin
                     Giudice, Kevin J Gross, Gene Haynes, Frazier Henke, John T Holder, Irma J
                     Newburn, Robert C Patton, Michael W Roach, James M Tilly, Anita K
                     Trammell. (Mansinghani, Mithun) (Entered: 08/24/2020)
09/02/2020   346     ORDER granting in part and denying in part 344 "In re: To Inform the
                     U.S.D.C. W.D./OK. Plaintiffs Motion for Leave to Respond to the Claims of
                     the Okla. Attorney General Document Nos. 334−336 filed on 07/22/2020"
                     filed by Wade Lay (as fully set out in this order). Signed by Honorable
                     Stephen P. Friot on 9/2/2020. (llg) (Entered: 09/02/2020)
09/03/2020   347     MOTION for Extension of Time to File Response/Reply as to 342 MOTION
                     for Permanent Injunction by Michael Carpenter, Aboutanaa El Habti, Justin
                     Farris, Justin Giudice, Kevin J Gross, Gene Haynes, Frazier Henke, John T
                     Holder, Irma J Newburn, Robert C Patton, Michael W Roach, James M Tilly,
                     Anita K Trammell. (Mansinghani, Mithun) (Entered: 09/03/2020)



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09/03/2020   348     ORDER granting 347 Motion for Extension of Time to Respond to 342
                     Plaintiff Wade Lay's Motion for a Preliminary Injunction. Response due
                     within 14 days of the court's ruling on 334 Motion to Strike or Dismiss, with
                     no response required if the court's ruling moots the Motion for Injunctive
                     Relief. Signed by Honorable Stephen P. Friot on 9/3/2020. (llg) (Entered:
                     09/03/2020)
09/15/2020   349     ORDER granting 333 Defendants' Partial Motion to Dismiss. Counts I, III and
                     VIII are DISMISSED under Rule 12(b)(6). Edward Evans, David Parker and
                     Greg Williams, all of whom were previously named as defendants in their
                     official capacities, are likewise DISMISSED under Rule 12(b)(6). All
                     dismissals are with prejudice, and without leave to amend. Signed by
                     Honorable Stephen P. Friot on 9/15/2020. (llg) (Entered: 09/15/2020)
09/15/2020   350     SUPPLEMENTAL SCHEDULING ORDER, supplementing 341 8/14/2020
                     Scheduling Order. Any motions challenging the admissibility of proposed
                     expert testimony under Daubert or Rule 702 due 2/26/2021 (as fully set out in
                     this order). Signed by Honorable Stephen P. Friot on 9/15/2020. (llg) (Entered:
                     09/15/2020)
09/18/2020   351     UNOPPOSED MOTION to Withdraw as Attorney by Brenda E Andrew,
                     Richard E Glossip, Phillip D Hancock, Shelton D Jackson. (Henricksen, Mark)
                     (Entered: 09/18/2020)
09/18/2020   352     ORDER granting 351 Unopposed Motion to Withdraw as Counsel. Attorneys
                     Mark L Henricksen and Lanita Henricksen withdrawn as counsel of record for
                     plfs Richard Glossip, Brenda Andrew, Philip Hancock and Shelton Jackson.
                     Signed by Honorable Stephen P. Friot on 9/18/2020. (llg) (Entered:
                     09/18/2020)
09/18/2020   353     LETTER from Wade Lay (Attachments: # 1 Envelope) (dtb) Modified on
                     9/21/2020 to correct name of filer. (llg). (Entered: 09/18/2020)
09/18/2020   354     RESPONSE to Motion re 334 MOTION to Strike or Dismiss Pro Se
                     Complaint and Brief in Support, ADDENDUM to 342 MOTION for
                     Injunctive Relief filed by Wade Lay. (Attachments: # 1 Envelope)(dtb)
                     Modified on 9/21/2020 (llg). (Entered: 09/18/2020)
09/21/2020   355     LETTER from Wade Lay (Attachments: # 1 Envelope) (dtb) (Entered:
                     09/22/2020)
09/21/2020   356     SUPPLEMENT re 354 Response to Motion by Wade Lay titled, "Addendum
                     to Plaintiff's Response to Inform The Court of Illicit Measures By Oklahoma
                     State Penitentiary to Suppress Plaintiff's Rights". (Attachments: # 1
                     Envelope)(dtb) (Entered: 09/22/2020)
10/01/2020   357     ORDER granting 334 Defendants' Motion to Strike or Dismiss Pro Se
                     Complaint. 326 Wade Lay's Pro Se Amended Complaint is stricken. 342 Wade
                     Lay's Motion for Injunctive Relief is also stricken. Wade Lay remains a pro se
                     plaintiff in this action. Signed by Honorable Stephen P. Friot on 10/1/2020.
                     (llg) (Entered: 10/01/2020)
10/29/2020   358     ENTRY of Appearance by Lynne Kolodinsky on behalf of Phillip D Hancock
                     (Kolodinsky, Lynne) (Entered: 10/29/2020)
10/30/2020   359

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                     MOTION for Leave to Appear Pro Hac Vice of Pilar R. Stillwater by All
                     Plaintiffs. (Attachments: # 1 Request for Admission Pro Hac
                     Vice)(Lieberman, Michael) (Entered: 10/30/2020)
10/30/2020   360     MOTION for Leave to Appear Pro Hac Vice of Adam J. Singer by All
                     Plaintiffs. (Attachments: # 1 Attachment Request for Admission Pro Hac
                     Vice)(Lieberman, Michael) (Entered: 10/30/2020)
10/30/2020   361     MOTION to Compel Production of Documents and Brief in Support by All
                     Plaintiffs. (Attachments: # 1 Exhibit 1 − Plaintiffs' Request for Production, # 2
                     Exhibit 2 − Defendant's Response to Plaintiff's 1st Discovery, # 3 Exhibit 3 −
                     Email Communications, # 4 Exhibit 4 − Privilege Log)(Lieberman, Michael)
                     (Entered: 10/30/2020)
10/30/2020   362     Receipt for Money Received in the amount of $50.00, receipt number
                     OKW500082555 regarding 360 MOTION for Leave to Appear Pro Hac Vice
                     of Adam J. Singer (kah) (Entered: 10/30/2020)
10/30/2020   363     Receipt for Money Received in the amount of $50.00, receipt number
                     OKW500082556 regarding 359 MOTION for Leave to Appear Pro Hac Vice
                     of Pilar R. Stillwater (kah) (Entered: 10/30/2020)
11/02/2020   364     ORDER granting 359 Motion to Appear Pro Hac Vice of Pilar R. Stillwater,
                     granting 360 Motion to Appear Pro Hac Vice of Adam J. Singer, provided that
                     Ms. Stillwater and Mr. Singer submit ECF registration forms and file entries of
                     appearance, consistent with LCvR83.4. Signed by Honorable Stephen P. Friot
                     on 11/2/2020. (llg) (Entered: 11/02/2020)
11/04/2020   365     ENTRY of Appearance by Pilar R. Stillwater on behalf of All Plaintiffs except
                     Wade Lay (Stillwater, Pilar) Modified on 11/25/2020 (llg). (Entered:
                     11/04/2020)
11/05/2020   366     ENTRY of Appearance by Adam Singer on behalf of All Plaintiffs except
                     Wade Lay (Singer, Adam) Modified on 11/25/2020 (llg). (Entered:
                     11/05/2020)
11/05/2020   367     ENTRY of Appearance by Charles A Dickson, III on behalf of Michael
                     Carpenter, Randy Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris,
                     Betty Gesell, Justin Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A
                     LaFortune, Stephan Moore, Calvin Prince, Tommy Sharp, T Hastings
                     Siegfried, Daryl Woodard (Dickson, Charles) (Entered: 11/05/2020)
11/17/2020   368     MOTION to Withdraw as Attorney (Patti P. Ghezzi) by All Plaintiffs.
                     (Lieberman, Michael) (Entered: 11/17/2020)
11/17/2020   369     ORDER granting 368 Motion to Allow Withdrawal of Counsel. Attorney Patti
                     P Ghezzi withdrawn as counsel of record. Signed by Honorable Stephen P.
                     Friot on 11/17/2020. (llg) (Entered: 11/17/2020)
11/20/2020   370     RESPONSE in Opposition re 361 MOTION to Compel Production of
                     Documents and Brief in Support filed by Michael Carpenter, Randy Chandler,
                     Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin Giudice,
                     Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin
                     Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard. (Attachments: #
                     1 Exhibit A − Crow Decl, # 2 Exhibit B − DPP Docs, # 3 Exhibit C − Example
                     Memo, # 4 Exhibit D − Resp to RFP 11.3.2014)(Mansinghani, Mithun)

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                     (Entered: 11/20/2020)
11/20/2020           NOTICE from the Court re 370 Defendants' Response in Opposition to
                     Plaintiffs' Motion to Compel. Counsel for defendants is DIRECTED, in future
                     filings, to comply with the court's ECF Policies & Procedures Manual, Section
                     II.A.4.a. − "... Do not use alphabetical or alpha−numeric designations for
                     exhibits...." Failure to comply in the future may result in filings being stricken.
                     (llg) (Entered: 11/20/2020)
11/25/2020   371     MOTION for Order by Wade Lay. (Attachments: # 1 Envelope)(dtb) (Entered:
                     11/25/2020)
11/25/2020   372     MOTION for Leave by Wade Lay. (Attachments: # 1 Envelope)(dtb)
                     (Entered: 11/25/2020)
11/27/2020   373     REPLY to Response to Motion re 361 MOTION to Compel Production of
                     Documents and Brief in Support filed by Brenda E Andrew, Ronson Kyle
                     Bush, Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                     Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S Fairchild,
                     Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M Grant,
                     Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D Harmon,
                     Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                     Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred
                     B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray Postelle, Richard
                     Rojem, James Ryder, Anthony Sanchez, Kendrick A Simpson, Michael
                     Dewayne Smith, Kevin R Underwood, Charles F Warner, Tremane Wood.
                     (Lieberman, Michael) (Entered: 11/27/2020)
12/02/2020   374     ORDER granting in part and denying in part 371 Motion by Wade Lay;
                     granting in part and denying in part 372 Motion by Wade Lay. The motions
                     are GRANTED to the following, limited extent. The court notes its prior order
                     requiring counsel to serve Mr. Lay with a paper copy of all electronically filed
                     documents and requiring counsel to include a certificate of service to that
                     effect. Given that order, which reflects the court's understanding that Mr. Lay
                     will receive copies of documents filed in this action, the court is confident that
                     the authorities in charge of Mr. Lay's mail will ensure that mail relating to this
                     action is delivered to him as promptly as is reasonable. The clerk is
                     DIRECTED to provide Mr. Lay with three copies of this order to show to
                     institutional authorities, should the need arise. In all other respects Mr. Lay's
                     motions are DENIED. Signed by Honorable Stephen P. Friot on 12/2/2020.
                     (llg) (Entered: 12/02/2020)
12/02/2020   375     ORDER regarding 361 Plaintiffs' Motion to Compel Production of
                     Documents. This order concerns the 24 documents being withheld by dfts
                     based on their assertion of the deliberative privilege. Dfts are DIRECTED to
                     deliver these documents to the courtroom deputy assigned to Judge Friot not
                     later than 10:00 AM on 12/7/2020, for in camera review by the court. Signed
                     by Honorable Stephen P. Friot on 12/2/2020. (llg) (Entered: 12/02/2020)
12/07/2020   376     ORDER granting in part and denying in part 361 Plaintiffs' Motion to Compel
                     Production of Documents. Signed by Honorable Stephen P. Friot on
                     12/7/2020. (llg) (Entered: 12/07/2020)
12/07/2020   377     MOTION to Compel Defendants to Produce Fact Witnesses for Deposition by
                     Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,

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                     Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott
                     Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                     Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                     F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                     Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray
                     Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                     D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                     Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                     Underwood, Charles F Warner, Tremane Wood. (Attachments: # 1 Exhibit 1 −
                     J. Bentley Notice of Deposition, # 2 Exhibit 2 − John Doe Notice of
                     Deposition [redacted], # 3 Exhibit 3 − 2020−11−16 email (objection), # 4
                     Exhibit 4 − 2020−11−19 email (objection), # 5 Exhibit 5 − 2020−12−01 email,
                     # 6 Exhibit 6 − 2020−11−12 Crow Depo Excerpt, # 7 Exhibit 7 − 2020−11−17
                     Crow Depo Excerpt, # 8 Exhibit 8 − 2020−11−16 Carpenter Depo Excerpt, # 9
                     Exhibit 9 − 2020−10−08 Notice of Depo Subpoena, # 10 Exhibit 10 −
                     2014−11−13 Contempt Discovery hrg Excerpt)(Lieberman, Michael)
                     (Entered: 12/07/2020)
12/08/2020   378     ORDER Setting Hearing on 377 Plaintiffs' MOTION to Compel Defendants
                     to Produce Fact Witnesses for Deposition: Motion Hearing set for 12/18/2020
                     04:00 PM in Courtroom 401 before Honorable Stephen P. Friot. Response due
                     by noon on 12/16/2020. (All as fully set out in this order.) Signed by
                     Honorable Stephen P. Friot on 12/8/2020. (llg) (Entered: 12/08/2020)
12/08/2020   379     ORDER requiring production of portions of documents re 361 MOTION to
                     Compel Production of Documents and Brief in Support, re 376 Order on
                     Motion to Compel. Signed by Honorable Stephen P. Friot on 12/8/2020. (llg)
                     (Entered: 12/08/2020)
12/14/2020   380     AMENDED ORDER Setting Hearing on 377 Plaintiffs' MOTION to
                     Compel Defendants to Produce Fact Witnesses for Deposition: Motion
                     Hearing set for 12/18/2020 03:00 PM in Courtroom 401 before Honorable
                     Stephen P. Friot. Response due by noon on 12/16/2020. (All as fully set out in
                     this order.) Signed by Honorable Stephen P. Friot on 12/14/2020. (llg)
                     (Entered: 12/14/2020)
12/16/2020   381     RESPONSE in Opposition re 377 MOTION to Compel Defendants to Produce
                     Fact Witnesses for Deposition filed by Michael Carpenter, Randy Chandler,
                     Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin Giudice,
                     Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin
                     Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard. (Attachments: #
                     1 Exhibit 1 − Harvanek Subpoena, # 2 Exhibit 2 − DOC Subpoena, # 3 Exhibit
                     3 − Oct 8 Email, # 4 Exhibit 4 − Oct 22 Email, # 5 Exhibit 5 − Crow Personal
                     Depo Excerpt at 95−99, # 6 Exhibit 6 − Sharp Depo Excerpt at 182−191, # 7
                     Exhibit 7 − Jim Farris Depo Excerpt at 204−207)(Mansinghani, Mithun)
                     (Entered: 12/16/2020)
12/18/2020   382     Minute Order. Proceedings held before Honorable Stephen P. Friot: Motion
                     Hearing held on 12/18/2020. The court grants 377 Plaintiffs' MOTION to
                     Compel Defendants to Produce Fact Witnesses for Deposition (as fully set out
                     on the minute sheet and the record). (Court Reporter Tracy Thompson.) (llg)
                     (Entered: 12/18/2020)
12/30/2020   383

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                     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                     December 18, 2020 before Judge Friot. Court Reporter: Tracy Thompson,
                     Telephone number 405−314−5431. Transcript of: Motion to Compel
                     Transcript may be viewed at the court public terminal or purchased through
                     the Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER. Redaction
                     Request due 1/20/2021. Redacted Transcript Deadline set for 2/1/2021.
                     Release of Transcript Restriction set for 3/30/2021. (tw, ) (Entered:
                     12/30/2020)
02/17/2021   384     MOTION for Leave to File Excess Pages by Michael Carpenter, Randy
                     Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin
                     Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan
                     Moore, Calvin Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard.
                     (Mansinghani, Mithun) (Entered: 02/17/2021)
02/17/2021   385     ORDER granting 384 Defendants' Motion for Leave to File Oversized Briefs
                     in Support of Motion for Summary Judgment. The parties are granted leave to
                     file oversized briefs in support of summary judgment, not to exceed 45 pages.
                     Signed by Honorable Stephen P. Friot on 2/17/2021. (llg) (Entered:
                     02/17/2021)
02/17/2021   386     RESPONSE to Motion re 384 MOTION for Leave to File Excess Pages and
                     Cross−Motion filed by Brenda E Andrew, Ronson Kyle Bush, Jemaine
                     Cannon, James A Coddington, Benjamin R Cole, Carlos Cuesta−Rodriguez,
                     Nicholas A Davis, Scott Eizember, Richard S Fairchild, Richard E Glossip,
                     Clarance Goode, Donald Anthony Grant, John M Grant, Wendell A Grissom,
                     Phillip D Hancock, John F Hanson, Marlon D Harmon, Jimmy Dean Harris,
                     Shelton D Jackson, Raymond E Johnson, Julius D Jones, Emmanuel A
                     Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred B Mitchell,
                     Patrick Murphy, James D Pavatt, Gilbert Ray Postelle, Richard Rojem, James
                     Ryder, Anthony Sanchez, Kendrick A Simpson, Michael Dewayne Smith,
                     Kevin R Underwood, Tremane Wood. (Lieberman, Michael) (Entered:
                     02/17/2021)
02/17/2021   387     ORDER granting 386 Responding Plaintiffs' Cross−Motion to Defendants'
                     Motion to File an Oversized Summary Judgment Brief (as fully set out in this
                     order). Signed by Honorable Stephen P. Friot on 2/17/2021. (llg) (Entered:
                     02/17/2021)
02/19/2021   388     MOTION for Summary Judgment by Michael Carpenter, Randy Chandler,
                     Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin Giudice,
                     Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin
                     Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard. (Attachments: #
                     1 Exhibit 1 − Protocol OP−040301, # 2 Exhibit 2 − Crow Depo 30b6
                     Tran_Excerpts, # 3 Exhibit 3 − Buffington Report, # 4 Exhibit 4 − Stevens
                     Report 2021, # 5 Exhibit 5 − Weinberger Report, # 6 Exhibit 6 − Stevens
                     Depo Tran_Excerpts, # 7 Exhibit 7 − Antognini Report, # 8 Exhibit 8 − Yen
                     Report, # 9 Exhibit 9 − Weinberger Depo Tran_Excerpts, # 10 Exhibit 10 −
                     Antognini Depo Tran_Excerpts, # 11 Exhibit 11 − Declaration of Pat Doe, #
                     12 Exhibit 12 − Warner Autopsy, # 13 Exhibit 13 − Fins Depo Tran_Excerpt,
                     # 14 Exhibit 14 − Ohio Stevens Report, # 15 Exhibit 15 − Edgar Depo Tran, #
                     16 Exhibit 16 − Edgar Report, # 17 Exhibit 17 − Block Report, # 18 Exhibit


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                     18 − MCGJ−Interim−Report−5−19−16, # 19 Exhibit 19 − Crow Depo Indiv
                     Tran_Excerpts, # 20 Exhibit 20 − Bentley Depo Tran, # 21 Exhibit 21 −
                     Arizona Report, # 22 Exhibit 22 − Ohio Report, # 23 Exhibit 23 − Williams
                     Report, # 24 Exhibit 24 − Williams Depo Tran, # 25 Exhibit 25 − Utah
                     Protocol, # 26 Exhibit 26 − Pls' Interrogatory Response, # 27 Exhibit 27 −
                     Sherman Report, # 28 Exhibit 28 − Sherman Depo Tran_Excerpt, # 29 Exhibit
                     29 − Ruling on PI Hrg)(Mansinghani, Mithun) (Entered: 02/19/2021)
02/19/2021   389     APPENDIX re 388 MOTION for Summary Judgment by Michael Carpenter,
                     Randy Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell,
                     Justin Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune,
                     Stephan Moore, Calvin Prince, Tommy Sharp, T Hastings Siegfried, Daryl
                     Woodard. (Attachments: # 1 Exhibit 1 − ASA 2019, # 2 Exhibit 2 − Brown
                     2019, # 3 Exhibit 3 − Hospira 2020 Midazolam PI − 2020, # 4 Exhibit 4 −
                     Baselt Midazolam 2011, # 5 Exhibit 5 − Vuyk 2019, # 6 Exhibit 6 −
                     Reves−1985−MDZ−uses, # 7 Exhibit 7 − White−RSI−MDZ−1982, # 8
                     Exhibit 8 − Michaloudis 1996, # 9 Exhibit 9 − Ibrahim, # 10 Exhibit 10 −
                     Kang, # 11 Exhibit 11 − Blackmon, # 12 Exhibit 12 − Reves−1978, # 13
                     Exhibit 13 − Glass−et−al−1997, # 14 Exhibit 14 − Kuizenga−2001, # 15
                     Exhibit 15 − Miyake−2010, # 16 Exhibit 16 − Rafee 2017, # 17 Exhibit 17 −
                     Gehrke, # 18 Exhibit 18 − Liu 1996, # 19 Exhibit 19 − Bulach 2005, # 20
                     Exhibit 20 − Eisenried−2020−remimazolam, # 21 Exhibit 21 −
                     Eisenried−2020−remimazolam (Supp), # 22 Exhibit 22 − Schuttler, # 23
                     Exhibit 23 − Melvin, # 24 Exhibit 24 − Turgut−2006, # 25 Exhibit 25 −
                     Song−2011, # 26 Exhibit 26 − Manning−NGT−MDZ−2016, # 27 Exhibit 27 −
                     Ellison−1958, # 28 Exhibit 28 − Heier−2001, # 29 Exhibit 29 −−
                     Lankton)(Mansinghani, Mithun) (Entered: 02/19/2021)
03/18/2021   390     MOTION for Order titled, Motion for Discovery Under FED. R. CIV. P 56(d)
                     with Brief in Support in Response to Defendant's Motion for Summary
                     Judgement by Wade Lay. (Attachments: # 1 Envelope)(dtb) (Entered:
                     03/18/2021)
03/19/2021   391     Exhibit List / Witness List by Defendants Michael Carpenter, Randy Chandler,
                     Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin Giudice,
                     Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin
                     Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard. (Mansinghani,
                     Mithun) (Entered: 03/19/2021)
03/19/2021   392     (STRICKEN by 401 4/2/2021 Order) RESPONSE in Opposition re 388
                     MOTION for Summary Judgment filed by Brenda E Andrew, Ronson Kyle
                     Bush, Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                     Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S Fairchild,
                     Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M Grant,
                     Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D Harmon,
                     Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                     Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred
                     B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray Postelle, Richard
                     Rojem, James Ryder, Anthony Sanchez, Kendrick A Simpson, Michael
                     Dewayne Smith, Kevin R Underwood, Charles F Warner, Tremane Wood.
                     (Attachments: # 1 Exhibit 1 − Edgar Dep. Tr. Excerpts, # 2 Exhibit 2 −
                     Antognini Dep. Tr. Excerpts, # 3 Exhibit 3 − Buffington Dep. Tr. Excerpts, #
                     4 Exhibit 4 − Shenandoah U. letter (11−20−18) Re: Buffington, # 5 Exhibit 5


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                     − Weinberger Dep. Tr. Excerpts, # 6 Exhibit 6 − Yen Dep. Tr. Excerpts, # 7
                     Exhibit 7 − Miyake Study, # 8 Exhibit 8 − Wilkinson Report, # 9 Exhibit 9 −
                     Filed under seal pursuant to [Doc. 90], # 10 Exhibit 10 − Filed under seal
                     pursuant to [Doc. 90], # 11 Exhibit 11 − Williams Dep. Tr. Excerpts, # 12
                     Exhibit 12 − BuzzFeed News (11−28−18) Article, # 13 Exhibit 13 − Ltr. from
                     Az. AG Brnovich to Gov. Ducey (8−20−20), # 14 Exhibit 14 − Expert Report
                     of Joseph J. Fins, M.D.)(Lieberman, Michael) Modified on 6/7/2021 (llg).
                     (Entered: 03/19/2021)
03/19/2021   393     (STRICKEN by 401 4/2/2021 Order) SEALED EXHIBIT by Plaintiffs
                     Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,
                     Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott
                     Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                     Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                     F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                     Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray
                     Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                     D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                     Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                     Underwood, Charles F Warner, Tremane Wood Re: 392 Response in
                     Opposition to Motion,,,,, (Lieberman, Michael) Modified on 6/7/2021 (llg).
                     (Entered: 03/19/2021)
03/19/2021   394     (STRICKEN by 401 4/2/2021 Order) SEALED EXHIBIT by Plaintiffs
                     Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,
                     Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott
                     Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                     Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                     F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                     Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray
                     Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                     D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                     Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                     Underwood, Charles F Warner, Tremane Wood Re: 392 Response in
                     Opposition to Motion,,,,, (Lieberman, Michael) Modified on 6/7/2021 (llg).
                     (Entered: 03/19/2021)
03/19/2021   395     Exhibit List / Witness List by Plaintiffs Brenda E Andrew, Ronson Kyle Bush,
                     Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                     Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S Fairchild,
                     Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M Grant,
                     Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D Harmon,
                     Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                     Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred
                     B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray Postelle, Richard
                     Rojem, James Ryder, Anthony Sanchez, Kendrick A Simpson, Michael
                     Dewayne Smith, Kevin R Underwood, Charles F Warner, Tremane Wood.
                     (Lieberman, Michael) (Entered: 03/19/2021)
03/23/2021   396     ORDER. Dfts are DIRECTED to file a notice with the court within 10 days of
                     the date of this order indicating what, if any, provisions can reasonably be
                     made to facilitate the participation of pro se plf Wade Lay in the trial of this
                     action by video teleconference. Signed by Honorable Stephen P. Friot on


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                     3/23/2021. (llg) (Entered: 03/23/2021)
03/26/2021   397     REPLY to Response to Motion re 388 MOTION for Summary Judgment filed
                     by Michael Carpenter, Randy Chandler, Scott Crow, Aboutanaa El Habti,
                     Justin Farris, Betty Gesell, Justin Giudice, Joseph Griffin, F Lynn Haueter,
                     Kathryn A LaFortune, Stephan Moore, Calvin Prince, Tommy Sharp, T
                     Hastings Siegfried, Daryl Woodard. (Attachments: # 1 Exhibit 1 − Crow 30b6
                     Depo Excerpts, # 2 Exhibit 2 − Crow Indiv. Depo Excerpts, # 3 Exhibit 3 −
                     Wilkinson Depo Excerpts, # 4 Exhibit 4 − Fins Depo Excerpts)(Mansinghani,
                     Mithun) (Entered: 03/26/2021)
03/29/2021   398     MOTION for Extension of Time by Wade Lay. (Attachments: # 1
                     Envelope)(dtb) (Entered: 03/30/2021)
03/31/2021   399     ORDER denying 390 Motion by Wade Lay; denying 398 Motion by Wade
                     Lay. Signed by Honorable Stephen P. Friot on 3/31/2021. (llg) (Main
                     Document 399 replaced on 4/1/2021 to correct the date at the end of the
                     document) (llg). (Entered: 03/31/2021)
04/01/2021   400     MOTION for Order titled, " Motion to Attend Trial in Person Physically
                     Pursuant to The Procedures of Equality and Fairness Necessary to Attain
                     Adequate Representation" by Wade Lay. (Attachments: # 1 Envelope)(dtb)
                     (Entered: 04/01/2021)
04/02/2021   401     ORDER STRIKING 392 Plaintiffs' Response in Opposition to Defendants'
                     Motion for Summary Judgment as well as related filings 393 and 394 . The
                     ddls, beginning with the 4/9/2021 ddl for trial briefs, and proposed findings of
                     fact and conclusions of law, as set out in 341 8/14/2020 Scheduling Order, are
                     VACATED. Plfs are DIRECTED to provide complete, responsive, verified
                     answers to Interrogatory Nos. 15 and 16 by 5/3/2021. Plfs' new response to
                     388 Defendants' Motion for Summary Judgment due 5/10/2021. Dfts' reply in
                     support of motion for summary judgment due 5/24/2021. (All as fully set out
                     in this order.) Signed by Honorable Stephen P. Friot on 4/2/2021. (llg)
                     Modified on 4/5/2021 (llg). (Entered: 04/02/2021)
04/02/2021   402     NOTICE (other) by Michael Carpenter, Randy Chandler, Scott Crow,
                     Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin Giudice, Joseph Griffin,
                     F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin Prince,
                     Tommy Sharp, T Hastings Siegfried, Daryl Woodard re 396 Order,
                     (Mansinghani, Mithun) (Entered: 04/02/2021)
04/09/2021   403     MOTION for Protective Order by Wade Lay. (Attachments: # 1 Attachment
                     1− Inmate Request to Staff, # 2 Attachment 2− Inmate Request, # 3
                     Envelope)(dtb) (Entered: 04/09/2021)
04/09/2021   404     MOTION for Reconsideration by Wade Lay. (Attachments: # 1
                     Envelope)(dtb) (Entered: 04/09/2021)
04/13/2021   405     ORDER denying 403 Motion for Protective Order by Wade Lay; denying 404
                     Motion for Reconsideration by Wade Lay. Signed by Honorable Stephen P.
                     Friot on 4/13/2021. (llg) (Entered: 04/13/2021)
04/13/2021   406     SUGGESTION OF DEATH Upon the Record as to Nicholas A. Davis by
                     Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,
                     Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott


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                     Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                     Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                     F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                     Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray
                     Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                     D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                     Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                     Underwood, Charles F Warner, Tremane Wood. (Lieberman, Michael)
                     (Entered: 04/13/2021)
04/14/2021   407     SUPPLEMENT 403 MOTION for Protective Order by Wade Lay.
                     (Attachments: # 1 Envelope)(dtb) (Entered: 04/15/2021)
04/23/2021   408     MOTION for Order by Wade Lay. (Attachments: # 1 Exhibit 1− Request to
                     Staff, # 2 Exhibit 2− Correspondence, # 3 Exhibit 3− Inmate Request, # 4
                     Exhibit 4− Letter, # 5 Exhibit 5− Request for Health Services, # 6
                     Envelope)(dtb) (Entered: 04/26/2021)
04/23/2021   409     MOTION for Order titled, "Motion for Disclosure" by Wade Lay.
                     (Attachments: # 1 Attachment 1− Disclosure List, # 2 Envelope)(dtb)
                     (Entered: 04/26/2021)
04/23/2021   410     Witness List by Plaintiff Wade Lay. (Attachments: # 1 Envelope)(dtb)
                     (Entered: 04/26/2021)
04/23/2021   412     LETTER from Wade Lay (Attachments: # 1 Envelope) (dtb) (Entered:
                     04/26/2021)
04/23/2021   413     NOTICE OF APPEAL as to 399 Order on Motion for Order,,, by Wade Lay.
                     (Attachments: # 1 Envelope)(dtb) (Entered: 04/26/2021)
04/26/2021   411     ORDER denying 400 "Plaintiff (Wade Lay) Motion to Attend Trial in Person
                     Physically Pursuant to the Principles of Equality and Fairness Necessary to
                     Attain Adequate Representation." Signed by Honorable Stephen P. Friot on
                     4/26/2021. (llg) (Entered: 04/26/2021)
04/27/2021   414     LETTER from Deputy Clerk Lori Gray to Clerk, Supreme Court of the United
                     States, enclosing 413 Notice of Appeal by Wade Lay. (llg) (Entered:
                     04/27/2021)
04/28/2021   415     ORDER. The ddls for response briefs to pending or future motions filed by plf
                     Wade Lay, who appears pro se, are SUSPENDED. The court will establish a
                     new briefing schedule if and when further briefing is permitted. Signed by
                     Honorable Stephen P. Friot on 4/28/2021. (llg) (Entered: 04/28/2021)
05/05/2021   416     UNOPPOSED MOTION for Leave to File Excess Pages by Brenda E Andrew,
                     Ronson Kyle Bush, Jemaine Cannon, James A Coddington, Benjamin R Cole,
                     Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S
                     Fairchild, Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M
                     Grant, Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D
                     Harmon, Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius
                     D Jones, Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander
                     Martinez, Alfred B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray
                     Postelle, Richard Rojem, James Ryder, Anthony Sanchez, Kendrick A
                     Simpson, Michael Dewayne Smith, Kevin R Underwood, Charles F Warner,


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                     Tremane Wood. (Lieberman, Michael) (Entered: 05/05/2021)
05/05/2021   417     ORDER granting 416 Plaintiffs' Unopposed Motion for Leave to File
                     Oversized Opposition to Defendants' Motion for Summary Judgment. Plfs are
                     granted leave to file a brief not to exceed 55 pgs in opposition to dfts'
                     summary judgment mtn. Dfts are granted leave to file a reply in response to
                     plfs' opposition not to exceed 15 pgs. Signed by Honorable Stephen P. Friot on
                     5/5/2021. (llg) (Entered: 05/05/2021)
05/06/2021   418     MOTION for Leave to file Supplemental Brief by Michael Carpenter, Randy
                     Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin
                     Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan
                     Moore, Calvin Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard.
                     (Attachments: # 1 Exhibit 1 − Instructions for Scheduling Visits, # 2 Exhibit 2
                     − Correspondence re Meetings with Plaintiffs, # 3 Exhibit 3 − Death Row
                     Attorney Visits 4.26.21, # 4 Exhibit 4 − Correspondence re Calls 05.03.21, # 5
                     Exhibit 5 − Grant Refusal, # 6 Exhibit 6 − 2021−05−03 Glossip et al_Enc
                     Suppl Interrogatories ltr to SG)(Mansinghani, Mithun) (Entered: 05/06/2021)
05/07/2021   419     ENTER ORDER striking 418 Defendants' Motion for Leave to File
                     Supplemental Brief. Entered at the direction of Honorable Stephen P. Friot on
                     5/7/2021. (llg) (Entered: 05/07/2021)
05/07/2021   420     MOTION for Leave to file Supplemental Brief by Michael Carpenter, Randy
                     Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin
                     Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan
                     Moore, Calvin Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard.
                     (Attachments: # 1 Exhibit 1 − Instructions for Scheduling Visits, # 2 Exhibit 2
                     − Correspondence re Meetings with Plaintiffs, # 3 Exhibit 3 − Death Row
                     Attorney Visits 4.26.21, # 4 Exhibit 4 − Correspondence re Calls 05.03.21, # 5
                     Exhibit 5 − Grant Refusal, # 6 Exhibit 6 − 2021−05−03 Glossip et al_Enc
                     Suppl Interrogatories ltr to SG)(Mansinghani, Mithun) (Entered: 05/07/2021)
05/07/2021   421     ORDER granting 420 Defendants' Motion for Leave to File Supplemental
                     Brief (as fully set out in this order). Signed by Honorable Stephen P. Friot on
                     5/7/2021. (llg) (Entered: 05/07/2021)
05/07/2021   422     BRIEF IN SUPPORT re 388 MOTION for Summary Judgment pursuant to
                     Order 421 by Michael Carpenter, Randy Chandler, Scott Crow, Aboutanaa El
                     Habti, Justin Farris, Betty Gesell, Justin Giudice, Joseph Griffin, F Lynn
                     Haueter, Kathryn A LaFortune, Stephan Moore, Calvin Prince, Tommy Sharp,
                     T Hastings Siegfried, Daryl Woodard. (Attachments: # 1 Exhibit 1 −
                     Supplemental Responses, # 2 Exhibit 2 − Alternatives Chart, # 3 Exhibit 3 −
                     Buffington Depo Excerpt)(Mansinghani, Mithun) (Entered: 05/07/2021)
05/10/2021   423     UNOPPOSED MOTION to Dismiss for Lack of Jurisdiction the Claims of
                     Plaintiff Patrick Murphy by Michael Carpenter, Randy Chandler, Scott Crow,
                     Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin Giudice, Joseph Griffin,
                     F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin Prince,
                     Tommy Sharp, T Hastings Siegfried, Daryl Woodard. (Attachments: # 1
                     Exhibit 1 − Murphy Judgment)(Mansinghani, Mithun) (Entered: 05/10/2021)
05/10/2021   424     ORDER granting 423 Defendants' Unopposed Motion to Dismiss the Claims
                     of Plaintiff Patrick Murphy. Signed by Honorable Stephen P. Friot on
                     5/10/2021. (llg) (Entered: 05/10/2021)

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05/14/2021   425     RESPONSE in Opposition re 388 MOTION for Summary Judgment filed by
                     Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,
                     Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott
                     Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                     Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                     F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                     Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray
                     Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                     D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                     Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                     Underwood, Charles F Warner, Tremane Wood. (Attachments: # 1 Exhibit 1 −
                     Excerpts_Ok Death Penalty Commission Report (2017), # 2 Exhibit 2 −
                     Excerpts_Antognini Dep. Tr., # 3 Exhibit 3 − Excerpts_Buffington Dep. Tr., #
                     4 Exhibit 4 − Shenandoah ltr re Buffington, # 5 Exhibit 5 −
                     Excerpt_Weinberger Dep. Tr., # 6 Exhibit 6 − Russell 1986 (Weinberger Dep.
                     Tr. Ex. 29), # 7 Exhibit 7 − Russell 1993 (Weinberger Dep. Tr. Ex. 51), # 8
                     Exhibit 8 − Wilkinson Report, # 9 Exhibit 9 − Filed Under Seal Pursuant to
                     [Doc. 90], # 10 Exhibit 10 − Filed Under Seal Pursuant to [Doc. 90], # 11
                     Exhibit 11 − Excerpts_Yen Dep. Tr., # 12 Exhibit 12 − BuzzFeed News
                     Article 11−28−18, # 13 Exhibit 13 − 2020−08−20 AZ Gov Ducey ltr re
                     pentobarbital, # 14 Exhibit 14 − 2021−01−11 Fins Expert Report & Exhibits, #
                     15 Exhibit 15 − Divoll 1981, # 16 Exhibit 16 − Greenblatt 1977, # 17 Exhibit
                     17 − Schultz 2012, # 18 Exhibit 18 − Pls Suppl Interrog Resps, # 19 Exhibit
                     19 − Excerpts_DOC Formulary Dec 2020, # 20 Exhibit 20 − Smith
                     2019)(Lieberman, Michael) (Entered: 05/14/2021)
05/14/2021   426     SEALED EXHIBIT by Plaintiffs Brenda E Andrew, Ronson Kyle Bush,
                     Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                     Cuesta−Rodriguez, Scott Eizember, Richard S Fairchild, Richard E Glossip,
                     Clarance Goode, Donald Anthony Grant, John M Grant, Wendell A Grissom,
                     Phillip D Hancock, John F Hanson, Marlon D Harmon, Jimmy Dean Harris,
                     Shelton D Jackson, Raymond E Johnson, Julius D Jones, Emmanuel A
                     Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, James D Pavatt,
                     Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony Sanchez,
                     Kendrick A Simpson, Michael Dewayne Smith, Kevin R Underwood, Charles
                     F Warner, Tremane Wood Re: 425 Response in Opposition to Motion,,,,,,,
                     (Lieberman, Michael) (Entered: 05/14/2021)
05/14/2021   427     SEALED EXHIBIT by Plaintiffs Brenda E Andrew, Ronson Kyle Bush,
                     Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                     Cuesta−Rodriguez, Scott Eizember, Richard S Fairchild, Richard E Glossip,
                     Clarance Goode, Donald Anthony Grant, John M Grant, Wendell A Grissom,
                     Phillip D Hancock, John F Hanson, Marlon D Harmon, Jimmy Dean Harris,
                     Shelton D Jackson, Raymond E Johnson, Julius D Jones, Emmanuel A
                     Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred B Mitchell,
                     James D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                     Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                     Underwood, Charles F Warner, Tremane Wood Re: 425 Response in
                     Opposition to Motion,,,,,,, (Lieberman, Michael) (Entered: 05/14/2021)
05/20/2021   428     LETTER from Wade Lay (Attachments: # 1 Envelope) (dtb) (Main Document
                     428 replaced on 5/24/2021) (llg). (Entered: 05/21/2021)



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05/20/2021   429    MOTION for Order titled, "Plaintiff's Motion For Protective Order" by Wade
                    Lay. (Attachments: # 1 Attachment 1− Addendum, # 2 Envelope)(dtb)
                    (Entered: 05/21/2021)
05/20/2021   430    MOTION for Extension of Time by Wade Lay. (Attachments: # 1
                    Envelope)(dtb) (Entered: 05/21/2021)
05/21/2021   432    LETTER from Clerk, Supreme Court of the United States (Attachments: # 1
                    Attachment − 4−27−21 Letter from USDC Court Clerk to Clerk, Supreme
                    Court, # 2 Attachment − Doc. no. 413 − Wade Lay Notice of Appeal, # 3
                    Attachment − Mailing label to Clerk, Supreme Court, # 4 Attachment −
                    Envelope) (llg) (Entered: 05/26/2021)
05/25/2021   431    LETTER from Deputy Clerk Lori Gray to Clerk, Supreme Court of the United
                    States, enclosing 430 MOTION for Extension of Time by Wade Lay. (llg)
                    (Entered: 05/25/2021)
05/27/2021   433    REPLY to Response to Motion re 388 MOTION for Summary Judgment filed
                    by Michael Carpenter, Randy Chandler, Scott Crow, Aboutanaa El Habti,
                    Justin Farris, Betty Gesell, Justin Giudice, Joseph Griffin, F Lynn Haueter,
                    Kathryn A LaFortune, Stephan Moore, Calvin Prince, Tommy Sharp, T
                    Hastings Siegfried, Daryl Woodard. (Attachments: # 1 Exhibit 1−Mihic Ch
                    19_ Hypnotics and Sedatives, # 2 Exhibit 2−Antognini Depo Excerpts, # 3
                    Exhibit 3−Crow 30b6 Depo Excerpts, # 4 Exhibit 4−Crow Indiv Depo
                    Excerpts, # 5 Exhibit 5−Wilkinson Depo Excerpts, # 6 Exhibit 6−Fins Depo
                    Excerpts)(Mansinghani, Mithun) (Entered: 05/27/2021)
06/11/2021   434    LETTER from Wade Lay (Attachments: # 1 Envelope) (dtb) (Entered:
                    06/16/2021)
06/17/2021   435    UNOPPOSED MOTION for Leave to Supplement Opposition to Defendants'
                    Motion for Summary Judgment by Brenda E Andrew, Ronson Kyle Bush,
                    Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                    Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S Fairchild,
                    Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M Grant,
                    Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D Harmon,
                    Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                    Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred
                    B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray Postelle, Richard
                    Rojem, James Ryder, Anthony Sanchez, Kendrick A Simpson, Michael
                    Dewayne Smith, Kevin R Underwood, Charles F Warner, Tremane Wood.
                    (Rolls, Emma) (Entered: 06/17/2021)
06/21/2021   436    ORDER granting 435 Plaintiffs' Unopposed Motion for Leave to Supplement
                    Opposition to Defendants' Motion for Summary Judgment. Signed by
                    Honorable Stephen P. Friot on 6/21/2021. (llg) (Entered: 06/21/2021)
06/21/2021   437    SUPPLEMENT re 425 Response in Opposition to Motion,,,,,,, Exhibit 18 by
                    Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,
                    Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott
                    Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                    Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                    F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                    Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray
                    Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James

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                    D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                    Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                    Underwood, Charles F Warner, Tremane Wood. (Rolls, Emma) (Entered:
                    06/21/2021)
06/29/2021   438    MOTION to Withdraw as Attorney of Record by Michael W. Lieberman by
                    Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,
                    Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott
                    Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                    Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                    F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                    Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray
                    Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                    D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                    Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                    Underwood, Charles F Warner, Tremane Wood. (Lieberman, Michael)
                    (Entered: 06/29/2021)
06/30/2021   439    ORDER granting 438 Motion to Withdraw as Counsel. Attorney Michael W
                    Lieberman withdrawn as counsel of record. Signed by Honorable Stephen P.
                    Friot on 6/30/2021. (llg) (Entered: 06/30/2021)
06/30/2021   440    SUGGESTION OF DEATH Upon the Record as to Jimmy Dean Harris by
                    Jimmy Dean Harris. (Rolls, Emma) (Entered: 06/30/2021)
07/14/2021   441    ORDER re non−response by plf John M Grant to dfts' Interrogatory No. 15
                    (as fully set out in this order). Signed by Honorable Stephen P. Friot on
                    7/14/2021. (llg) (Entered: 07/14/2021)
07/15/2021   442    ENTRY of Appearance by Michael W Lieberman on behalf of Richard E
                    Glossip (Lieberman, Michael) Modified on 7/15/2021 (llg). (Entered:
                    07/15/2021)
07/15/2021          Docket Annotation: The docket text for 442 Entry of Appearance by Michael
                    W Lieberman has been corrected to reflect that the Entry of Appearance is
                    filed only on behalf of plaintiff Richard E Glossip. (llg) (Entered: 07/15/2021)
07/15/2021   443    NOTICE of Change of Address by Michael W Lieberman (Lieberman,
                    Michael) (Entered: 07/15/2021)
07/19/2021   444    ORDER directing the Warden of the Oklahoma State Penitentiary to deliver
                    this order and an extra copy of the attached exhibit to Wade Lay (with further
                    instructions as fully set out in this order). Signed by Honorable Stephen P.
                    Friot on 7/19/2021. (Attachment: # 1 Exhibit A − Alternative methods of
                    carrying out sentence of death)(llg) (Entered: 07/19/2021)
07/23/2021   445    MOTION for Extension of Time by Wade Lay. (Attachments: # 1
                    Envelope)(dtb) (Entered: 07/23/2021)
07/26/2021   446    ORDER granting in part and denying in part 445 Wade Lay's Motion for
                    Time Extension of 21 Days to Respond to the Court's Order at Doc. No. 444
                    (as fully set out in this order). Signed by Honorable Stephen P. Friot on
                    7/26/2021. (llg) (Entered: 07/26/2021)
08/06/2021   447    NOTICE (other) by Michael Carpenter, Randy Chandler, Scott Crow,
                    Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin Giudice, Joseph Griffin,

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                    F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin Prince,
                    Tommy Sharp, T Hastings Siegfried, Daryl Woodard re 444 Order, 446 Order
                    on Motion for Extension of Time to File, (Attachments: # 1 Exhibit 1 − Doc
                    444−1 signed by Wade Lay)(Mansinghani, Mithun) (Entered: 08/06/2021)
08/09/2021   448    RESPONSE re 444 Order, filed by Wade Lay. (Attachments: # 1 Attachment
                    1− DOC documentation, # 2 Envelope)(dtb) (Entered: 08/10/2021)
08/11/2021   449    ORDER granting in part and denying in part 388 Defendants' Motion for
                    Summary Judgment (as fully set out in this order). Signed by Honorable
                    Stephen P. Friot on 8/11/2021. (llg) (Entered: 08/11/2021)
08/11/2021   450    RULE 54(b) FINAL JUDGMENT in favor of defendants and against James
                    A Coddington. Signed by Honorable Stephen P. Friot on 8/11/2021. (llg)
                    (Entered: 08/11/2021)
08/11/2021   451    RULE 54(b) FINAL JUDGMENT in favor of defendants and against Donald
                    Anthony Grant. Signed by Honorable Stephen P. Friot on 8/11/2021. (llg)
                    (Entered: 08/11/2021)
08/11/2021   452    RULE 54(b) FINAL JUDGMENT in favor of defendants and against John
                    M Grant. Signed by Honorable Stephen P. Friot on 8/11/2021. (llg) (Entered:
                    08/11/2021)
08/11/2021   453    RULE 54(b) FINAL JUDGMENT in favor of defendants and against Julius
                    D Jones. Signed by Honorable Stephen P. Friot on 8/11/2021. (llg) (Entered:
                    08/11/2021)
08/11/2021   454    RULE 54(b) FINAL JUDGMENT in favor of defendants and against Wade
                    Lay. Signed by Honorable Stephen P. Friot on 8/11/2021. (llg) (Entered:
                    08/11/2021)
08/11/2021   455    RULE 54(b) FINAL JUDGMENT in favor of defendants and against Gilbert
                    Ray Postelle. Signed by Honorable Stephen P. Friot on 8/11/2021. (llg)
                    (Entered: 08/11/2021)
08/11/2021   456    ORDER. Scheduling Conference set for 8/31/2021 10:00 AM in Chambers
                    before Honorable Stephen P. Friot (as fully set out in this order). Signed by
                    Honorable Stephen P. Friot on 8/11/2021. (llg) (Entered: 08/11/2021)
08/19/2021   457    NOTICE (other) by Wade Lay (Attachments: # 1 Envelope)(dtb) (Additional
                    attachment(s) added on 8/23/2021: # 2 Attachment 1− Consent Regarding
                    Alternative Methods) (dtb). Modified on 8/23/2021 (llg). (Entered:
                    08/23/2021)
08/19/2021   458    NOTICE OF APPEAL as to 444 Order, by Wade Lay. (Attachments: # 1
                    Envelope)(dtb) (Entered: 08/23/2021)
08/19/2021          MOTION to Vacate 454 Judgment by Wade Lay (SEE DOC. NO. 458 FOR
                    IMAGE). (llg) (Entered: 08/24/2021)
08/20/2021   459    NOTICE (other) by Wade Lay re 444 Order, (Attachments: # 1 Attachment 1−
                    Correspondence, # 2 Attachment 2− Letter, # 3 Envelope)(dtb) (Entered:
                    08/23/2021)
08/20/2021   460    SUPPLEMENT re 447 Notice (other), by Wade Lay. (Attachments: # 1
                    Attachment 1− Supporting Documents, # 2 Envelope)(dtb) (Entered:

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                    08/23/2021)
08/23/2021   463    SUPPLEMENT re 444 Order, 448 Response by Wade Lay. (Attachments: # 1
                    Attachment 1− Amended Response to #448, # 2 Envelope)(dtb) (Entered:
                    08/25/2021)
08/23/2021   494    NOTICE OF APPEAL as to 449 Order on Motion for Summary Judgment,
                    Order on Motion for Order,,, Order on Motion for Extension of Time to File
                    by Wade Lay. (Attachments: # 1 Attachment 1 − Amended Response to #448,
                    # 2 Envelope)(llg) (Entered: 10/12/2021)
08/25/2021   461    ORDER re 457 Notice (submission of alternative method of execution) filed
                    by Wade Lay, 458 Notice of Appeal, MOTION to Vacate Judgment filed by
                    Wade Lay, 459 Notice (other) filed by Wade Lay, 460 Supplement filed by
                    Wade Lay. Dfts are DIRECTED to file a response brief which addresses each
                    of these documents, DUE 21 days from the date of this order. Any reply brief
                    Mr. Lay wishes to file is DUE 14 days after the filing of dft's response brief.
                    Except for the filings by Mr. Lay addressed in this order, the order which
                    suspended briefing on Mr. Lay's motions remains in effect. Signed by
                    Honorable Stephen P. Friot on 8/25/2021. (llg) (Entered: 08/25/2021)
08/25/2021   462    MOTION titled, "Petition for Appointment of Next Friend for Plaintiff Wade
                    Lay" by Rhonda Kemp on behalf of Wade Lay. (Attachments: # 1 Attachment
                    1− Order from The Northern District of Oklahoma, # 2 Attachment 2− Order
                    from The Northern District of Oklahoma)(dtb) Modified on 8/25/2021 (llg).
                    (Entered: 08/25/2021)
08/25/2021   464    NOTICE OF APPEAL as to 449 Order on Motion for Summary Judgment,
                    Order on Motion for Order, Order on Motion for Extension of Time to File by
                    Wade Lay. (Attachments: # 1 Attachment 1− Rule 54(b) Final Judgement as to
                    Wade Lay, # 2 Envelope)(dtb) (Entered: 08/26/2021)
08/26/2021   466    Request for Docket Sheet by Wade Lay (Attachments: # 1 Envelope)(dtb)
                    (Entered: 08/27/2021)
08/27/2021   465    NOTICE (other) by Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon,
                    James A Coddington, Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas
                    A Davis, Scott Eizember, Richard S Fairchild, Richard E Glossip, Clarance
                    Goode, Donald Anthony Grant, John M Grant, Wendell A Grissom, Phillip D
                    Hancock, John F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D
                    Jackson, Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky
                    Ray Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy,
                    James D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                    Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                    Underwood, Charles F Warner, Tremane Wood AS TO REPRESENTATION
                    OF PLAINTIFF WADE LAY (Rolls, Emma) (Entered: 08/27/2021)
08/30/2021   467    MOTION to Amend/Correct , ALTER AND/OR VACATE JUDGMENT; OR,
                    IN THE ALTERNATIVE, FOR A STAY OF ENFORCEMENT OF JUDGMENT
                    by Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A
                    Coddington, Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis,
                    Scott Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode,
                    Donald Anthony Grant, John M Grant, Wendell A Grissom, Phillip D
                    Hancock, John F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D
                    Jackson, Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky

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                    Ray Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy,
                    James D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                    Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                    Underwood, Charles F Warner, Tremane Wood. (Attachments: # 1 Exhibit 1 −
                    Coddington affidavit and alternative pled, # 2 Exhibit 2 − D. Grant affidavit
                    and alternative pled, # 3 Exhibit 3 − Jones affidavit and alternative pled, # 4
                    Exhibit 4 − Postelle affidavit and alternative pled, # 5 Exhibit 5 − Coddington
                    affidavit and supporting attachments)(Rolls, Emma) (Entered: 08/30/2021)
08/31/2021   469    Minute Entry for proceedings held before Honorable Stephen P. Friot:
                    Scheduling Conference held on 8/31/2021. Bench Trial set for 2/28/2022
                    09:00 AM in Courtroom 401 before Honorable Stephen P. Friot. Plfs' trial
                    brief due 1/18/2022. Dfts' trial brief due 2/15/2022. Plfs may, if they choose,
                    file a mtn for leave to file a reply trial brief. The due date for post−trial
                    proposed findings of fact & conclusions of law will be set at conclusion of
                    trial. Soft ddl of 11/1/2021 for any mtns to file supplemental witness & exhibit
                    lists. (llg) (Entered: 09/01/2021)
09/01/2021   468    ORDER regarding 462 "Petition for Appointment of Next Friend for Plaintiff
                    Wade Lay" by Rhonda Kemp. The court DIRECTS dfts to promptly provide
                    Mr. Lay with a copy of Ms. Kemp's petition & a copy of this order. The clerk,
                    when she mails Mr. Lay his copy of this order, is also DIRECTED to include a
                    copy of Ms. Kemp's petition. Responses to Ms. Kemp's petition, whether filed
                    by Mr. Lay or any other party, are DUE 14 days from the date of this order (as
                    fully set out in this order). No reply brief is permitted at this time. Signed by
                    Honorable Stephen P. Friot on 9/1/2021. (llg) (Entered: 09/01/2021)
09/01/2021   470    MOTION to Withdraw as Attorney Pilar R. Stillwater by Brenda E Andrew,
                    Ronson Kyle Bush, Jemaine Cannon, James A Coddington, Benjamin R Cole,
                    Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S
                    Fairchild, Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M
                    Grant, Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D
                    Harmon, Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius
                    D Jones, Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander
                    Martinez, Alfred B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray
                    Postelle, Richard Rojem, James Ryder, Anthony Sanchez, Kendrick A
                    Simpson, Michael Dewayne Smith, Kevin R Underwood, Charles F Warner,
                    Tremane Wood. (Stronski, James) (Entered: 09/01/2021)
09/01/2021   471    ORDER granting 470 Motion to Withdraw as Counsel. Attorney Pilar R.
                    Stillwater withdrawn as counsel for plaintiffs. Signed by Honorable Stephen P.
                    Friot on 9/1/2021. (llg) (Entered: 09/01/2021)
09/03/2021   472    NOTICE OF APPEAL as to 454 Judgment by Wade Lay. (Attachments: # 1
                    Envelope)(dtb) (Entered: 09/03/2021)
09/03/2021   473    NOTICE titled: Manipulation of Documents and Pleading bu Oklahoma State
                    Penitentiary by Wade Lay re 457 Notice (other) (Attachments: # 1 Attachment
                    1− Supporting Documents, # 2 Envelope)(dtb) (Entered: 09/03/2021)
09/08/2021   474    PRELIMINARY RECORD LETTER − Electronic Transmission of Notice of
                    Appeal with Preliminary Record sent to Tenth Circuit Court of Appeals re 464
                    Notice of Appeal, (Attachments: # 1 Attachment 1− Preliminary Record on
                    Appeal)(dtb) (Entered: 09/08/2021)


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09/08/2021   475    PRELIMINARY RECORD LETTER − Electronic Transmission of Notice of
                    Appeal with Preliminary Record sent to Tenth Circuit Court of Appeals re 472
                    Notice of Appeal (Attachments: # 1 Attachment 1− Preliminary Record on
                    Appeal)(dtb) (Entered: 09/08/2021)
09/09/2021   476    RESPONSE in Opposition re 467 MOTION to Amend/Correct , ALTER
                    AND/OR VACATE JUDGMENT; OR, IN THE ALTERNATIVE, FOR A STAY
                    OF ENFORCEMENT OF JUDGMENT filed by Michael Carpenter, Randy
                    Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin
                    Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan
                    Moore, Calvin Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard.
                    (Mansinghani, Mithun) (Entered: 09/09/2021)
09/09/2021   477    Tenth Circuit USCA Case Number 21−6101 for 472 Notice of Appeal filed by
                    Wade Lay. Prisoner case docketed. DATE RECEIVED: 09/08/2021. Notice of
                    appearance due on 09/23/2021 for Steve Burrage, Michael Carpenter, Randy
                    Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin
                    Giudice, Joseph Griffin, F. Lynn Haueter, Kathryn A. LaFortune, Stephan
                    Moore, Calvin Prince, Tommy Sharp, T. Hastings Siegfried, Ernest D. Ware
                    and Daryl Woodard and on 10/12/2021 for Wade Lay. Fee or 1915 forms due
                    10/12/2021 for Wade Lay. [21−6101] (kmt) (Entered: 09/10/2021)
09/09/2021   478    ORDER of USCA as to 472 Notice of Appeal filed by Wade Lay. Order filed
                    by Clerk of the Court abating case pending the district courts disposition of the
                    motions docketed as ECF Nos. 458 and 467. Served on 09/09/2021. (See the
                    attachment for the order.) [21−6101](kmt) (Entered: 09/10/2021)
09/13/2021   479    MOTION titled, "Motion to Stay Execution and Injunctive Relief (Brief in
                    Support)" by Wade Lay. (Attachments: # 1 Envelope)(dtb) (Entered:
                    09/14/2021)
09/15/2021   480    RESPONSE re 457 Notice (other), 460 Supplement, 458 Notice of Appeal,
                    459 Notice (other) per 461 Order filed by Michael Carpenter, Randy
                    Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin
                    Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan
                    Moore, Calvin Prince, Tommy Sharp, T Hastings Siegfried, Daryl Woodard.
                    (Mansinghani, Mithun) (Entered: 09/15/2021)
09/15/2021   481    RESPONSE to Motion re 462 MOTION for Order Appointing Rhonda Kemp
                    as Wade Lay's "Next Friend" filed by Brenda E Andrew, Ronson Kyle Bush,
                    Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                    Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S Fairchild,
                    Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M Grant,
                    Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D Harmon,
                    Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                    Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred
                    B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray Postelle, Richard
                    Rojem, James Ryder, Anthony Sanchez, Kendrick A Simpson, Michael
                    Dewayne Smith, Kevin R Underwood, Charles F Warner, Tremane Wood.
                    (Rolls, Emma) (Entered: 09/15/2021)
09/15/2021   482    RESPONSE to Motion re 462 MOTION for Order Appointing Next Friend
                    filed by Michael Carpenter, Randy Chandler, Scott Crow, Aboutanaa El Habti,
                    Justin Farris, Betty Gesell, Justin Giudice, Joseph Griffin, F Lynn Haueter,


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                    Kathryn A LaFortune, Stephan Moore, Calvin Prince, Tommy Sharp, T
                    Hastings Siegfried, Daryl Woodard. (Mansinghani, Mithun) (Entered:
                    09/15/2021)
09/16/2021   483    REPLY to Response to Motion re 467 MOTION to Amend/Correct , ALTER
                    AND/OR VACATE JUDGMENT; OR, IN THE ALTERNATIVE, FOR A STAY
                    OF ENFORCEMENT OF JUDGMENT filed by Brenda E Andrew, Ronson
                    Kyle Bush, Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                    Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S Fairchild,
                    Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M Grant,
                    Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D Harmon,
                    Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                    Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred
                    B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray Postelle, Richard
                    Rojem, James Ryder, Anthony Sanchez, Kendrick A Simpson, Michael
                    Dewayne Smith, Kevin R Underwood, Charles F Warner, Tremane Wood.
                    (Attachments: # 1 Exhibit 6 − 9−9−21 Letter to Judge Friot from Donald
                    Grant)(Rolls, Emma) (Entered: 09/16/2021)
09/16/2021   484    RESPONSE by Plaintiff Wade Lay to 462 MOTION titled, "Petition for
                    Appointment of Next Friend for Plaintiff Wade Lay" by Rhonda Kemp.
                    (Attachments: # 1 Exhibit A− Letter, # 2 Exhibit B− Request for Health
                    Services, # 3 Exhibit C− Request for Health Services, # 4 Exhibit D−
                    Language, # 5 Exhibit E− Execution Selections, # 6 Envelope)(dtb) Modified
                    on 9/17/2021 (llg). (Entered: 09/17/2021)
09/29/2021   485    MOTION for Leave to Supplement Reply [Doc. 483] with Exhibits 7−9 by
                    Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,
                    Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott
                    Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                    Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                    F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                    Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray
                    Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                    D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                    Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                    Underwood, Charles F Warner, Tremane Wood. (Attachments: # 1 Attachment
                    Ex. 7: D.Grant ltr (9−14−21); Ex. 8: D. Grant ltr (9−22−21); Ex. 9 − Affidavit
                    of Emma Rolls)(Rolls, Emma) (Entered: 09/29/2021)
09/29/2021   486    ORDER granting 485 Plaintiffs' Motion for Leave to Supplement Reply In
                    Support of Plaintiffs' Motion to Amend, Alter and/or Vacate Judgment or, in
                    the Alternative, for a Stay of Enforcement of Judgment. Said supplement shall
                    be filed within two business days of the date of this order. Signed by Judge
                    Stephen P. Friot on 9/29/2021. (llg) (Entered: 09/29/2021)
09/30/2021   487    SUPPLEMENT re 483 Reply to Response to Motion,,, Exhibits 7−9 by
                    Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon, James A Coddington,
                    Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott
                    Eizember, Richard S Fairchild, Richard E Glossip, Clarance Goode, Donald
                    Anthony Grant, John M Grant, Wendell A Grissom, Phillip D Hancock, John
                    F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D Jackson,
                    Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky Ray


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                    Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                    D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                    Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                    Underwood, Charles F Warner, Tremane Wood. (Attachments: # 1 Exhibit 7 −
                    D. Grant ltr (9−14−21), # 2 Exhibit 8 − D. Grant ltr (9−22−21), # 3 Exhibit 9 −
                    Affidavit of Emma Rolls)(Rolls, Emma) (Entered: 09/30/2021)
10/01/2021   488    REPLY by Plaintiff Wade Lay re 480 Response, filed by Wade Lay.
                    (Attachments: # 1 Exhibit 1− Inmate Request, # 2 Envelope)(dtb) Modified on
                    10/4/2021 (dtb). (Main Document 488 replaced on 10/4/2021) (dtb). (Entered:
                    10/01/2021)
10/01/2021   489    SUPPLEMENT re 488 Reply by Wade Lay. (Attachments: # 1 Exhibit 1−
                    Miscellaneous documents, # 2 Envelope)(dtb) Modified on 10/4/2021 (dtb).
                    (Entered: 10/01/2021)
10/01/2021   490    ORDER of USCA as to 472 Notice of Appeal filed by Wade Lay. Order filed
                    by Clerk of the Court sua sponte to direct the parties to address the propriety
                    of the district court's FRCP 54(b) certification. Jurisdictional memorandum
                    brief due 10/12/2021 for Wade Lay and for Aboutanaa El Habti, et al.
                    Proceedings in this appeal otherwise remain abated. Please see attached order
                    for additional information. Served on 10/01/2021. [21−6101] (knt) (Entered:
                    10/05/2021)
10/05/2021          Docket Annotation: Pursuant to Rule 25, Fed. R. Civ. P., the court has
                    substituted on the docket sheet Jim Farris, Warden, in his official capacity, for
                    Tommy Sharp, Warden, in his official capacity. (llg) (Entered: 10/05/2021)
10/05/2021   491    NOTICE (other) by Brenda E Andrew, Ronson Kyle Bush, Jemaine Cannon,
                    James A Coddington, Benjamin R Cole, Carlos Cuesta−Rodriguez, Nicholas
                    A Davis, Scott Eizember, Richard S Fairchild, Richard E Glossip, Clarance
                    Goode, Donald Anthony Grant, John M Grant, Wendell A Grissom, Phillip D
                    Hancock, John F Hanson, Marlon D Harmon, Jimmy Dean Harris, Shelton D
                    Jackson, Raymond E Johnson, Julius D Jones, Emmanuel A Littlejohn, Ricky
                    Ray Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy,
                    James D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                    Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                    Underwood, Charles F Warner, Tremane Wood re 490 USCA Order, (Rolls,
                    Emma) (Entered: 10/05/2021)
10/12/2021   492    ORDER denying 462 Rhonda Kemp's Petition for Appointment of Next
                    Friend for Plaintiff Wade Lay. Signed by Judge Stephen P. Friot on
                    10/12/2021. (llg) (Entered: 10/12/2021)
10/12/2021   493    ORDER DENYING IN PART and GRANTING IN PART 467 Plaintiffs'
                    Motion to Amend, Alter and/or Vacate Judgment or, in the Alternative, for a
                    Stay of Enforcement of Judgment. The motion is DENIED except as to plf
                    James Coddington. As to plf Coddington, the motion is GRANTED in part and
                    DENIED in part, as follows: The Rule 54(b) final judgment is VACATED in
                    all respects and the grant of summary judgment on Count II is VACATED. To
                    the extent that Coddington seeks relief from the grant of summary judgment
                    with respect to Count IX, his motion is DENIED. This leaves Coddington's
                    Count II claim pending for trial. The court DENIES 457 , 458 , 459 , 460 , 463
                    , 479 Motions and Other Post−Judgment Filings by Wade Lay. (All as fully set


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                    out in this order.) Signed by Judge Stephen P. Friot on 10/12/2021. (llg)
                    (Entered: 10/12/2021)
10/13/2021   495    PRELIMINARY RECORD LETTER − Electronic Transmission of Notice of
                    Appeal with Preliminary Record sent to Tenth Circuit Court of Appeals re 494
                    Notice of Appeal. (Attachments: # 1 Attachment 1− Preliminary Record on
                    Appeal) (Entered: 10/13/2021)
10/13/2021   496    SUPPLEMENTAL PRELIMINARY RECORD LETTER − Electronic
                    Transmission of Notice of Appeal with Preliminary Record sent to Tenth
                    Circuit Court of Appeals (Attachments: # 1 Attachment 1− Preliminary
                    ROA)(dtb) (Entered: 10/13/2021)
10/13/2021   497    NOTICE OF APPEAL as to 452 Judgment, 453 Judgment, 455 Judgment, 449
                    Order on Motion for Summary Judgment, Order on Motion for Order,,, Order
                    on Motion for Extension of Time to File, 493 Order on Motion to Vacate,
                    Order on Motion to Amend/Correct, Order on Motion for Order,,,,,,,,, 451
                    Judgment, 349 Order on Motion to Dismiss, by Donald Anthony Grant, John
                    M Grant, Julius D Jones, Gilbert Ray Postelle. (Rolls, Emma) (Entered:
                    10/13/2021)
10/13/2021   498    PRELIMINARY RECORD LETTER − Electronic Transmission of Notice of
                    Appeal with Preliminary Record sent to Tenth Circuit Court of Appeals re 497
                    Notice of Appeal. (Attachments: # 1 Attachment 1 − Preliminary Record on
                    Appeal)(knt) (Entered: 10/13/2021)
10/13/2021   513    Tenth Circuit USCA Case Number 21−6129 for 497 Notice of Appeal, filed
                    by Donald Anthony Grant, Julius D Jones, John M Grant, Gilbert Ray Postelle.
                    Prisoner case docketed. DATE RECEIVED: 10/13/2021. Docketing statement
                    due 10/27/2021 for Donald Anthony Grant, John M. Grant, Julius D. Jones and
                    Gilbert Ray Postelle. Transcript order form due 10/27/2021 for Donald
                    Anthony Grant, John M. Grant, Julius D. Jones and Gilbert Ray Postelle.
                    Notice of appearance due on 10/27/2021 for Michael Carpenter, Randy
                    Chandler, Scott Crow, Aboutanaa El Habti, Justin Farris, Betty Gesell, Justin
                    Giudice, Donald Anthony Grant, John M. Grant, Joseph Griffin, F. Lynn
                    Haueter, Julius D. Jones, Kathryn A. LaFortune, Stephan Moore, Gilbert Ray
                    Postelle, Calvin Prince, Tommy Sharp, T. Hastings Siegfried and Daryl
                    Woodard. A/Pet designation of record due 10/27/2021 for Donald Anthony
                    Grant, John M. Grant, Julius D. Jones and Gilbert Ray Postelle. Appointment
                    motion due 10/27/2021 by Donald Anthony Grant, John M. Grant, Julius D.
                    Jones and Gilbert Ray Postelle. [21−6129] (knt) (Entered: 10/22/2021)
10/15/2021   499    MOTION titled, "Motion to Amend, Alter, and/or Vacate Judgment Denying
                    Petition for Appointment of Next Friend for Plaintiff Wade Lay" by Rhonda
                    Kemp. (Attachments: # 1 Exhibit 1− Forensic Psychological)(dtb) (Entered:
                    10/15/2021)
10/15/2021          Docket Annotation: The court has sealed Exhibit 1 to 499 "Motion to Amend,
                    Alter, and/or Vacate Judgment Denying Petition for Appointment of Next
                    Friend for Plaintiff Wade Lay" filed by Rhonda Kemp, as the document is a
                    forensic psychological evaluation report. (llg) (Entered: 10/15/2021)
10/15/2021   514    ORDER of USCA as to 497 Notice of Appeal, filed by Donald Anthony
                    Grant, Julius D Jones, John M Grant, Gilbert Ray Postelle (dtb) Modified on
                    10/22/2021 (dtb). (Entered: 10/22/2021)

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10/15/2021   515    ORDER of USCA as to 497 Notice of Appeal, filed by Donald Anthony
                    Grant, Julius D Jones, John M Grant, Gilbert Ray Postelle (dtb) (Entered:
                    10/22/2021)
10/18/2021   500    ORDER of USCA as to 497 Notice of Appeal, filed by Donald Anthony
                    Grant, Julius D Jones, John M Grant, Gilbert Ray Postelle, 472 Notice of
                    Appeal filed by Wade Lay (dtb) (Entered: 10/18/2021)
10/18/2021   501    NOTICE re 462 MOTION titled, "Petition for Appointment of Next Friend for
                    Plaintiff Wade Lay" by Wade Lay (Attachments: # 1 Envelope)(dtb) (Entered:
                    10/19/2021)
10/18/2021   502    NOTICE to the court by Wade Lay (Attachments: # 1 Envelope)(dtb)
                    (Entered: 10/19/2021)
10/18/2021   503    MOTION titled, "Petitioners Motion for Stay of Execution Pending Appeal
                    with Order for Evidentiary Hearing to Ascertain The Truth in This
                    Complicated Matter for the Purpose to Avoid a Manifest Injustice With Brief
                    in Support" by Wade Lay. (Attachments: # 1 Envelope)(dtb) (Entered:
                    10/19/2021)
10/20/2021   504    Minute Entry for proceedings held before Judge Stephen P. Friot: Telephonic
                    Conference held on 10/20/2021. (Court Reporter Christy Clark.) (llg)
                    (Entered: 10/20/2021)
10/20/2021   505    ENTRY of Appearance by Jennifer L Crabb on behalf of All Defendants
                    (Crabb, Jennifer) (Entered: 10/20/2021)
10/20/2021   506    MOTION for Preliminary Injunction and Brief in Support by Donald Anthony
                    Grant, John M Grant, Julius D Jones, Gilbert Ray Postelle. (Rolls, Emma)
                    (Entered: 10/20/2021)
10/21/2021   507    ORDER Setting Hearing on 506 MOTION for Preliminary Injunction and
                    Brief in Support: Motion Hearing set for 10/25/2021 09:00 AM in Courtroom
                    401 before Judge Stephen P. Friot. Response due by noon on 10/23/2021.
                    Signed by Judge Stephen P. Friot on 10/21/2021. (llg) (Entered: 10/21/2021)
10/21/2021   508    ORDER regarding 506 Motion for Preliminary Injunction and hearing set on
                    10/25/2021, DIRECTING the filing of witness and exhibit lists (as fully set
                    out in this order). Signed by Judge Stephen P. Friot on 10/21/2021. (llg)
                    (Entered: 10/21/2021)
10/21/2021   509    NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                    10/20/2021 before Judge Friot. Court Reporter: Christy Clark, Telephone
                    number 405−609−5123. Transcript of: Telephonic Conference. Transcript may
                    be viewed at the court public terminal or purchased through the Court
                    Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                    After that date it may be obtained through PACER. Redaction Request due
                    11/12/2021. Redacted Transcript Deadline set for 11/22/2021. Release of
                    Transcript Restriction set for 1/19/2022. (llg) (Entered: 10/21/2021)
10/21/2021   510    MOTION titled, "Motion To Join Plaintiff Wade Lay In Plaintiffs Donald
                    Grant, John Grant, Julius Jones, And Gilbert Postelle's Motion And Brief In
                    Support For Preliminary Injunction" by Rhonda Kemp. (dtb) (Entered:
                    10/21/2021)


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10/21/2021   511    RESPONSE in Support re 510 MOTION for Order for Preliminary Injunction
                    filed by All Plaintiffs. (Rolls, Emma) (Entered: 10/21/2021)
10/22/2021   512    ENTER ORDER. Defendants are DIRECTED to file, not later than 2:00 pm
                    today, 10/22/2021, a response to 499 Rhonda Kemp's Motion to Amend, Alter,
                    and/or Vacate Judgment Denying Petition for Appointment of Next Friend for
                    Plaintiff Wade Lay, and 510 Rhonda Kemp's Motion to Join Plaintiff Wade
                    Lay in Plaintiffs Donald Grant, John Grant, Julius Jones, and Gilbert Postelle's
                    Motion and Brief in Support of Preliminary Injunction. Entered at the direction
                    of Judge Stephen P. Friot on 10/22/2021. (llg) (Entered: 10/22/2021)
10/22/2021          NOTICE from the Court re 512 Enter Order. Defendants are granted leave to
                    file the required response under seal and to also file (not under seal) a redacted
                    version of the response. (llg) (Entered: 10/22/2021)
10/22/2021   516    Exhibit List / Witness List by Plaintiffs Brenda E Andrew, Ronson Kyle Bush,
                    Jemaine Cannon, James A Coddington, Benjamin R Cole, Carlos
                    Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S Fairchild,
                    Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M Grant,
                    Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D Harmon,
                    Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius D Jones,
                    Emmanuel A Littlejohn, Ricky Ray Malone, Mica Alexander Martinez, Alfred
                    B Mitchell, Patrick Murphy, James D Pavatt, Gilbert Ray Postelle, Richard
                    Rojem, James Ryder, Anthony Sanchez, Kendrick A Simpson, Michael
                    Dewayne Smith, Kevin R Underwood, Charles F Warner, Tremane Wood.
                    (Rolls, Emma) (Entered: 10/22/2021)
10/22/2021   517    RESPONSE to Motion re 510 MOTION for Order, 499 MOTION for Order
                    redacted per Notice re 512 Order filed by Michael Carpenter, Randy
                    Chandler, Scott Crow, Aboutanaa El Habti, Jim Farris, Justin Farris, Betty
                    Gesell, Justin Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune,
                    Stephan Moore, Calvin Prince, T Hastings Siegfried, Daryl Woodard.
                    (Mansinghani, Mithun) (Entered: 10/22/2021)
10/22/2021   518    SEALED RESPONSE by Michael Carpenter, Randy Chandler, Scott Crow,
                    Aboutanaa El Habti, Jim Farris, Justin Farris, Betty Gesell, Justin Giudice,
                    Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin
                    Prince, T Hastings Siegfried, Daryl Woodard Re: Notice from the Court, 510
                    MOTION for Order, 499 MOTION for Order (Mansinghani, Mithun)
                    (Entered: 10/22/2021)
10/22/2021   519    ORDER granting 499 Rhonda Kemp's "Motion to Amend, Alter and/or
                    Vacate Judgment Denying Petition for Appointment of Next Friend for
                    Plaintiff Wade Lay;" granting 510 Rhonda Kemp's "Motion to Join Plaintiff
                    Wade Lay in Plaintiffs Donald Grant, John Grant, Julius Jones, and Gilbert
                    Postelle's Motion and Brief in Support for Preliminary Injunction." 492
                    10/12/2021 Order is VACATED, and 462 Rhonda Kemp's "Petition for
                    Appointment of Next Friend for Plaintiff Wade Lay" is GRANTED. Rhonda
                    Kemp is APPOINTED next friend for plf Wade Lay, for purposes of this
                    action. The clerk is DIRECTED to change Kemp's status on the docket sheet
                    from "interested party" to "next friend for plaintiff Wade Lay." Lay, at the
                    request of Kemp acting as his next friend, is hereby JOINED as an add'l
                    movant on 506 "Motion and Brief in Support for Preliminary Injunction on
                    Behalf of Plaintiffs Donald Grant, John Grant, Julius Jones, and Gilbert

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                    Postelle" (set for hrg at 9:00 AM on 10/25/2021). Crowell & Moring is
                    DIRECTED to enter its appearance on behalf of Kemp as next friend for Lay
                    before 9:00 AM on 10/25/2021. 503 "Petitioner's Motion for Stay of Execution
                    Pending Appeal With Order for Evidentiary Hearing to Ascertain the Truth in
                    This Complicated Matter for the Purpose to Avoid a Manifest Injustice Rule
                    8(a)(1)(A) (with Brief in Support)" filed by Wade Lay is STRICKEN. Signed
                    by Judge Stephen P. Friot on 10/22/2021. (llg) (Entered: 10/22/2021)
10/22/2021   520    MOTION in Limine by Michael Carpenter, Randy Chandler, Scott Crow,
                    Aboutanaa El Habti, Jim Farris, Justin Farris, Betty Gesell, Justin Giudice,
                    Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin
                    Prince, T Hastings Siegfried, Daryl Woodard. (Cleveland, Bryan) (Entered:
                    10/22/2021)
10/23/2021   521    RESPONSE in Opposition re 506 MOTION for Preliminary Injunction and
                    Brief in Support filed by Michael Carpenter, Randy Chandler, Scott Crow,
                    Aboutanaa El Habti, Jim Farris, Justin Farris, Betty Gesell, Justin Giudice,
                    Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan Moore, Calvin
                    Prince, T Hastings Siegfried, Daryl Woodard. (Mansinghani, Mithun)
                    (Entered: 10/23/2021)
10/23/2021   522    ENTRY of Appearance by James K Stronski on behalf of Wade Lay (Stronski,
                    James) (Entered: 10/23/2021)
10/23/2021   523    Exhibit List / Witness List by Defendants Michael Carpenter, Randy Chandler,
                    Scott Crow, Aboutanaa El Habti, Jim Farris, Justin Farris, Betty Gesell, Justin
                    Giudice, Joseph Griffin, F Lynn Haueter, Kathryn A LaFortune, Stephan
                    Moore, Calvin Prince, T Hastings Siegfried, Daryl Woodard. (Mansinghani,
                    Mithun) (Entered: 10/23/2021)
10/23/2021   524    ENTRY of Appearance by Emma V Rolls on behalf of Rhonda Kemp, Wade
                    Lay (Rolls, Emma) (Entered: 10/23/2021)
10/23/2021   525    EMERGENCY MOTION for Order to Preserve Evidence of the Execution of
                    John Marion Grant by All Plaintiffs. (Attachments: # 1 Exhibit 1 − Order
                    (Doc. 29) in case 2:14−cv−01447 dated 7−23−14, # 2 Exhibit 2 − Order (Doc.
                    187) in case 2:14−cv−01447 dated 6−22−17)(Rolls, Emma) (Entered:
                    10/23/2021)
10/23/2021   526    MOTION for Leave to File an Amended Witness and Exhibit List by All
                    Plaintiffs. (Attachments: # 1 Attachment Proposed Plaintiffs' Amended
                    Combined Witness and Exhibit List)(Rolls, Emma) (Entered: 10/23/2021)
10/23/2021   527    ORDER granting 526 Plaintiffs' Motion for Leave to File an Amended
                    Plaintiffs' Combined Witness and Exhibit List. Plfs are directed to promptly
                    file the amended list. Signed by Judge Stephen P. Friot on 10/23/2021. (llg)
                    (Entered: 10/23/2021)
10/23/2021   528    Exhibit List / Witness List (AMENDED) by Plaintiffs Brenda E Andrew,
                    Ronson Kyle Bush, Jemaine Cannon, James A Coddington, Benjamin R Cole,
                    Carlos Cuesta−Rodriguez, Nicholas A Davis, Scott Eizember, Richard S
                    Fairchild, Richard E Glossip, Clarance Goode, Donald Anthony Grant, John M
                    Grant, Wendell A Grissom, Phillip D Hancock, John F Hanson, Marlon D
                    Harmon, Jimmy Dean Harris, Shelton D Jackson, Raymond E Johnson, Julius
                    D Jones, Rhonda Kemp, Wade Lay, Emmanuel A Littlejohn, Ricky Ray


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                    Malone, Mica Alexander Martinez, Alfred B Mitchell, Patrick Murphy, James
                    D Pavatt, Gilbert Ray Postelle, Richard Rojem, James Ryder, Anthony
                    Sanchez, Kendrick A Simpson, Michael Dewayne Smith, Kevin R
                    Underwood, Charles F Warner, Tremane Wood. (Rolls, Emma) (Entered:
                    10/23/2021)
10/23/2021   529    RESPONSE to Motion re 520 MOTION in Limine filed by Donald Anthony
                    Grant, John M Grant, Julius D Jones, Rhonda Kemp, Wade Lay, Gilbert Ray
                    Postelle. (Rolls, Emma) (Entered: 10/23/2021)
10/24/2021   530    REPLY to Response to Motion re 520 MOTION in Limine filed by Michael
                    Carpenter, Randy Chandler, Scott Crow, Aboutanaa El Habti, Jim Farris,
                    Justin Farris, Betty Gesell, Justin Giudice, Joseph Griffin, F Lynn Haueter,
                    Kathryn A LaFortune, Stephan Moore, Calvin Prince, T Hastings Siegfried,
                    Daryl Woodard. (Cleveland, Bryan) (Entered: 10/24/2021)
10/25/2021   531    Minute Order. Proceedings held before Judge Stephen P. Friot: Motion
                    Hearing held on 10/25/2021. 520 Defendants' Motion in Limine to Exclude
                    Plaintiffs' Proposed Witness and Exhibits is DENIED, for the reasons set out
                    in detail on the record. 506 The Motion and Brief in Support for Preliminary
                    Injunction on Behalf of Plaintiffs Donald Grant, John Grant, Julius Jones, and
                    Gilbert Postelle, as joined in by Wade Lay, is DENIED, for the reasons set out
                    in detail on the record. A written order will follow. The court defers ruling on
                    525 Plaintiffs' Emergency Motion to Preserve Evidence of the Execution of
                    John Marion Grant. (Court Reporter Tracy Thompson.) (llg) (Entered:
                    10/25/2021)
10/25/2021   532    ORDER ON SECOND MOTION FOR PRELIMINARY INJUNCTION
                    re 506 MOTION for Preliminary Injunction and Brief in Support, re 531
                    Minute Order on Motion for Preliminary Injunction. Follows oral order of
                    10/25/2021. Signed by Judge Stephen P. Friot on 10/25/2021. (llg) (Entered:
                    10/25/2021)
10/25/2021   533    NOTICE OF APPEAL as to 532 Order − Written Order Following Oral Order
                    on Motion, by Donald Anthony Grant, John M Grant, Julius D Jones, Gilbert
                    Ray Postelle. (Rolls, Emma) (Entered: 10/25/2021)
10/25/2021   534    PRELIMINARY RECORD LETTER − Electronic Transmission of Notice of
                    Appeal with Preliminary Record sent to Tenth Circuit Court of Appeals re 533
                    Notice of Appeal (Attachments: # 1 Attachment 1 − Preliminary Record on
                    Appeal)(kmt) (Entered: 10/25/2021)
10/25/2021   535    AMENDED NOTICE OF APPEAL as to 532 Order − Written Order
                    Following Oral Order on Motion, by Donald Anthony Grant, John M Grant,
                    Julius D Jones, Wade Lay, Gilbert Ray Postelle. (Rolls, Emma) Modified on
                    10/25/2021 (llg). (Entered: 10/25/2021)




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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA

RICHARD GLOSSIP, et al.,                    )
                                            )
      Plaintiffs,                           )
                                            )
             vs.                            )    Case No. CIV-14-665-F
                                            )
RANDY CHANDLER, et al.,                     )
                                            )
      Defendants.                           )

                   MOTION AND BRIEF IN SUPPORT
       FOR PRELIMINARY INJUNCTION ON BEHALF OF PLAINTIFFS
                    DONALD GRANT, JOHN GRANT,
                JULIUS JONES, AND GILBERT POSTELLE

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& POSTELLE




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    I.   INTRODUCTION

         Plaintiffs John M. Grant, Donald A. Grant, Julius D. Jones, and Gilbert Ray

Postelle (the “Religious Objector Plaintiffs”) face execution dates, with Mr. John Grant

facing execution in eight days on October 28, 2021. The Religious Objector Plaintiffs

move for a Preliminary Injunction and temporary stay of execution pursuant to Federal

Rule of Civil Procedure 65(a). The October 15th decision of the Court of Appeals and the

State’s refusal to honor its agreement to not hold executions before a plaintiff’s case is

complete (and thus appealable) necessitates this emergency plea for relief from this

Court.

         The Religious Objector Plaintiffs move on two grounds. First, they seek

enforcement of the State’s agreement, provided to this Court by the prior Attorney

General, that the State would not proceed with executions until the case was complete

in the District Court. Given the Court of Appeals’ dismissal of the Religious Objector

Plaintiffs’ appeal based on vacatur of the Rule 54(b) certifications, the Religious

Objector Plaintiffs’ case is not complete before this Court and they cannot appeal or

seek review of this Court’s orders. The State’s agreement was made to avoid the

rushed preliminary injunction scenario in which we now find ourselves.1 Further, the

agreement was made on the record and relied upon by Plaintiffs in the context of the



1
  This is an enforceable and valid agreement made by representations before this Court by
the Attorney General of Oklahoma and acknowledged by this Court. (See Doc. No. 321,
May 5, 2020 Motion Hearing, Tr. at 31:12-25; Gibson v. Arnold, 288 F.3d 1242, 1247
(10th Cir 2002) (oral agreement made to Court was enforceable notwithstanding any
application of Oklahoma statute of frauds).
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pre-trial schedule proposed by the parties to this Court and adopted as modified by the

Court. This Court should issue a stay of the Religious Objector Plaintiffs’ executions

until there is at least a final judgment.

       Second, and separate from the enforcement of the State’s agreement, this Court

may and should grant a preliminary injunction under these unusual procedural

circumstances, in which this Court has dismissed the Religious Objector Plaintiffs

claims in what is now a non-final, unappealable order. This Court’s orders dismissing

these claims address serious legal questions that are novel and/or on which an appellate

court may readily disagree, and the limited status quo injunction sought here would

allow the Religious Objector Plaintiffs to appeal the non-final order against them.

       The Religious Objector Plaintiffs raise important legal issues on which they are

likely to succeed. They also meet the relaxed standard applicable to this limited status

quo injunction – questions on the merits so serious as to make them fair ground for

litigation. These include whether the Baze standard requires a prisoner to choose his

method of execution (in violation of religious and moral beliefs) as opposed to simply

pleading a feasible and readily available alternative for comparison. The Religious

Objector Plaintiffs also raise religious liberty and free exercise of religion claims not at

issue in Baze or the subsequent authority relied upon by this Court.

       The Religious Objector Plaintiffs’ claims raise serious legal questions on the

merits sufficient to support the limited status quo injunction sought here. These

substantial legal questions concern not only the principal Eighth Amendment claim

(Count II), but also the religious liberty/free exercise claim (Count VIII) and the human
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experimentation claim under the Eighth Amendment (Count IX). Similarly, serious

questions are raised on ex post facto and related Due Process claims (Counts VI and VII)

arising from a retroactive application of the statute removing the requirement that lethal

injection be by short-acting barbiturate – a drug in the method found not unconstitutional

in Baze. As a matter of law, dismissed Counts IX, VI and VII also rise and fall with the

Eighth Amendment claim (Count II) on which the Court has denied summary judgment

and on which trial is set February 28, 2022.

II.    BACKGROUND

       This case has an extended procedural history well known to the Court. On March

12, 2020, this Court expressed concern, in view of the State’s delay in developing its

protocol, that the State might schedule executions that would necessitate a rushed

preliminary injunction practice. The Court requested a schedule be set based on input of

the parties that would allow the parties to develop a full record. (Doc. 305). In this

context, the then-Attorney General for Oklahoma represented to the Court that the State

would not seek executions before case completion that would necessitate a similar

rushed preliminary injunction practice on a partial record, as had taken place in this case

several years earlier. On March 19, 2020, the Court reopened this case. (Doc. 307).

       On May 5, 2020, this Court held a scheduling conference and set, among other

things, a schedule for the amendment of the complaint and any response thereto. (Doc.

319). At this conference, counsel for Plaintiffs specifically sought, in view of the March

representation of the Attorney General, that “the State will not seek execution dates until



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after this case has been completed.”2 In response, the Court reminded the parties that it

had the “representation last March from none other than the Attorney General of

Oklahoma that that would not happen. And if we should have any indication that that

will happen, I will be, to put it mildly, immediately available, so it’s not necessary to

address that.”3

       The Third Amended Complaint was filed on July 6, 2020. A scheduling

conference was held August 10, 2020 and a scheduling order issued promptly thereafter.

(Doc. 341). The Court ruled on a motion to dismiss, dismissing claims I, III and VIII

from the Third Amended Complaint by order dated September 3, 2020. (Doc. 349).

       Following substantial fact and expert discovery and the development of a far

more extensive record than previously before the Court on the 2014 preliminary

injunction motion, Defendants filed summary judgment motions that the Court

ultimately granted in part and denied in part by order dated August 11, 2021. (Doc. 449).

The Court found genuine issues of material fact on the Eighth Amendment claim (Count

II). But based on the assertion of religious beliefs of certain Plaintiffs, who refused on

religious and moral grounds to choose the method of their own execution, this Court

distinguished these Plaintiffs from the others and dismissed their Eighth Amendment

claims. (Doc. 449). The Court certified its decision with respect to these religious

objectors under Rule 54(b) as a partial final judgment. (Docs. 450-55). Thereafter,



2
  May 5, 2020 Transcript of Motion Hearing Before the Honorable Stephen P. Friot,
United States District Judge, at p. 31. (Doc. 321).
3
  May 5, 2020 Tr. at 31. (Doc. 321)
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Plaintiffs filed a Rule 59(e) motion to amend the final judgment to, among other things,

restore the Religious Objectors to the trial on Count II with the other plaintiffs. (Doc.

467).

        On October 12, 2021, this Court granted in part and denied in part the Rule

59(e) motion, specifically denying the motion to amend to add the religious

objectors back into the case for trial. As a final judgment, this order was appealed

on October 13, 2021 and the Court of Appeals dismissed the appeal, along with the

appeal filed by Wade Lay, on October 15, 2021, based on its finding that the Rule

54(b) certification was an abuse of discretion. As a result, John Grant, one of the

Religious Objector Plaintiffs, now faces an execution next week and cannot seek

review of this Court’s orders because they are not now final.

        Counsel for the Religious Objector Plaintiffs contacted counsel for Defendants on

October 18 seeking confirmation that, in view of the dismissal by the Court of Appeals

and non-final and non-reviewable nature of the case, the Defendants agree to abide by

the agreement not to seek executions until case completion before this Court. On

October 19, Defendants’ counsel advised that the “State does not intend to withdraw the

execution dates . . .” and that “the statement of the former Attorney General was that he

would not rush Judge Friot’s adjudication of your clients’ claims.”

        In view of the State’s position, counsel for Mr. Grant sought an emergency

conference, which was promptly held by the Court on October 20, 2021. This motion is

filed on the same day as authorized by the Court.


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III.   ARGUMENT

       A.     Legal Standard

       To be entitled to a preliminary injunction, generally, a party should demonstrate

that (1) they will likely succeed on the merits of their claim(s); (2) without preliminary

relief, they will likely suffer irreparable harm; (3) “the balance of equities tips in [their]

favor”; and (4) “an injunction is in the public interest.” Winter v. Natural Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008). In balancing these four factors and in cases where

what is sought is the minimum injunction required to maintain the status quo – that is, to

stay the Religious Objector Plaintiffs’execution dates and enjoin their re-scheduling until

after final judgment is entered – the Tenth Circuit has applied a relaxed standard other

than likelihood of success. In such cases, as here, this relaxed standard applies, where the

movant satisfies the other three requirements for a preliminary injunction and is not

asking for an injunction that alters the status quo. See generally Kikumura v. Hurley, 242

F.3d 950, 955 (10th Cir. 2001). Specifically, the Court has stated that it will ordinarily be

enough in such cases for the movant to raise questions regarding the merits that are so

serious, substantial, difficult and doubtful as to make them a fair ground for litigation. Id.

The serious and novel questions raised by the Religious Objector Plaintiffs meet either of

the relevant merits standard for the stay sought here.

       “[T]he primary goal of a preliminary injunction is to preserve the pre-trial status

quo.” RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1208 (10th Cir. 2009). As the Tenth

Circuit has explained, three types of preliminary injunctions are “disfavored”: one that

alters the status quo by the forcing non-moving party to take affirmative action; one that
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is mandatory; and one that gives the movant all the relief it would be entitled to if it

prevailed during trial. Id. at 1208 n.3. Where the moving party is not seeking a

disfavored injunction, the “modified likelihood-of-success-on-the-merits” test—the

serious-questions test—is appropriate. Id. The showing required by the movant is less

stringent when the injunction is not one of the disfavored types. The Religious Objector

Plaintiffs seek a limited status quo stay that does not exhibit any of the characteristics of

a disfavored preliminary injunction requiring the higher likelihood of success on the

merits standard.

       B.     The Religious Objector Plaintiffs Meet The Merits Standards
              Applicable Here For Entry Of A Limited Status Quo Preliminary
              Injunction

       The status quo here requires an order preventing the premature execution of

the Religious Objector Plaintiffs before final judgment is entered and their claims are

subject to appeal. This Court may and should enter such a limited injunction for this

purpose and may do so on the relaxed standard.

       Based on the current record for the present amended Oklahoma lethal injection

protocol, the Religious Objector Plaintiffs have satisfied the merits prong by at least

raising serious questions that are legal in nature and novel claims that should be

subject to appeal and review prior to the Religious Objector Plaintiffs’ executions.4

These important legal issues concern at a minimum the following dismissed claims:



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  The Religious Objector Plaintiffs contend that they also satisfy the likelihood of success
standard but this Court may issue a short stay now based on the lower “serious questions”
standard.
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Count II (Eighth Amendment), Count VIII (religious liberty and First Amendment

free exercise of religion), Count IX (Eighth Amendment human experimentation), as

well as Count VI (ex post facto) and Count VII (due process violation by retroactive

statutory removal of requirement that lethal injection be by short acting barbiturate –

the drug in the method found constitutionally acceptable in Baze.)

              1.     Count II – The Oklahoma Lethal Injection Protocol Violates
                     The Eighth Amendment Prohibition On Cruel And Unusual
                     Punishment, And Baze And Its Progeny Do Not Require
                     Plaintiffs To Choose Their Own Method Of Execution

       The Eighth Amendment forbids the Government, in carrying out a death sentence,

from inflicting pain beyond that necessary to end the condemned prisoner’s life. In re

Kemmler, 136 U.S. 436, 447 (1890). “Punishments are cruel when they involve torture or

a lingering death . . . something more than the mere extinguishment of life.” Id.; see also

Baze v. Rees, 553 U.S. 35, 50 (2008) (execution violates the Eighth Amendment if it

presents a “substantial risk of serious harm”).

       Defendants intend to execute Plaintiffs in a manner that is cruel and/or unreliable

and that will inflict excruciating pain on Plaintiffs. This Court has already determined

that serious questions remain as to whether the execution procedure Defendants intend to

use creates a substantial risk of inflicting grievous suffering and harm that is foreseeable

and significant, but which is unnecessary and can be avoided. (See Doc. 449). Indeed,

the remaining Plaintiffs are proceeding to trial to resolve that very question. The

Religious Objector Plaintiffs would similarly be proceeding to trial if not for the Court’s

dismissal of their claim based on a misinterpretation of Supreme Court precedent.

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       The Court addressed Count II in its August 11th Order on summary judgment,

analyzing the parties’ arguments in the context of a two-prong test: (1) whether “the

state’s method presents ‘a substantial risk of severe pain’”; and (2) whether “the

alternative method of execution the prisoner is obliged to propose [is] ‘feasible and

readily implemented,’ and [is] one that ‘the State has refused to adopt without a

legitimate penological reason.’” (Doc. 449 at 6-7). With respect to the first prong, the

Court declined to grant summary judgment against Plaintiffs, finding the Plaintiffs’

attacks on the protocol’s safeguards supported by “credible expert criticism.” (Id. at 14-

15). Regarding the second prong, the Court found that fact issues further precluded

granting summary judgment as to each of the four alternatives identified in the Third

Amended Complaint. (Id. at 23-26).

       Despite the foregoing findings, the Court did grant summary judgment as to the

Religious Objector Plaintiffs, because they “declined to proffer an alternative for carrying

out their sentence of death.” (Id. at 18-19). The Religious Objector Plaintiffs each

declined to proffer an alternative on moral, ethical, and/or religious grounds prohibiting

them from being complicit in their own deaths in a way that they believe would be akin

to suicide or assisting suicide. (See e.g., Doc. 425-18 at 75, 123; Doc. 325 at 58-62). The

Court found that this decision was “fatal to these plaintiffs’ Eighth Amendment claims.”

(Doc. 449 at 19). As support, the Court cited the Supreme Court’ s decision in Bucklew v.

Precythe, 139 S.Ct. 1112 (2019), that “Glossip expressly held that identifying an

available alternative is ‘a requirement of all Eight Amendment method-of-execution

claims’ alleging cruel pain” and “failure to identify an alternative [is] a dispositive
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shortcoming.” (ECF No. 449 at 16-17 (emphasis in original)).

       The Supreme Court, however, did not hold in any of these decisions that a prisoner

must proffer an available alternative “for use in carrying out his death sentence,” as the

Court claimed in its Order. (ECF No. 449 at 7-8 (emphasis in original)). Consequently,

the Supreme Court has also never addressed whether requiring a plaintiff to select his

own method of execution violates his religious liberties.

       In Bucklew, the Supreme Court addressed its holdings in Baze and Glossip, and

described the standard governing all Eighth Amendment method-of-execution claims, as

follows:

       To establish that a State’s chosen method cruelly “superadds” pain to the
       death sentence, a prisoner must show a feasible and readily implemented
       alternative method that would significantly reduce a substantial risk of severe
       pain and that the State has refused to adopt without a legitimate penological
       reason.

Bucklew, 139 S.Ct. at 1117 (internal citations omitted)(emphasis in original). Neither

here nor anywhere else in Bucklew (or Baze or Glossip) does the Supreme Court decide

or even consider whether this standard requires that the alternative method be identified

specifically for use in the prisoner’s own execution. Such a question was never at issue

in any of the three cases.

       In Bucklew, the Supreme Court recognized that “distinguishing between

constitutionally permissible and impermissible degrees of pain is a necessarily

comparative exercise,” and that Mr. Bucklew’s failure to identify an alternative

procedure all together was a “dispositive shortcoming” of his complaint. Id. at 1117,

1121. In the present case, there is no such “dispositive shortcoming,” because counsel for
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each of the Religious Objector Plaintiffs signed on to the Third Amended Complaint,

which—unlike in Bucklew—identified four alternative methods of execution for the

“necessarily comparative exercise” described by the Supreme Court. (See Doc. 325,

¶ 114). The Religious Objector Plaintiffs, thus, satisfied the legal standard set out in

Baze, Glossip, and Bucklew, identifying an available alternative, but simply declining to

endorse a specific option for their own executions.

       This Court appears to be reading into Bucklew a requirement that simply is not

there. The Religious Objector Plaintiffs are likely to succeed in overturning the Court’s

grant of summary judgment, as it rests upon a clear misinterpretation of Supreme Court

precedent.

       As the Court found that serious questions of fact precluded granting summary

judgment as to each of the four alternative methods of execution (Doc. 449 at 23-26), the

Religious Objector Plaintiffs have the same triable issues of fact as the remaining

plaintiffs. Further, the Religious Objector Plaintiffs are likely to succeed on this claim

and at a minimum meet the relaxed serious questions standard.

              2.     Count VIII – Dismissing Religious Objector Plaintiffs Due To
                     Their Objections – While Not Dismissing Plaintiffs Who Made
                     No Such Objection – Violates Their Rights Under The Religious
                     Liberty Statute And The Free Exercise Clause Of The First
                     Amendment

       The First Amendment of the United States Constitution commands that “Congress

shall make no law respecting an establishment of religion.” U.S. CONST. amend. I. This

command is similarly binding on the states. See Cantwell v. Connecticut, 310 U.S. 296,

303 (1940). It is well settled that the Establishment Clause not only prohibits
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governmental entities from passing laws that prefer one or more religions over others, but

also those that demonstrate a hostility toward religion. See Larson v. Valente, 456 U.S.

228, 246 (1982); Zorach v. Clauson, 343 U.S. 306, 313-15 (1952); Everson v. Bd. of Ed.

of Ewing Twp., 330 U.S. 1, 15 (1947) (“Neither a state nor the Federal Government . . .

can force nor influence a person to go to or to remain away from church against his will

or force him to profess a belief or disbelief in any religion.”). A law or policy that is not

neutral between religion and non-religion is inherently suspect. See Larson, 456 U.S. at

246. Such a law or policy may only be upheld if it passes strict scrutiny—in other words,

if it is narrowly tailored to a compelling interest. Id. at 246-47.

       The First Amendment also commands that “Congress shall make no law . . .

prohibiting the free exercise of” religion. U.S. CONST. amend. I. Like the Establishment

Clause, the Free Exercise Clause’s command is binding on the states. See Cantwell, 310

U.S. at 303. The level of scrutiny to be applied when reviewing policies that hinder an

individual’s ability to freely exercise his religion depends on whether the law is neutral

and generally applicable. As Justice Kennedy explained in Church of the Lukumi Babalu

Aye, Inc. v. Hialeah, 508 U.S. 520 (1993), “a law that is neutral and of general

applicability need not be justified by a compelling government interest even if the law

has the incidental effect of burdening a particular religious practice.” Id. at 531. A law

that does not satisfy both of these requirements “must be justified by a compelling

governmental interest and must be narrowly tailored to advance that interest.” Id.; see

also Masterpiece Cakeshop v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719, 1734 (2018)

(Gorsuch, J., concurring).
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       The requirement that the Religious Objector Plaintiffs select an alternative method

of execution demonstrates a hostility toward religion generally. The State of Oklahoma

made clear its intention to proceed with the executions of the Religious Objector

Plaintiffs unless those prisoners affirmatively and individually proposed how they should

be executed. The Religious Objector Plaintiffs, however, could not make any such

proposals without violating their own sincerely held religious beliefs. By forcing the

Religious Objector Plaintiffs to either violate their sincerely held religious beliefs or face

imminent execution, the alternative method requirement favors non-religious prisoners,

or at least those whose religious beliefs do not require them to abstain from participating

in orchestrating their own deaths.

       The requirement is not neutral because it evinces a hostility toward religion and

thereby favors non-religious plaintiffs over religious plaintiffs. The plaintiffs in this

lawsuit who have religious objections to electing an alternative are being treated

differently from those plaintiffs who do not, even though the religious objections have

nothing to do with their claims. The Religious Objector Plaintiffs are similarly situated to

all other plaintiffs in this lawsuit in every way except for their religious beliefs, and they

are effectively being singled out for execution now because of those religious beliefs.

       Because it is not neutral, the alternative method requirement is permissible only if

it can survive strict scrutiny. At the outset, it is unclear what interest Defendants believe

their discriminatory policy serves. To the extent the relevant interest is Oklahoma’s

interest in seeing criminal sentences and judgments finalized, that interest does not rise to

the level of “compelling” for purposes of strict scrutiny. Moreover, imposing an
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alternative method requirement on the Religious Objector Plaintiffs is not the least

restrictive means of furthering any interest the government might have in carrying out

executions. Requiring each of the Religious Objector Plaintiffs to choose the method by

which he will be killed, and to assist Oklahoma by demonstrating that his chosen method

is “feasible and readily implemented,” Bucklew, 139 S. Ct. at 1125, is not the least

restrictive means of furthering Oklahoma’s interest in finalizing criminal sentences.5 This

is particularly so given this Court’s finding that four distinct alternative methods

proposed by other plaintiffs in this litigation are sufficiently “feasible” to have survived

summary judgment. (See Doc. 449, 23-26).

       Even if the Religious Objector Plaintiffs’ were unlikely to successfully show that

their religious objections to electing an alternative are compelled by their religions, they

are nevertheless likely to succeed in showing that the alternative method requirement

violates the Religious Land Use and Institutionalized Persons Act of 2000 (RLUIPA), 42

U.S.C. § 2000cc et seq. The provisions of RLUIPA governing religious exercise by

institutionalized persons “mirrors RFRA,”6 such that RLUIPA “allows prisoners ‘to seek

religious accommodations pursuant to the same standard as set forth in RFRA.’” Holt v.

Hobbs, 574 U.S. 352, 357-58 (2015). The religious liberty protections and provisions of

the RFRA and RLUIPA apply to all federal law, and the implementation of that law,

whether statutory or otherwise. See 42 U.S.C. § 2000bb-3(a).



5
 Bucklew, Glossip, and Baze say nothing about religious objections.
6
 “RFRA” refers to the Religious Freedom Restoration Act of 1993, 42 U.S.C. § 2000bb-
1 et seq.
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       “In RLUIPA, in an obvious effort to effect a complete separation from the First

Amendment case law, Congress deleted reference to the First Amendment and defined

the ‘exercise of religion’ to include ‘any exercise of religion, whether or not compelled

by, or central to, a system of religious belief.’” Burwell v. Hobby Lobby Stores, 573 U.S.

682, 696 (2014) (quoting 42 U.S.C. § 2000cc-5(7)(A)). Accordingly, even if the Court

were to find that the alternative method requirement does not violate the Religious

Objector Plaintiffs’ rights pursuant to the Free Exercise Clause because refusal to

participate in orchestrating their own deaths is not compelled by their respective

religions, the Religious Objector Plaintiffs are nevertheless likely to succeed on their

claim that the alternative method requirement violates RLUIPA.

       The Religious Objector Plaintiffs have religious objections to suicide, and

according to their religious beliefs, electing a method of execution is a decision that

“facilitat[es]” suicide. See Hobby Lobby, 573 U.S. at 691. If the Religious Objector

Plaintiffs do not comply with the alternative method requirement, then they will pay the

“very heavy price” of their lives. Id. The Religious Objector Plaintiffs are very likely to

succeed in establishing that this constitutes a substantial burden. See id. (“If these

consequences do not amount to a substantial burden, it is hard to see what would.”).

       For the same reasons stated above with respect to the Religious Objector

Plaintiffs’ claims pursuant to the First Amendment, the alternative method requirement is

not the least restrictive means of achieving any compelling governmental interest. Even

assuming arguendo that there is some governmental interest in carrying out executions,

the alternative method requirement does not further that interest. Instead of requiring
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each of the Religious Objector Plaintiffs to elect an alternative method to be used in his

own execution, there are other ways the State of Oklahoma could further any interest it

might have in seeing criminal judgments finalized and sentences carried out. Indeed, this

Court will soon receive evidence and testimony regarding several alternative methods of

executions proposed by other plaintiffs to this litigation who do not have religious

objections to making such proposals. The Religious Objector Plaintiffs, all of whom fully

signed onto the operative complaint in this case, do not argue that they cannot or should

not be subject to execution by these alternative methods proposed by their co-plaintiffs;

instead, they argue only that they should not be required individually to elect any specific

alternative for their own respective executions.

        Because the Religious Objector Plaintiffs have religious objections to

 participating in or facilitating their own deaths, and because electing an alternative

 method of execution “has the effect of enabling or facilitating the commission of”

 their own deaths, Hobby Lobby, 573 U.S. at 724, requiring each of the Religious

 Objector Plaintiffs to identify and select an alternative method for his own execution

 constitutes an explicit and substantial burden on their religious exercise. Defendants

 have not identified any governmental interest justifying this substantial burden, let

 alone a compelling one—and even if there is a compelling governmental interest, the

 alternative method requirement is not the least restrictive means of furthering it. The

 Religious Objector Plaintiffs thus are likely to succeed on their claim that the

 alternative method requirement violates RLUIPA.


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              3.     Count IX – Human Experimentation Claim Under Eighth
                     Amendment Cannot Be Dismissed Without Resolving the
                     Factual Disputes Under Count II, For Which Trial Is Necessary

       In Count IX of the Third Amended Complaint, Plaintiffs alleged that the use of the

protocol constitutes impermissible human experimentation on captive human subjects.

(Doc. 325 at 63). Based on the unique procedural posture of this case, the Religious

Objector Plaintiffs are likely to succeed on this claim.

       The Due Process Clause of the Fourteenth Amendment affords a substantive due

process right to be free from human experimentation. In re Ohio Execution Protocol Litig.,

No. 2:11-CV-1016, 2017 WL 2964901 at *17 (S.D. Ohio July 12, 2017) (citing Rochin v.

California, 342 U.S. 165 (1952) (“There is no doubt that the substantive branch of the Due

Process Clause does impose limitation on bodily intrusions by government entities.”)).

That right extends to the lethal injection context. See id. As one court has explained,

“[t]here is absolutely no question that Ohio’s current protocol presents an experiment in

lethal injection processes” In re Ohio Execution Protocol Litig., 994 F. Supp. 2d 906, 913

(S.D. Ohio 2014); see also In re Ohio Execution Protocol Litig.,¸No. 2:11-CV-1016, 2017

WL 2964901 at *17 (S.D. Ohio July 12, 2017) (“Judge Frost’s observation that the use of

a new protocol for that process ‘presents an experiment’ and ‘to pretend otherwise . . .

would be disingenuous’ is correct.” (citing In re: Ohio Execution Protocol Litig.¸994 F.

Supp. 2d at 913).

       The Tenth Circuit has suggested that such a claim is viable and “subject to the

principles or mode of analysis outlined in [Baze v. Rees, 535 U.S. 35 (2008)].” Warner v.

Gross, 776 F.3d 721, 736 (10th Cir. 2015). That rationale is consistent with other courts
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that have considered the issue in the lethal injection context and concluded that the

potential success of a prisoner’s human experimentation claim based on a lethal injection

protocol depends on the degree of risk posed by the protocol at issue. See, e.g., In re Ohio

Execution Protocol Litig., 994 F. Supp. 2d at 913 (“The evidence before this Court fails to

present a substantial risk that McGuire will experience severe pain . . . the applicable law

looks at the degree of risk and the amount of pain involved.”).

       This Court is still evaluating the risk posed by the protocol at issue. On August 11,

2021, this Court issued an Order granting in part and denying in part defendant’s motion

for summary judgment. (See Doc. 449). With respect to the Eighth Amendment Claim

(Count II), the Court granted summary judgment as to only the plaintiffs who “declined to

proffer an alternative for carrying out their sentence of death[.]” Id. at 19. With respect to

Count IX, the Court granted defendant’s motion for summary judgment against all

plaintiffs, even though Count II remains unresolved.

       The Court stated in its August 11 Order that it remains an open question “whether

midazolam does or does not perform as intended when used as specified in the protocol[]”

and invited the State of Oklahoma to execute the Religious Objector Plaintiffs before the

trial on Count II to “eliminate speculation[.]” (Doc. 449 at 15-16, n.13); see also id. at 15

(explaining that “plaintiffs back up their attack on the protocol’s safeguards with credible

expert criticism,” and therefore it remains an open question whether “the injection of the

second two drugs presents a constitutionally unacceptable risk of severe pain”). To aid in

its resolution of that question, the Court directed the parties to present evidence from the

Religious Objector Plaintiffs’ executions. Id. at 15-16 n.12 (explaining how the evidence
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at trial “may well [include] a track record under . . . the new Oklahoma protocol,” given

that the Religious Objector Plaintiffs would presumably be executed before the trial on

Count II). In its scheduling order, this Court explicitly invited the parties to present

evidence at trial from the presumptive executions of the Religious Objector Plaintiffs.

(Doc. 456 at n.2).

       This is a novel situation in lethal injection litigation. Up until now, no court has

ever invited any party to conduct lethal injection experimentation and present the results

of that experimentation at a trial on the constitutionality of the lethal injection procedures.

Even if the Court ultimately finds the protocol at issue in this case constitutional,

executing the Religious Objector Plaintiffs any time prior to that finding necessarily

constitutes human experimentation because the constitutionality of the protocol

necessarily will remain uncertain up until that time. See In re: Ohio Execution Protocol

Litig.¸994 F. Supp. 2d at 913 (“an experiment in lethal injection processes” is acceptable

only “until such experimentation sufficiently risks running afoul of the constitution

protections afforded every citizen, regardless of his or her status, crime, or punishment”)

(citing Cooey v. Strickland (Biros), 589 F.3d 210, 229-30 (6th Cir. 2009)). Because the

risk posed by Oklahoma’s lethal injection protocol remains an open question, executing

the Religious Objector Plaintiffs without first resolving that question—and, furthermore,

analyzing evidence from their executions specifically to aid in the resolution of that

question—constitutes human experimentation. The Religious Objector Plaintiffs are

likely to succeed on the merits of this claim.


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               4.       Counts VI and VII – The Retroactive Application Of The
                        Statute Removing The Protection That Lethal Injection Be By
                        Short-Acting Barbiturate – The Drug Upheld In Baze – Raises
                        Ex Post Facto And Due Process Claims That Cannot Be
                        Resolved Without Resolving The Factual Disputes Under Count
                        II For Which Trial Is Necessary.

       The United States Constitution prohibits the States from passing any “ex post facto

law.” U.S. CONST. art. I, § 10, ¶ 1. “Two critical elements must be present for a law to

fall within the ex post facto prohibition: first, the law must be retrospective, that is, it

must apply to events occurring before its enactment; and second, it must disadvantage the

offender affected by it,” Henderson v. Scott, 260 F.3d 1213, 1215 (10th Cir. 2001)

(emphasis added) (internal quotations and citation omitted), by creating “a significant

risk” of increased punishment, Garner v. Jones, 529 U.S. 244, 255 (2000).

       Here, it is undisputed that at the time each Plaintiff (with the exception of Mica

Martinez) was sentenced to death, Oklahoma law required that “[t]he punishment of

death must be inflicted by continuous, intravenous administration of a lethal quantity of

an ultrashort-acting barbiturate in combination with a chemical paralytic agent.” 22 Okla.

Stat. Ann. § 1014(A) (1977). In 2011, the Oklahoma statute was “amended” to replace

the “ultrashort-acting barbiturate” requirement with broader authorization to execute

prisoners with “a lethal quantity of a drug or drugs.” Okla. Stat. tit. 22 § 1014(A) (2011);

Doc. 388 at 41. By relying on the amended statute to utilize the midazolam three-drug

protocol, the law is being given retrospective effect by Defendants, and thus the first

element is satisfied.




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       The second element is satisfied as well. Three ultrashort-acting barbiturates are

used in anesthesia: thiopental, methohexital and thiamylal. Thiopental (sodium pentothal)

is an ultrashort-acting barbiturate (R. Miller, Miller’s Anesthesia, 6th ed. 2005 at 326-29),

and is the only such drug authorized as a lethal agent by the Execution Protocol (Doc.

388-1 at Attachment D, Chart B). The Supreme Court has held that using sodium

thiopental as part of a three-drug method of execution does not violate the Eighth

Amendment’s ban on cruel and unusual punishment. Baze, 553 U.S. at 63. That

conclusion reflects the fact that, as explained by Plaintiffs’ expert, Dr. Craig Stevens, an

ultrashort-acting barbiturate “will produce a state of general anesthesia, noted by

unawareness and non-responsiveness to painful stimuli,” (Doc. 388-4 (Stevens Report) at

¶¶11, 99), thereby rendering the prisoner insensate to pain as required by the prior law.

       The same is not true for midazolam. It is undisputed that midazolam is not an

ultrashort-acting barbiturate. In fact, it is not a barbiturate at all, but rather is in the

separate class of drugs called benzodiazepines. (Doc. 388-4 (Stevens Report) at ¶50).

These are anti-anxiety drugs. As such, as explained above, Plaintiffs’ experts have

opined that midazolam will not render a prisoner insensate to pain, and, as a result, the

prisoner will experience the pain and suffering associated with the administration of the

midazolam (suffocation and drowning), vecuronium bromide (same), and potassium

chloride (chemical burning and cardiac arrest).

       Defendants may argue that the statutory change does not violate the ex post facto

provision because it merely “chang[ed] the mode of death.” Doc. 388 at 42. But that

argument misstates the applicable standard, and their reliance on Matter of Fed. Bureau
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of Prisons’ Execution Protocol Cases, No. 05-CV-2337, 2021 WL 127602 (D.D.C. Jan.

13. 2021), is misplaced. As noted above, the authority in this Circuit and the Supreme

Court is clear that the applicable standard is whether the offender is “disadvantage[d]” by

the law by creating “a significant risk” of increased punishment. Henderson, 260 F.3d at

1215; Garner, 529 U.S. at 255. A significantly more painful lethal execution method ipso

facto “disadvantages” the offender and increases the punishment.

       Executing Plaintiffs without using an ultrashort-acting barbiturate would also

violate Plaintiffs’ Due Process rights under the Oklahoma Constitution, which does not

permit an amended or repealed statute to “affect any accrued right, or penalty incurred, or

proceedings begun by virtue of such repealed statute.” Okla. CONST. art. V, § 54; see also

One Chi. Coin’s Play Boy Marble Bd., No. 19771 v. State ex rel. Adams, 212 P.2d 129,

133 (Okla. 1949).

       Here, lethal injection by ultrashort-acting barbiturate, as specified in Plaintiffs’

death warrants, is an “accrued right” and a “penalty incurred” before the 2011

amendment to the statute. Plaintiffs have a constitutional right to be executed by the

statutory method in effect when they were sentenced, and duly reflected in their death

warrants. See Alberty v. State, 140 P. 1025 (Okla. Crim. App. 1914). Plaintiffs are likely

to succeed on these ex post facto and Due Process claims and at a minimum meet the

relaxed serious questions for litigation standard.7



7
  Any argument that there is no due process violation fails for the same reasons. As
discussed above, Oklahoma law protects Plaintiffs’ life and liberty interests. These
interests cannot be denied without offending the Due Process Clause of the United States
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       C.     The Other Factors Warrant Preliminary Relief.

       The Religious Objector Plaintiffs have shown that they will suffer irreparable

harm. If Defendants are permitted to carry out their executions before the Religious

Objector Plaintiffs’ cases are completed in this Court and subject to review on appeal,

they will be executed while at the same time being foreclosed any appellate review of

the serious constitutional questions they have raised on this record. There is nothing

more final and irreversible than death. If the Religious Objector Plaintiffs are

unconstitutionally executed, the injury is irreparable.

       The issuance of a preliminary injunction is also in the public interest. Attorney

 General of Oklahoma v. Tyson Foods, Inc., 565 F.3d 769, 788 (10th Cir. 2009). “[I]t is

 always in the public interest to prevent the violation of a party’s constitutional rights.”

 Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1145 (10th Cir. 2013). Indeed,

 “the public interest has never been and could never be served by rushing to judgment at

 the expense of a condemned inmate’s constitutional rights.” In re Ohio Execution

 Protocol Litig., 840 F. Supp. 2d 1044, 1059 (S.D. Ohio 2012) (citation omitted).

        The balance of equities tips in favor of the Religious Objector Plaintiffs. The

 Plaintiffs promptly raised and litigated their claims once the new lethal injection

 protocol was issued, and a schedule was set and relied upon by Plaintiffs with the


Constitution. See Vitek v. Jones, 445 U.S. 480, 488 (1980); see also Hicks v. Oklahoma,
447 U.S. 343, 346 (1980); Ross v. Oklahoma, 487 U.S. 81, 89 (1988). Allowing
Defendants to execute Plaintiffs using a method that state law did not permit when
Plaintiffs were sentenced and which would disadvantage Plaintiffs and create a
significant risk of increased punishment would, by definition, violate their due process
rights under the United States Constitution.
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 understanding that executions would not proceed until the case was complete and

 subject to review on appeal. Moreover, the Religious Objector Plaintiffs sought relief

 from this Court, including this motion, promptly after the Court of Appeals’ October

 15, 2021 decision and the October 19, 2021 confirmation by counsel for Defendants

 that the State would not agree to withdraw the execution dates.

        Viewed in the context of the State’s lengthy delay in developing its new

 protocol, the short stay sought here will have little adverse effect on the State’s interest

 and will ensure that the State does not perform an unconstitutional execution. See

 Gomez v. U.S. Dist. Ct. for N. Dist. of Cal., 966 F.2d 460, 462 (9th Cir. 1992) (Noonan,

 J. dissenting from grant of writ of mandate) (“The state will get its man in the end. In

 contrast, if persons are put to death in a manner that is determined to be cruel, they

 suffer injury that can never be undone, and the Constitution suffers an injury that can

 never be repaired.”). Here, equity favors the issuance of the limited preliminary

 injunction that will prevent the Religious Objector Plaintiffs from being executed

 before final judgment is entered on their claims and before they can seek appellate

 review of their novel, substantial and serious claims.

IV.    CONCLUSION

       The Religious Objector Plaintiffs respectfully request that this Court enforce the

agreement of the Attorney General on behalf of Defendants before this Court not to execute

Plaintiffs until this case is complete before this Court. Alternatively, the Religious

Objector Plaintiffs respectfully ask that this Court enter a limited stay of the current

execution dates or the resetting of dates until final judgment is entered by this Court.
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Respectfully submitted this 20th day of October, 2021.


                        s/ Emma V. Rolls
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                        COUNSEL FOR D. GRANT, J. GRANT,
                        JONES AND POSTELLE




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                    CERTIFICATE OF SERVICE

I hereby certify that on this 20th day of October, 2021:

1. I electronically transmitted that attached document to the Clerk of Court
   using the ECF System for filing and transmittal of Notice of Electronic
   Filing to all counsel of record who are registered participants of the
   Electronic Case Filing System.

2. I served a hard copy of this document on the following party by First
   Class Mail via the U.S. Postal Service:

   Wade Lay, DOC #516263
   Oklahoma State Penitentiary
   P.O. Box 97
   McAlester, OK 74502
   Pro Se Plaintiff

                           s/ Emma V. Rolls
                           Emma V. Rolls




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                                     COURTROOM MINUTE SHEET

                                                                               DATE       10-25-2021


CIVIL NO.     CIV-14-665     –F

                            Richard Glossip, et al. -vs- Randy Chandler, et al.


COMMENCED           9:00           ENDED       10:25
COMMENCED          10:40           ENDED       12:20
                                                                TOTAL TIME        4 hours 05 min.
COMMENCED           1:20           ENDED        1:55
COMMENCED           3:20           ENDED        3:45


PROCEEDINGS           Hearing on motion for preliminary injunction


JUDGE STEPHEN P. FRIOT                DEPUTY LORI GRAY                 REPORTER TRACY THOMPSON

PLFS’ COUNSEL Jim Stronski (in person), Emma Rolls (in person), Alex Kursman (via VTC), Harry Cohen
(via VTC), Michael Robles (via VTC), Jennifer Moreno (via VTC)

DFTS’ COUNSEL Mithun Mansinghani, Bryan Cleveland, Zach West, Andy Ferguson, Jennifer Crabb (all
in person)


The court makes preliminary comments and preliminary rulings.

Defendants’ Motion in Limine to Exclude Plaintiffs’ Proposed Witness and Exhibits (doc. no. 520) is
DENIED, for the reasons set out in detail on the record.

The court hears opening statements of counsel.

The court hears evidence.

WITNESS FOR PLAINTIFFS:                                  WITNESS FOR DEFENDANTS:
1. Spencer Hahn (via VTC) (sworn)                        1. Joseph Antognini, M.D. (via VTC) (sworn)

Plaintiffs’ exhibit admitted: 2
Defendants’ exhibit admitted: 1

The court hears closing arguments of counsel.

The Motion and Brief in Support for Preliminary Injunction on Behalf of Plaintiffs Donald Grant, John Grant,
Julius Jones, and Gilbert Postelle (doc. no. 506), as joined in by Wade Lay, is DENIED, for the reasons set
out in detail on the record. A written order will follow.




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The court gives counsel some preliminary thoughts with respect to Plaintiffs’ Emergency Motion to Preserve
Evidence of the Execution of John Marion Grant (doc. no. 525). The court directs counsel to its conference
room to see if they can reach agreement as to the motion. If not, the court will hear arguments on the
afternoon of October 26.




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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA


RICHARD GLOSSIP, et al.,                  )
                                          )
    Plaintiffs,                           )
                                          )
-vs-                                      )      Case No. CIV-14-0665-F
                                          )
RANDY CHANDLER, et al.,                   )
                                          )
    Defendants.                           )

   ORDER ON SECOND MOTION FOR PRELIMINARY INJUNCTION

       On October 20, 2021, a motion for preliminary injunction was filed, doc. no.
506, by plaintiffs John Grant, Julius Jones, Donald Grant and Gilbert Postelle. By
virtue of an order entered on October 22, 2021, doc. no. 519, plaintiff Wade Lay also
became a moving party. The motion came on for hearing on October 25, 2021.
       For the reasons stated at length on the record, pursuant to Rule 52(a)(1),
Fed.R.Civ.P., the court concludes that movants have failed to establish any of the
prerequisites to a grant of preliminary injunctive relief. Specifically, the court
concludes that the movants have failed to establish the requisite probability of
success on the merits of their claims. The court further concludes that movants have
failed to demonstrate that, absent a preliminary injunction, they would suffer any
non-speculative irreparable harm. The court further concludes that the balance of
equities does not tip in movants’ favor. Finally, the court concludes that entry of a
preliminary injunction would not be in the public interest.




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        The court accordingly concludes that the motion for preliminary injunction by
plaintiffs John Grant, Julius Jones, Wade Lay, Donald Grant and Gilbert Postelle is
without merit. The motion is accordingly DENIED.
        IT IS SO ORDERED this 25th day of October, 2021.




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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF OKLAHOMA

    RICHARD GLOSSIP, et al.,                )
                                            )
           Plaintiffs,                      )
                                            )
    vs.                                     )          Case No. CIV-14-665-F
                                            )
    RANDY CHANDLER, et al.,                 )
                                            )
           Defendants.                      )

                          AMENDED1 NOTICE OF APPEAL

          Notice is hereby given that DONALD GRANT, JOHN GRANT, JULIUS

JONES, GILBERT POSTELLE, and WADE LAY, Plaintiffs in the above

named case, hereby appeal to the United States Court of Appeals for the Tenth

Circuit from the Order on Second Motion for Preliminary Injunction [Doc. No.

532] entered in this action on the 25th day of October, 2021.


          Respectfully submitted this 25th day of October, 2021.



                                      s/ Emma V. Rolls
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                                      Emma_Rolls@fd.org


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    Plaintiff Wade Lay was inadvertently omitted Notice of Appeal [Doc. 533]

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                         COUNSEL FOR DONALD GRANT, JOHN
                         GRANT, JULIUS JONES, and GILBERT
                         POSTELLE




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                               s/ Emma V. Rolls
                               Emma V. Rolls




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